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________                                                                                                                                                      FIttA
                                                                                                                                                                  HI1LARD
                                                                     Media            Response                  Plan

                                following             the   initial         coverage              on the amended                                complaint




        Background

           Medias         interest       level     on    Dongguk           vs   Yale    case       is    expected                to    escalate      following           The    JoongAng

           Ilbo    and     The     New         York     Times      coverage            on    Dongguk                 Universitys                motion      for    leave        to     amend

           complaint

           Media         inquiries       on      trial      amended             complaint               and          Dongguk               Universitys           position            are    also



           expected        to    increase        rapidly


          Considering            the    significance          and       sensitivity          of    the       trial     in        process            consistent           and     principle-


           based        response        plan     to   handle       media        inquiries         needs         to     be        developed




  II    Principles        and    key     messages           for   Dongguk             University          in      response             to   media        inquiries


          Communication                 principles


                   No one from Dongguk                      University           responds          directly            to    media          inquiries      on     the    issue


                   All    media        inquires         must be         directed        to    Fleishman-Hillard                              professional           communication


                   consultancy            hired       specifically         to   handle       issues          regarding                Oongguk       vs     Yale   case




          Message         for    Response

  Please      contact           Fleishman-Hillard                       communication                    consultancy                    hired      specifically           for    litigation


  between          Dongguk         and      Yale      regarding      all    inquires         related         to      the case.




  Fleishman-Hillard               contact         information


    Korean        media         Lauren        Kang      Tel 82.2.2016.7235                        email         kangl@fleishman.co.kr

    International           media        Younjie Kim              Tel      82.2.2015.7169                    email           younjie.kim@fleishman.com




  Ill   Principles        and     key    messages           for    Fleishman           Hillard          in   response                 to   media     inquiries




          Communication                 principles


                   No     one      from        Fleishman           Hillard        responds              directly            to    media           inquiries       on      the    litigation



                   progress and               the contents         of   the     amended            complaint

                   In    response        to    inquiries      regarding the             amendment                      of    complaint             simply       verify     the       fact   that



                   Dongguk           University          filed          motion         to    leave        to      amend               complaint          with      the Connecticut


                   District      Court


                   In
                         response        to     inquiries         regarding the contents                          of   amended               complaint            simply        verify       the


                   fact   that     the    amended           complaint            is   now pubic              information                   and    direct    the media            to    obtain




                                                                                                                                                                                 D0NGGUK0384859
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                                                                                                                                                                                                     LflET                  ttPii
                                                                                                                                                                                                     til    -i.cst.ty


                          their           own      copies

                          In
                                response               to    inquiries         regarding              how      to    obtain the             amended                   complaint                      do     not provide


                          thorough                 explanation              but simply                verify        the     fact      that       the          amended                    complaint                   is    publicly


                          accessible               via      the website              of the Connecticut                        District         Court


                          No         one      from          Fleishman             Hillard          makes          any       comments                 on        the contents                          of    the            amended

                          complaint                and       Dongguks              position           on    it    beyond             principles               written         in         this     document




                                     for
              Message                       Response


   Your        interest              in
                                           Dongguk             vs     Yale        case       is    greatly          appreciated                 However                 it        is     difficult          to        share       the

   details          of   the case             because             it is   still   actively          in     progress




   Dongguk               university               filed           motion          for    leave        to    amend           complaint               as        of   October                   20      2009            EDT     based


   on    newly           discovered                facts      found         during                pre-trial         discovery process




   The        documentation                        for      the     amended                  complaint              has     been          made           accessible                     to     the         public           via   the


   website           of the Connecticut                            District       Court according                    to     legal         procedural               requirements                            We         apologize

   for   not being                  able     to    answer           your       inquiries           at    this    point         as    the    trial        is   still   in
                                                                                                                                                                             process




         When            receiving              inquiries          regarding contents                       of    the     amended               complaint




         We         cannot            comment                 on     the       amended                complaint                because           the court                   is        still    in        the        process         of



   making                judgment               on     whether            to    grant             permission              to    amend           the complaint                           or     not




         Is    it   legally           safe        to   report        on        the     amended              complaint                which          is    waiting             for            the courts                   decision



  even        though                the    amended                complaint             is   public        information




         Each        media                outlet       bears        the        ultimate            responsibility               for       making              judgment                    calls           and        results      for



  reporting              based             on the        amended               complaint




          Message                   for    response               regarding          The JoongAng                    Ilbo      and        The    New           york Times                      coverage

  The         coverage               on      MM/DD/YY                 by       The JoongAng                      Ilbo     and        on     MM/DO                          by           The New                  York        Times


  regarding               the             Dongguk            vs      Yale         case        were         reported                 and     published                 independent                               of        Dongguk

  University




  How The JoongAng                              Ilbo        and    The      New         York Times               obtained            the        amended               complaint                      is    not within             the


  knowledge                    of    Dongguk                University            or     Fleishman               Hillard            One can               only assume                          that        the            reporters




                                                                                                                                                                                                                      DONGGUKO38486O
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                                                                                                                       HLLARD
   obtained     the complaint       in   the process    of   covering        the case     Any    inquiries   regarding      The JoongAng

   Ilbo   and   The   New    York   Times    coverage        should     be    directed    to    reporters    who    wrote    the   articles



   Also   any   inquiries   regarding     yales   position    should     be    directed   to    Yale   University
                                                                                                                               ___________




                                                                                                                                   DO         KO 384861
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AI                 bwvI3.JuuacJc.quuc.su



 Ei      AIi                 Andrew           Lee       Olj andrew@domo.co.kr
         AFJ                 bkim3@dongguk.edu

                             DU DU@fleishman.co.kr

 giWF                        2009H            1O26                       18A1     1l
 Xl      Xfl                 FW           Donguk               Yale       UPDATE           US      Attorney          Lanny      Davis          ioining    w/Bob         Weiner




 ti       .-1tF                                              vi     Lr.L          MWER            LI                FIINYGIi            .ftL   LHt       OU1i               DiiU.2F


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         ZJ rf                               lC.yl         Ct 7dJ                                               Lrt


From          Hall           Krystyna                                                    hall@fleishman.com

Sent         Saturday                     October         24        2009          250      AM
To Kim Younjie                            iXl
Cc DU Tennyson                               Chris           Barnes              Melissa Fishman                     David

Subject                Dongguk-Yale                     UPDATE                   US     Attorney         Lanny        Davis       joining         w/Bob         Weiner

Importance                        High



Hello     Younjie                    we wanted                 to        provide you              this   update        ASAP           MWEs              Bob    Weiner         reached           out     to     Chris    Tennyson

earlier this                morning           to    let      us     know prominent                       US    attorney          Lanny          Davis     is    coming        on        board        with Bob          Weiners

legal    team           special              consultant                   on     the     Dongguk             Yale    case



Lanny             Davis         is         prominent                Washington                  lawyer and            former White                  House        Counsel           for President               Bill    Clinton

Hes been                on     both          sides      of     the        political       aisle     as       well     having         served on           an     oversight          board        appointed              by

President              Bush          in    2005         He        appears          frequently            on     the    US      news        talk    show         circuit     FOX News                   and      he     writes


regular           column             that     appears               in    The     Washington                  Times     and       another           regular          weekly        column            for    the Washington

DC paper The Hill Both columns are usually posted                                                                      in     TheHuffingtonPost.com                              FoxNews.com                   and

Newsmax.com  in addition to TheHill.com/PunditsBlog                                                                     FYI          hes       friends/colleagues                  with Bob            Weiner


Additionally                 Lanny           Davis        is        Yale         Law     School graduate                 and         served        as    Chairman           of    the     Yale       Daily     News


Most      importantly                      when           Lanny           Davis         heard      the background                    case         timeline           latest      amendment                  filing      from Bob

Weiner            he    was          quite       shacked                 and     outraged          with Yale            his    alma        mater To             that     end       Lanny        is   leveraging             some
contacts           he       has with the                  New            York Times and                 this   coming           Monday             October             26    he    is    meeting            with two         NYT
                       to    discuss                                                     case
reporters                                     the       Dongguk                 Yale




The      FHNY team                    believes          this        is    great        news       for    Dongguk            leveraging             media         and     creating          the       tension          and    outrage

we     discussed               on     our        internal           call        earlier this        week Wed                  like    to       coordinate on the timing                         of    any     print     coverage

in    both    the           US and               Korea             Per your             email      earlier      today          we understand                    you have                 planned        meeting             with    The

Joan     gAng          llfbo      editor-in             chief            this    Sunday            with an           article to       come out most                    likely      Wed         or    Thursday           of next


week         Is   there any                way       to    confirm               obviously              not an absolute guarantee                               that    the JoongAng                  lllbo
                                                                                                                                                                                                                coverage           will



likely   appear              October               28     or      29 We            have      stressed           to    Bob     Weiner/MWE                      that     wed        like    to   avoid        having          one

publication                 pre      empt the other and                            if   both      newspapers                go with coverage                    on     or   around         the       same day e.g Wed
or Thurs           of       next          week      that          the      timing        would          be    OK


Furthermore                    we         also     passed along                   an     idea      to    Bob    for    Lanny         to    consider            writing       an op-ed           for the         New         York




http//mail                     dongguk                     edulrnail/mailreadprint.htrnlim-2066                                                                             ll                         ..         2011-02-18

                                                                                                                                                                                                                        DONGGUKO38551
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                                                                                                                1ffl01X12/2




 Times on the Dongguk-Yale                           case     to further          drive      the    media        program        and     pressure on Yale Well                       keep    you

 posted       if   that     looks      to   become          real




 In   the    meantime              can you          confirm        receipt      of this email            and     respond        back     on   the    likely   timing      of    the JoongAng

 libo follow            up coverage           on the        case Well do the same                         in    terms    of    managing         any    Nfl coverage              next      week       as

 well     We       do     not    see   it   being         negative        at    all   if   both    publications          run    stories       next    week on      the        case         would      be

 nice   to    ensure        similar timing            but     ultimately          the       stories      will   advance        our     objectives/goals




 Please      note         please       keep    the    addition           of    Lanny       Davis    to    the    legal   team     as     confidential          Below          are    some     links



 with     additional            information          on     his    bio



Thank        you     and        looking      forward        to    hearing from              you          will   be checking          my email/Blackberry throughout                            this


 weekend


 Krystyna



 http//www.politico.com/arena/bio/lanny                                           davis.html




p.//cn.wikipodio.org/wiki/Lanny                                      Davis




      oe      .    r.ilor




http //mail                dongguk edulmail/rnailreadprint.htmlm                                                                  20661                       Sw         ..          2011-02-18

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                                                Project Brief
 FLEISHMAN
                                             Proposal          for   communication           intended      to   support    issues involved          in

       HI LL%JIE                             restoration         of reputation      of Dongguk University




PROPOSAL PREPARED BY Fleishman-Hillard
14    July 2009




     Project Overview


Project Goal

      To   restore     the reputation       of Dongguk University                that    was damaged by            the past incident         that


      occurred       between     Dongguk         University          and Yale University            in   association      with    the litigation


      schedule

      To   establish     detailed goals         based on each category              of the    litigation        steps

                 Short-term


                       To promote        restoration          of the reputation         of Dongguk         University      by    clearly


                       communicating            to   the general      public     the facts    regarding         the past incident       through

                       both the foreign and domestic press

                       To   support     the action       in
                                                              progress    in     roundabout          way based on         online/offline


                       spreading       of the    facts


                Medium-term

                       To   support     the litigation         and also   to   reinforce      the    medium- and          long-term


                       reputation      through       the social      contribution        programs related           to   damages

                       To   actively    communicate             the litigation     outcome          both domestically            and overseas

                       so that   it   may   be   utilized      as the Turning       Point of reputation             restoration


                Long-term

                       To   perform     expert       consultation       regarding       the long-term           plan for enhancement             of

                       the reputation       of Dongguk           University       and promote             detailed execution          of   its



                       outcome
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Program Overview            and Budget

   Short-term       rogram     Scheduled         to   be executed         in   2009       quarter



  Category                                                    Program                                             Budget


   To   build        Fact   Sheet    preparation

infrastructure
                             To   prepare     data required         for   domestic and foreign                      8000000
                             media distribution


  Domestic           Fact-based       communication           program

  program                               media tour basis 15 persons                                                 6000000
                             Target


                             In-depth    article      planning for current            affairs   weekly             22500000

   Foreign           Litigation     support    program

  program                                                          US
                             Publication       of   article   in          media offline          online            22000000

                             Online     spreading      program by          utilizing    3rd
                                                                                              party in   USA       19000000

    Other            Expenses       related to      project    general         administration    expenses          22500000

                     corporate      profit    value    added tax


                                                    Total                                                         100000000

  Total    amount    can vary with       fluctuations         of media support          expenses    depending upon the

quantity    of content

   Can     vary   with expenditures          spent on media relations
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  Medium- and          long-term          programs Planned          in   2009          quarter     4th
                                                                                                         quarter     scheduled      to   be

executed     in   2010

Category                                              Program                                                          Budget


                     Degree    integrity       center                                                                    TBD

                          Social         contribution                that    provides
                                                         program

                          support         so that   the academic     circles    in   Korea                           billion   won

                          may      not repeat       the damages     suffered     by                             2.5 billion     won
                          Dongguk           University


Medium-              Post litigation        communication         program                                                TBD

  term
                                                                                                             100      million      won
                          Press program             targeting   the general     public
program
                                                                                                                200 million        won

                          Internal        communication                                    its                  50    million   won
                                                                program targeting

                          organization          members                                                         200 million        won

                          Press/direct         communication        program targeting                           50    million   won

                          alumni                                                                                200 million        won

                     Reputation          management       consultation                                        150 million       won

                                                                                                                300 million        won

                          Comprehensive              consultation    project     for    long-

 Long-
                          term enhancement              of the reputation       of Dongguk
  term
                          University

program
                     Program       for   reputation     management          execution                                    TBD

                          Execution         of tasks identified from reputation                                    1.5   billion



                         management             consultation      and execution         program                      billion   won
NOTE       The amounts        in   parentheses        were established         with an    intent    to   show        general   budget

amount     without     identifying         detailed service     items
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IL Project Configuration             and Description

Proj ect   Configuration


                                     Program                                 Year    2009                        Year 2010


                                                                     3rd                      4th         1st        2nd       3rd
                                                                           Quarter
Step       Category
                                                                                            Quarter    Quarter     Quarter   Quarter


                                                                 451 23 41 23 45
           Infra-         Fact     sheet   preparation


           structure


                          Target     media tour


           Domestic       In-depth     article       for

Short

                          current     affairs     weekly
Term
                          Publish     article     in   US

                          media
           Overseas

                          Online     spreading


                          program

                          Degree      Integrity



                          Center


                            To   discuss     and

                          decide     about



                          promotion
           Domestic
                           To mention           in   the


                          short-term       program

                           To    plan as short


                          termprogram

                           Execution


Medium                    Post   Litigation


Term                      Communication


                           Press     program                                                Planned   Executed


                          targeting    public


                           Intemal                                                          Planned   Executed


                          communication
           Domestic
                          program      targeting           its




                          organization       members


                           Press/direct                                                     Planned   Executed


                          communication


                          program      targeting


                          alumni
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               Target     media Major                   daily newspapers                and economic               newspapers             Chosun

               Joongang             Donga              Economy          Daily          Hankook             etc     air       wave     broadcasting


               companies            KBS            MBC            SBS    press center                etc However                 any association

               with Yale University                      must be investigated                   in   advance       to    decide        on the     final


               media targets

       In-depth     articles     planned           for    current affairs weekly

               To   publish         in-depth           planned     articles       regarding            the past incident               and    litigation


                               in   major current             affairs      weeklies
               progress

               To   utilize      published             articles    as reference           for        future overseas            communication

               Target    media Economist                          Chosun Weekly                  and Economy                  Daily selected

               However              any association               with    Yale University                  must be investigated                  in


               advance      to      decide        on the     final      media targets




Overseas     program To             support        the litigation          in      roundabout               way by           spreading       the issue in

the   US   media and online

      Publication       of articles          in   US     media

              To promote             press reporting              that    becomes          the starting            point       for    spreading        the

              issue prior to full-scale                   execution           of online programs

              Such     media         that     owns both           offline       and online            is   chosen       to    promote        offline


              reporting        first   and        to   execute       such reporting              so that      it
                                                                                                                   may be            published        online


              as well


              Any     articles       published            online        are utilized       as basic         contents           for    the future       online


              spreading


              Target     media to be chosen                       from the following

                      Law      blog of Wall               Street Journal            http/Iblogs.wsj.comllawl

                     The       Chronicle           of Higher            Education http/Ichronicle.coml

                      Dow       Jones


                      Bloomberg

              Target     deliverables


                     To induce              reporting       based on            facts    that    are basically               objective

                     To induce              criticism       by    the media based                    on the   article         pitching     process        that


                     deals       with carelessness                 of Yale        in    the procedure              of academic            degree

                     verification             depending            upon media responses

                     Reporting              activities      in    the    US     are promoted               so that      they     may      attract     the


                     attention         of the Korean               press      again      and become additional                         reports
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            Online spreading           program

                    To promote            efforts       so that      publication         of the      article      in    the     US     media     may
                    become          starting          point       for spreading         critical     posts        on Yale University                on

                    major online           sites      in    US

                    The manpower                 in   the    US     related to Fleishman               Hillard          is   used      as   publisher     of

                    the published           articles         to   deploy such primary                activities          that      link with      major

                    online     sites     and     to    monitor the degree                of   interest


                    To monitor           online        post publication              etc and         also    to    encourage                critical


                    atmosphere against                  Yale University              from         neutral         position

                    To induce       additional              press reporting             both domestic and overseas                             depending

                    upon the extent              of    interest      in   the issue and the level                 of offense            and defense




Medium-term program

21   Degree    Integrity      Center

            Background        of promotion

                    Social     contribution             programs           that    are promoted          under collaboration                     with    the


                    education       authority           so that      the Korean          circle      of education             may        not   suffer the


                    same      damage       that       Dongguk          University            suffered

                    The    plan    for
                                          opening the center                  is   utilized     as   the primary content                    of    short-


                    term program            to                                     effects     for   the litigation
                                                  promote positive

            Major   details


                    To enhance           reliability          of the verification procedure used                             in    appointing      holders

                    of US masters/doctorate                         degrees        who       comprise most of the foreign                        degree

                    holders      in Korea


                    To promote           collaboration              with     the   US    education          authority             to   raise   the integrity


                    of academic           degrees           of foreign       students         from Korea           in   the       US     who rank        within


                    the top        by number of foreign                      students


                    To   build    the database               required       for    central organization                 and operation             based on

                    discussion       with the education                    authority/education               circle


                    Details      of the service              are scheduled           for planning           in    the second            half of 2009


            Litigation Communication
21   Post                                                   Program

            Press program         targeting           the    general      public

                    Press conference              for       litigation      outcome           Foreign       and domestic press agencies

                    are invited      to    conduct                press conference            regarding           the litigation            outcome       and

                    to   communicate             the key
                                                                  messages         of Dongguk            University
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                 PR   efforts      for    domestic and foreign press based on                                    utilization         of University


                 management               staff    To perform            press and              PR     activities      by    utilizing       the


                 dean/assistant            deans so        that   winning         the litigation                future      goals     of Dongguk

                 University etc              may        be positively communicated                              through          interviews/planned


                 articles      etc


         Internal    communication                program targeting               its      organization               members

                 Internal      awareness           program related               to    litigation             termination          To perform

                 inclusive        and omnidirectional                    communication                   through        the most effective


                 delivery      means        in    the school            targeting          the    members of Dongguk                        University


                 School newspaper                      online     newsletter               etc    are utilized


                 Utilization         of   internal       speaking         opportunities                 To     actively      utilize        speaking

                 opportunities            targeting       members of Dongguk                           University           to
                                                                                                                                  carry out      the


                 program designed                 to    deliver    litigation          results         and     its    back story

        Press/direct     communication                   program targeting                      alumni

                 Alumni communication                      through         internal             channels         Internal         media website

                 newsletter          etc     are utilized          to    offer         detailed description                      of the    litigation


                 outcome       and the meaning                  of winning             the litigation


                 Direct/press         communication                 program based on                      utilizing      key influencers                of the

                 alumni association                    Coordination            with leading              members of               the alumni


                 association         and    its   small groups            is    established              in   advance        to    promote the spread

                of   details      of winning            the lawsuit        and        to   conduct such programs                       in   which       details


                of winning           the lawsuit          are linked           with press coverage                     of key alumni




Long term Program

   Reputation    management              consultation


        To perform       in-depth         consultation            that    is   intended           to    identify long-term                 reputation


        management         strategies        and detailed execution                         programs            for    Dongguk            University

        To   establish       reputation           management              index        based on consultation                       deliverables          to


        identify key       tasks of reputation               management                    to    identify promotion                 strategies      and

        road    map   and    to    identify        execution            programs and campaign                          strategies


   Post-Litigation    Communication                    Program

        To   effectively     perform the execution                       program            identified          from the reputation

        management         consultation


        To review     regarding           the improvement                 of the reputation                    and measure           the effectiveness


        of the execution          program based on regular assessments
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PROPOSAL         PREPARED       BYFleishman-Hillard


14 July   2C09



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                                  CERTIFICATE OF TRANSLATION




              Kwang        Park      hereby       certify   that      am competent             in both                the      Korean and

English       languages        and     that      translated        D0N0GUK0383979-85                             from              the   Korean

language          into the English       language
             further     certify that         translation     ofDONGGUKO3S3979-85                                 from             the   Korean

language          into   the   English         language       is   accurate   and      correct             to         the      best      of   my
knowledge          and proficiency




Kwag         Park

Professional         Translator




Subscribed    and sworn    to before   me     on ____________       day of_________                             year




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                                                                                      NOTARY   PUBLIC          CALIFORNIA
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                                                                                 My Commission       Expires    May   18    2013




Signature    of   Notary                                                      Notary     Stamp
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       Dongguk     University




 dongguk
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 UNIVERSITY


                                Academics                                              Admission                                            International




   bout       DU                                                                                                                                                                     Home           About     DU        Greeting




                                   Greeting




                                   Founded                in    1906            Dongguk                 University            is    one    of    the     most       prominent              private          institutions            in


                                   Korea             Dongguk                    University                   has       led     Korean            society           having            produced             over        200000
                                   graduates                   on          firm       foundation                  of tradition            and     excellence              In     2006          Oongguk              University

                                   celebrated                   its     100th          anniversary                      Looking           forward         to     the      coming            century            Dongguk              is


                                   striving          to        become             the       most             prestigious            private        university             in   Korea           and           distinguished

                                   global         institution



                                   In      the      21st        century               we        are         entering               world    of    increasing             competition                 Rapid changes                  in


                                   industry               technology                   and         social           structure            have     also    changed              societys             vision     of    the      ideal

                                   workforce                   The         paradigm               of        university         education               must      move away                 from convention                     and

                                   transform                   itself      in    order           to         satisfy      these           new     demands           Dongguk                  Universityceaselessly

                                   strives           to        keep          pace           with            the      demands              of     the     times            and        to    establish           itself         as

                                   competitive                      global           institution               of     higher         education              Centering               on     the       108       Projectthe

                                   universitys                   main           developmental                        strategy            Dongguk          is    initiating          change          and      innovation             in


                                   the           community                       preparing                    for       future            demands               reforming                 school            systems            and

                                   curriculums                      and      venturing                  into        new business                systems such                   as    introducing              autonomous

                                   college           administrations                            Also          with     specialized              expertise          in    the     cutting-edge                fields      of    bio

                                   technology                    BT               nanotechnology                             NT           information               technology                 IT            and        cultural

                                   technology                    CT              Dongguk                    focuses          on       nurturing           future          leaders              In     2008           Dongguk
                                   University                  became                the        first        university             to    win     the     Customer                  Satisfaction             Management
                                   Competition                      hosted            by    the         Korean          Management                Association             Consulting                Company


                                   Worldwide                     Dongguk                   is     our         vision         to     satisfy        our         customers              within          and       to
                                                                                                                                                                                                                        provide

                                   inspiration                 to    the        world           We          strive     to    become               gathering ground                       for   passionate             learners

                                   and      scholars                  offering             them             pathways           into      the     world         We       are    nurturing             creative         thinkers

                                   who       will     elevate              global          recognition                 of    Korean         culture            progressive                young       challengers              who
                                   will     drive          our          high         tech        industrial              society           and         ethical          global        leaders          of     wisdom           and

                                   compassion                       As an        academic                    community              advancing            across          the     globe         Dongguk              University

                                   is     leading         the        Nay        to         brig       lit    future




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            Dongguk          University




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DONGGUK         YALE    UNIVERSITY                                                                i\ugust   2010




                                                                                                    Page    98

          IN    THE     UNITED       STATES    DISTRICT      COURT

          FOR     THE       DISTRICT    OF CONNECTICUT

          CIVIL        ACTION    308-CV-00441              RNC


          DONGGUK           UNIVERSITY

                              Plaintiff

                       -versus-                                            VOLUME       II


          YALE     UNIVERSITY

                               Defendant




                              Continued       Rule    30b               Deposition           of


          BYOUNC        HO    KIM    taken     pursuant      to     the     Federal

          Rules        of    Civil   Procedure        at    the     Law     Offices          of


          Day    Pitney         LLP       Audubon      Street            New      Haven

          Connecticut            before       James         Martone            LSR      248
          and    Notary        Public     in    and   for the           State      of


          Connecticut            on August            2010         at    1002 a.m




                                                 Sanders    Gale        Russell

                                                      203    624    4157
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DONGOUK                   YALE              UNIVERSITY                                                                                                                                                                                                          2010
                                                                                                                                                                                                                                            August


                                                                                                                  Page   115                                                                                                                            Page    117

       turned         them down                    were                             the    ones         who                                              Other            than       what
                                                         among
       applied              Is    that           more accurate                                                                                           Other            than       making                   conclusion                   that    the

                            THE ltITERPRETER                                            Literally          no                            Shin scandal                    was      the       reason

       The witness                 said          both                                                                                                    What            efforts          did         Dongguk              make            to

                            MR          WEINER
                                         Okay                                                                                            determine                 that    the       Shin scandal                       was the reason
                            THE iNTERPRETER                                               clarified         with                                         Would             you rephrase                      your question
       the    witness                 The         interpreter            did                                                             Because                  dont         fully        understand                     And you                are

                            MR          WEINER                       Okay                                                                talking         about            the    effort

                      Other            than        the        Shin incident                  did                                                        Yes              What          did                               do           determine
                                                                                                                                                                                                 Dongguk                        to
 10    anything           else         calls            decline          in the           number of                               10     whether             the        Shin     incident               caused            the      decline          in

 11    faculty        applications                     to     Dongguk               since       2007                              11     the    ratio        of                                                   to the        number of
                                                                                                                                                                    faculty          applicants
 12                       THE           INTERPRETER                                     im sorry                                  12     positions
 13                   Other            than        the       Shin      incident              did                                  13                    At        the     time         we changed                       our   hiring
 14                     else           cause                decline                       number of                               14
       anything                                                             in     the                                                   process             in    2009          the      situation               was where                 we      had
 15    faculty        applications                     to     Dongguk              since        2007                              15     made            lot       of investment                                  since       Ah      Shin
                                                                                                                                                                                                       yet
16                     dont think theres any reasons                                               we                             16                          the       ratio     between                   the
                                                                                                                                         incident                                                                  applicants
17    can      look     at       as    the        reasons            other than              Shin                                 17     number of                                          to    the                                 had
                                                                                                                                                                   applicants                                open         spots                   gone
18     incident                                                                                                                   18     down           and        thus according                       to        the                       of     the
                                                                                                                                                                                                                         opinion
19                    Why not                                                                                                     19                    in     charge            of hiring              that        our previous
                                                                                                                                         person
20                   As           stated          yesterday                 Dongguk              had                              20     investment                 has        resulted           in    unfavorable                   outcome
                                                                                                           put
21    in    tremendous                  invest           to    raise        the     quality          and                          21    Thats           why        at the        time        we were                                        we     had
                                                                                                                                                                                                                    planning
22    reputation             of       the        university              And            we    so     we                           22    extensive              discussions                  at the           hiring        department
23    determined                 that       there        had         been        responding                results                23                                            those         discussions                     we
                                                                                                                                                              During
24    from those             effurts                Yet        since        Shin         incident           the                   24    were       --   we came                 to     an    opinion               that       Ah      Shin
25    ratio      the    ratio          we         discussed              had                    down                              25    incident             was         the    one       that         influenced               the        outcome
                                                                                   gone

                                                                                                              Page       116                                                                                                                        Page       110

                        And            even         the       cases of            the                                                                   What lm                 trying           to    find        out        Mr       Kim         is


      declining           our offers and                          because               of that                                         what       was         that       opinion            based            on
      Dongguk           had           to     change            its    hiring            process         since                                           Well the                fact        that       we had extensive
      2009                                                                                                                              discussions                 at    the     hiring              department                was        the

                     Has Dongguk                         made any                 efforts       to                                      effort     you            are     asking          me          about             The     --    it




      discover         the        cause           of     the      decline           in the       ratio      of                          resulted         in the           change             of       the     hiring          process

      faculty        applicants                   to the       number of open                        hiring                                             Mr Kim                  you         said       that        during

      positions                                                                                                                         discussions                 in the        hiring              department                   Dongguk
                       THE INTERPRETER                                              Im sony                                             concluded                 or     formed           the         opinion            that      the      Shin

10               Has Dongguk                             made any                 efforts       to    learn                       10    incident             was responsible                          for the           decline            in the

11    the    cause                                                                                                                11    ratio     of    faculty            applicants                       My      question               is   what
12                   Well we decided                              that      the Shin            incident                          12    was      that        opinion            based
13    was     the     decisive               factor           since      the       time                                           13                         THE INTERPRETER                                             Im sony                  What
14                   My      question                  Mr Kim                is     has      Dongguk                              14    was      that

15    made any            efforts            to     learn         what       the        cause        of    that                   15                    --
                                                                                                                                                              opinion            based            on
16    decline        was                                                                                                       16                       The decline                    in the          ratio to           the        ratio

17                   Because                we     decided             that        we found             out                    17       between              the    applicants                   to    the    number of opening
18    the    clear     reasons               we        did     not     feel        it
                                                                                        necessary            to                18                       Anything                 else
19    analyze         additionally                                                                                             19                       No
20                   Tell     me        everything                   that    Dongguk                 did    to                 20                       You         testified                little         earlier

21    determine             the       cause         of      the      decline            in the       ratio                     21       Mr Kim                that        prior      to     the        Shin incidenu                       Dongguk
22    of    faculty     applicants                  to        the    number of positions                                       22       had    made                 tremendous                    investment                  to     raise        the

23                     think            just        stated           that    we         did not                                23       quality         and        reputation                of       the     university                   Do      you
24    make any          particular                  additional               effort        to    find                          24       recall     that

25    out      Other         than           --                                                                                 25                       Yes


                                                                                                                                                                                                       Pages                         115            to         118
                                                                                                           Sanders         Gale         Russell

                                                                                                                   203     624         415
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                                  14368

Statement

             Currently               in   Korea       the executive           of the school                 operated           by     the corporation                 is    appointed

as      Trustee            of the corporation                and works on the                strategic         operation              of the school                  This     is   in order


to    ensure      broad understanding                       of the academic                administration                 of the school              that       is   maintained

and operated                by    the school          corporation        and        to    improve            school        development                    and   clear


communication                     with the corporation              On        this    point the case of the Dongguk                                       University


Corporation                that    operates        our university         is       no exception               Our universitys                      president has              long


participated             in    meetings           of the Board of Trustees                      as an       officer       of the corporation                     thus        obtaining


an understanding                     of the schools           issues     and persuading                     the Trustees              regarding            plans          related to


school       development                     However         the success           or failure          of    this    system of operation                        hinges        on what

sort    of       role the          school       executive       plays    when             participating             in   the Board meeting                           On     this   point

we     are deeply regretful and disappointed                                  in    the    series       of statements                 made by             President          Young

Kyo Oh         at    the meeting               of the Board of Trustees                     of the Dongguk                     University            Corporation                 on

October          10

             The         President           freely gave       voice     to    dangerous statements                            that    would be shameful even                                to


mention-         Two          days later he tendered                an    apology               to    the   members of                the school            community by

electronic          means            but     the severity      of the issue              lies    in    the fact       that      this    is    not the Presidents                      first



gaffe The gaffe the President                            made     last   March              after      being appointed                   to       our university              is   beyond

the bounds            of          gaffe and beyond              the bounds               of what should                  be heard            in   the     media           This     is   not


simple       gaffe but compels us                      to    question     how            well        he understands              the university                 of which           he    is




president

             As     said       above          the ordinary       trustees          of       corporation              may        have an inadequate

understanding                 of various           conditions     in    which our school                      currently          finds itself              and the members

of the school              community may have                    differing opinions                      depending on where                          they       stand This              is




why     the President                   represents     the school        and        its    community members                            in    the meetings                 of the

Board and             is    tasked         with    persuading the Trustees                           However             the President              has     instead          been eager

to    denigrate          the      members of           the   community Nor                      has    he refrained              from statements                     defaming

some     professors                This       cannot be allowed               to    stand        We      are keenly             aware         of the deep role                   that   the


Presidents           inadequate               understanding         of our university                       and lackadaisical                     approach           to    the crisis


has    played        in    the tumult             our university        has        recently          undergone            and the general                   administrative


chaos     that      has       been threatening               our schools            academic             atmosphere

             When           there have been              problems with               the Presidents                   statements              these have been


explained           as     due     to     misquotation        by the media or an imperfect                                expression                of his actual meaning

but    we have           to    ask      if   he has   considered         even once the                  direct        connection              between           the effects             of

these statements                  and our universitys               good           name         In addition              its   necessary             to    point          out that      if   our
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schools     present         crisis   was   the sort of simple    problem       that   could   be resolved     by merely         shifting


responsibility         and expressing         dissatisfaction     it   would never have gotten         to    this   point

           We        have already      expressed     our concerns       over   the Presidents      ability    to    handle the

situation       as   shown     in    the course   of how the     Ms     Shin incident was handled             And we      have

requested       the Presidents          voluntary    resignation       given   his responsibility for allowing            the school       to


reach    this   situation       We    once again request        the Presidents        voluntary   resignation         so that    he no

longer    obstructs the development                 of the school      and ceases     to   burden the members of the school

community



October     22       2007

Association          of Alumni Professors           Supporting      Dongguk       University
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                                                                                                   DONGGUKO3I 4368
     Case 3:08-cv-00441-TLM Document 257-7 Filed 08/04/11 Page 43 of 190




                               CERTIFICATE OF TRANSLATION




              Samuel Henderson                 hereby       certify    that       am   competent        in    both the
Korean        and    English         languages       and      that          translated   DONGGUKO3              14368

from the Korean language                   into   the English         language
              further     certify       that      translation         of    DONGGUKO314368                   from   the

Korean language            into      the English     language          is   accurate   and    correct    to   the best

of   my knowledge          and    proficiency




4rn
Plessional Transl




Subscribed   and sworn   to before   me   on ____________      day                     J_OU    year




             of   Nota
                                                            tb          Mycornmssion0t
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                            143711




           Devotion              to    the     monks          denotes           situation     in    which      great and ethical             monks worthy of

devotion         are taking           matters        in   hand At Dongguk                  University          this     is   not in evidence          There      is




only the Chairman                 of the Board who                  has    been publicly              pressured         to   resign     and the Trustees              and

their    followers       who          gloat over             political    victory        and      talk    about    cutting the throats                of   political


opponents due            to   the fear that               they might       hit     back           there   is   no reason        for   them     to   be the

Trustees        of     sacred          educational           institution        requiring         the character          and specialized knowledge                     of

educators         Not    only Dongguk Universitys                           ten thousand-some                     students      and employees and the

                                                             the Buddhists          of                                       since been without
greater    Dongguk family                      but     all                               this     age have long                                             worthy

leadership           This   is         true    misfortune         for    the university             and        gloomy         reality    for   Korean

Buddhism

           Hopefully             let    there be an end to the shifting                       of blame            Let    there be an end to           the twisting


of sincere       criticism            As      befits    an ascetic        let    the President            take the swift and bold               move       for   the


sake of    his    own       good        name           and no longer        trouble         the long       history of         Dongguk          This   is   the only


option    that    will      brighten           the path       of our precious            school          and for      this    alone     we   pray

           If    our proposal              does not come            to   pass      we      will    all   join in solidarity           with the Emergency

Committee            of the Dongguk                  faculty    senate and           all    responsibility for this will                 lie   with   the school

authorities




October         30 Year          2551          of the Buddhist             Era

Dongguk          University Buddhist                         Professors          Association
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     Case 3:08-cv-00441-TLM Document 257-7 Filed 08/04/11 Page 47 of 190




                                 CERTIFICATE OF TRANSLATION




               Samuel Henderson                hereby      certify    that      am    competent       in    both the
Korean          and    English        languages     and     that          translated     DONGGUKO314371
from     the    Korean language           into the English           language
               further      certify     that    translation          of   DONGGUKO314371                   from   the

Korean language               into the English       language        is   accurate and correct         to   the best

of   my      knowledge      and   proficiency




Sa       el           erson

      fcssional       Translator




Subscribed    and   sworn to before   me on ____________      day of_________        _______   year




              of Notary                                               N6ijStamp
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         EXHIBIT                             116
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      From                                                   21
      Sent                                                   20075                10                      2i       233
      To                                                     stephen.goot@yale.edu

      Cc                                                     timothybarringeryale.edu

     Subject                                                 verification        asked




     une      10 2007

     Dear       Steven       Sprowson



       am       writing      this    email         to    ask you         to    give     us         verification        on        recently          hired      faculty        member            of       our    university

     Jeong        Ah SHIN                Ms     Shin         submmited                 diploma          from      Yale      University        when         she applied                for         faculty position             of our

     school       in    August           2005      and         her    Ph.D       dissertation             c3uillaume          Apollinaire            Catalyst         for       Primitivism              For    Picabia        and

     Duchamp             from the Department                            of    History     of   Art        According            to     her   resume            which       she submitted                   the     dissertation

     was completed                  in    May 2005              and     the thesis           adviser       is   Dr    Chrstine          Mehring          of    the    Department                   of    History       of    Art




     But    our       current       confirmation                process         has shown              that     her   dissertation            is   the     same           with    the       one     from the University

     of Virginia          Guillaume                Apollinaire               Catalyst        tor    Primitivism          For     Picabia       and       Duchamp                 written          by Samaltanou

     Tsiakma            Ekaterini         as Ph.D              thesis    in    1981      at the       University         of    Virginia             This       is   the    reason why we                      should        ask you

        verification          on     her     whether             she     really    earned           her   Ph.D degree                 from    you                          school           arid        whether        her

     submitted           dissertation              is   genuine          one      or    not




     We     checked          your        library        to   see whether               the Yale        libary     has       Ms        Shins    dissetation                mentioned            above             But

     unfortunately            the        library        has informed              us    that   they       do    not    have      it   and     cannot          locate       it    at   Yale




     Your       help    on    this       matter         will    be    greatly      appreciated                    am     looking        forward          to    hearing           from you           as    soon         as    possible




     Sincerely         yours




     Eulyon       Cho        Ph.D

     Director


     Office      of    Management and                        Supervision


     Dongguk           University

     Seoul        Korea




     fax 82              2260        3694

     phone        822           2260        8803

     cellular     phone          82         04761                2280




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                 Case 3:08-cv-00441-TLM Document 257-7 Filed 08/04/11 Page 50 of 190


       Euiyon    Cho       Ph.D
                                                        ________________

       Professor      of   English



       Director


       Office        of    Management         and

       Supervision



       263 pildong           ohung   gu   seoul   100

       716   korea

          mail    chooy@dongguk.edu




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      From                                                  op

     Sent                                        2007E                   12 F2W 2i                       200
     To                                         Susan Emerson

     Subject                                     Re             verfication         asked

     Attachments                                8a940e2d               .jpg    8a940e7b.jpg              8a940e9b.jpg




            Dear Susan         Emerson


     Thank     you     for   your    fast    reply        and     your      information           on   this    mafter     will   definitely      help    us     move     forward        to    resolve

     this    problem


     Sincerely       yours


     Euiyon Cho




              Original       Message

     From      Susan         Emersonsusan.emerson@yale.edu
     To      21choey@dongguk.edu

     Cc      Christine       Melniiigchiistirie.rrrehriiig@yale.edu


     Sent Monday               Jun   11 2007              0848 PM

     Subject         Re        verfication      asked




     Dear Professor            Cho


     According         to   my records         Jeong            Ah Shin        did    not    receive           Ph.D      in    our   department          at    Yale   University             will   copy
     Professor       Christine       Mehring         to    determine whether                  she      can     shed any          light   on   this   matter



     Sincerely       yours


     Susan     Emerson




     At    0703     PM 6/10/2007             you     wrote




     Dear Susan         Emerson




      am     writing    this   email    to     ask you           to   give     us      verification           on      recently       hired     faculty    member        of    our     university

     Jeong     Ah    SHIN        Ms     Shin    submmited                     diploma from             Yale        University     and    her    Ph.D     disseration         titled    as    Guillaume

     Apollinaire        Catalyst      for    Primitivism              For     Picabia       and    Duchamp               when        she applied         for    the position           According        to


     her    resume      which     she       submitted            the    dissertation          was completed               in     May 2005        and      the thesis         adviser    is   Dr




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     Chrstine          Mehring         of    the   Department           of   History    of    Art




     But      our current          confirmation            process has shown that her dissertation                            is    the    same    with    the        one    from the University

     of Virginia         Guillaume             Apollinaire            Catalyst    for   Primitivism       For       Picabia        and    Duchamp          written          by    Samaltanou
     Tsiakma           Ekaterini        as Ph.D       thesis       in   1981     at the      University   of    Virginia           Moreover        we     could not              find   her

     dissertation           on    the       webpage        of   the     history    of     dissertation         of   your department                  This       is    the   reason why we

     should ask you                    verification        on   her dissertation               to   know whether         she        really     earned     her        Ph.D degree              from your

     deparment           of      the   Graduate           School




     Your       help   on     this     matter      will   be    greatly      appreciated             am   looking       forward           to   hearing    from you           as     soon      as   possible




     Sincerely         yours




     Euiyon       Cho       Ph.D



     Director



     Dffice      of    Management and                 Supervision



     Dongguk           University



     Seoul       Korea




     fax    82222603694

     phone        822            22608803


     cellular     phone           82    10     4761        2280




     Euiyon      Cho        Ph.D



     Professor



     Department             of   English



     Director



     Dffice      of    Management and                 Supervision



     263      pildong            chung        gu    seoul       100     715korea
     Email            choey@dpsgguk.edu




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                                                                                  C4MN   LWfl   It




     Susan     Emerson

     Registrar

     Department       of   the History   of   Art


    Yale     University

     203.432.2669

     http//www.yale.odu/arthistory




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         EXHIBIT                             118
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          From                                                             2j
      Sent                                                                2007 Th 6W                      2W                       744
          To                                                              pamela schirmeister@yale.edu
          Cc                                                              christine.mehring@yale.edu                               susan     .emersonyale.edu

      Subject                                                             in     need    of    verification




          Dear Pamela                   Schirmeister




          am      writing              this    letter         in    need          of verification             on your records                   about          Ms         Jeong         Ah Shin          for   whom         according to the
      documents                       we      have           in    2005 you              issued            Ph.D          certification             letter      to    our        school          Dongguk            University          in   Seoul
      Korea



     According                    to    one        of    the        documents                  in   May 27 2005 you                         issued             certification                  letter     saying     that    Jeong           Ah    Shin

      dob          April              28      1972        got              Ph.D         in    the    major       of     History        of    Art    and        graduated                in     May 2005             The    letter

     was          carbon               copied           to     Professor                Christine         Mehring            and     the     Department                   of    the     History         of   Art          Moreover           in



     response                    to    our     letter        of     asking          your       vertication            of the        May     letter        in   September                    22 2005 you              faxed        us    saying          that

     you        confirmed                   that        the       May          letter   was      issued         by     the Yale        Graduate             School              and      signed by you



     On        the     contrary               to    your statements                           however            upon        our     request         for    the verification                    of     Ms      Shins      status       on    whether
     she got                     Ph.D         in    the       Department                  of    the History             of   Art     Susan         Emerson                    the     registrar         of the     Department           of       the

     History           of        Art       informed us                    that     Jeong        Ah Shin          did     not       receive           Ph.D           in        the History           of Art     Department               Also

     Professor                   Mehrrng            emailed saying                       that       she    did    not advise               Jeong      Ah       Shin and                does       not    know       her




     Faced           with             these        two       contradictory                   statements from Yale                          University          about            Ms      Jeong          Ah    Shin we        are     oblidged            to

     ask you again                         whether            you          really       issued       the    May        and     September              certification                   letter      on    behalf      of   the Yale       Graduate

     School                 If    Jeong            Ah Shin                received              Ph.D       in    the major            of    the    History           of Art           under          Professor           Mehring        as you

     confirmed                    why do you                       think        Susan         Emerson           and      Dr    Christine           Mehring               have         denied what              you wrote about               Ms
     Shin



     It    will   be    very            kind       of    you         if    you      double check                 both        the    registrar        of     the Yale             Graduate              School      and       the    Histdry            of

     Art     Deparment                     with         regard            to     our    inquiry      about        Ms         Shins         status     on whether                      she     really     got       Ph.D      in    the History               of

     Art     Department                       under          the supervison                    of    Dr Mehring                    Your     quick         reply          to    this    will    be      greatly     appreciated




     Sincerely




     Eulyon          Cho Ph.D




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       Euiyon        Cho




       Professor


       Department          of   Englisn



       Dwector


       Management            and    Supervision

       Presidents          Office




       263     gil    dong      chung     gu   seoul   100715
       Korea

          mail choey@dongguk.edu




     L1




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         EXHIBIT                             119
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     From                                                  SJ
     Sent                                                  2007                    io     LF2W       2i      250
     To                                                    presidents.offlce@yale.edu

     Subject                                               in   need     of     verification




     To     Whom          It    May       Concern



      am         writing        this    email      to    inform       you       that    President     of   Dongguk         University         Oh Youngkyo              has      sent     the President            of


     Yale        University             Richard         Levin          letter      of   requesting         verification       on whether            Ms    Jeong        Ah Shin         got     Ph.D     in    the

     Department                 of     the   History      of    Art    via    DHL         According        to the    tracking        record    of    DHL         the   letter    was    delivered      to


     your office




     Could         you     confirm           whether          your     office      got    it   and   Would     it   be    possible     for    you    to   let    us    know     when you could              let


     us    know         the      result      of   it




     Since              great        confusion          has     been         spreading over          the nation      with    regard     to    whether           Yale   awarded               Ph.D on    her       in



     2005          your        quick      reply    will   be     greatly        appreciated




     Sincerely




     Eulyon          Cho




          Euiyon        Cho
                                                                                         _______________

          Director


          Manegement                 and Supervision

          Office          of the             President


          Dongguk                 University




          26.3     pu     dong chung              gu     seoul 100           715
          IKorea


             mail         choey@dongguk.edu




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         EXHIBIT                             120
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     From                                                  121
     Sent                                                  2007i                    15                         148
     To                                                    susan.carney@yale.edu

     Subject                                               thank               and        another    inquiry
                                                                     you




     Dear       Deputy          General Counsel                Carney



     President            Oh has asked                me      Director          of the        Office    of    Management and          Supervision       to   reply   to   your    letter   of July

     10 2007



     First    of    all    we would            like   to    thank         you       and     President        Levin    for   your quick   and     detailed    answers      to   our inquries

     about         the    documents             regarding            Ms        Jeong         Ah Shin




     We      would        appreciate           the     results           of   your investigation               on    how    the facsimile   of   document              bearing      the fax

     number 203                  4326904              was      created              and     issued     from    your    school    to   Dongguk      University        We    also    would      like   to

     know       whether              the fax    number         is         Yale       number



     We      appreciate              your   help      on    this    matter




     Sincerely




     Eulyon Cho


       Euiyan        Cho Ph.D

       Director


       Management                and    Supervision

       Office       of    the    President




       26Spil            dong chunggu                 seoul        100        715
       Korea


       Telephone                82    222608803

       Fax 82               22603694

             mail         choey@dongguk               edu




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         EXHIBIT                             121
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     From                                               sj
     Sent                                               2007Ed               15                                 1156
     To                                                 Susan Carney
     Subject                                            Re     inquiry




     Dear Deputy                 General Counsel               Carney


       would         like   to    thank       you     tor   your    email        ot    July          2007       and    appreciate            your       helpful          update    on    this    matter



     At    this     moment            am      the only        and    official         person of Dongguk                 University           to    contact        Yale     regarding       Ms     Jeong       Ah
     Shins          case         We      have       never     asked            Prof Myoung                Lee    of    University       of        Missouri        Columbia         whom           do    not

     know            Regarding           any    questions           for    the office          at   our    school which              received            facsimile          you    are also       advised          to

     let   them       contact            me

     Here      is    one     unclear          case     from      the      Yale    Graduate           School           which     experienced                  with   regard       this   matter          In   June       10

     20D7         when           contacted          Susan      Emerson            of    the    Department             of the    History           of Art     to   ask whether           Ms      Shin    got

     Ph.D degree                 from Yale             alse    addressed              the     same       question       to    Seteven         Sprowson              Deputy        Registrar      of    the Yale

     Graduate           School            But    he    has not given              me any        reply      to   my     inquiry       which           thought        at    that   time    was unusual


     Thank          you again         for   your kind and              quick      reply



     Sincerely



     Euiyon




                  Criginal       Message

     From           Susan        Carneysusan.carney@yale.edu
     To      choey@dongguk.edu

     Cc      edward.barnaby@yale.edu                                peter.brano@yale.edu

     Sent         Monday           Jul    16 2007           1205 AM

     Subject          inquiry




     Dear         Director          Cho

      am       glad         to    know          that    you         and      President              Oh      received           Yales              response           to     your inquiry regarding

     Ms      Jeong Ah                 Shin       and        that     it   was         useful        to    you


     Investigators                 here are examining                            the     documents                that        you     provided                and        will    be making             further

     inquiries



     We     do       not     know           from the           copies            available           here that document                                      was     in     fact    issued         from Yale

      can         confirm to you                     that     the      fax       number             2034326904                          is    assigned              as     the     fax   number              for    the

     Yale      Graduate               School           Associate                 Deans          Office           Because              documents can                        so easily be
     fabricated             with         available            software programs                           these        day      it
                                                                                                                                      appears              that     the      fax    line   may have




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     been       added         to       copy        but    that    may        not   be the        case The           investigators           will   examine      this


     question           If    they    have    questions               for   the    office   at    Dongguk           University          that     received       facsimile           or

     was presented                 with       copy        of relevant             documents            to    whom      shall          direct     them

     Also       Yale     received             query regarding                 this   matter from                Prof      Myoung            Lee    Department          of

     Economics                University       of    MissouriColumbia                       who        advised       that    she       was contacting          Yale     on
     behalf      of    DongGuk              University           Could        you    please       advise        whether          she     was asked          to contact        Yale

     on behalf          of    Dongguk         University


     Thank you


     Sincerely
     I/Susan




     At   0948 AM 7/15/2007                         you    wrote




     Dear       Deputy        General        Counsel         Carney




     President         Oh has asked                 me     Director          of the    Office      of       Management                and   Supervision         to    reply    to


     your     letter    of July              2007




     First   of all          we would        like   to thank           you    and     President             Levin   for   your quick             and    detailed     answers

     to   our    inquries          about     the    documents                regarding       Ms        Jeong Ah Shin




     We    would appreciate                  the    results of your investigation                           on how        the        facsimile     of   document

     bearing      the        fax   number          2034326904                       was created              and    issued           from your school          to    Dongguk
     University              We      also   would        like    to    know whether              the    fax    number           is      Yale     number




     We    appreciate              your help        on    this    matter




     Sincerely




CONFIDENTIAL                                                                                                                                                 DONGGUKO262S66
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      Euiyon               Cho
      Euiyon               Cho           Ph.D


      Director




      Management                             and Supervision



      Office             of the           President




      263 pildong chung gu                                                      seoul           100715                   Korea



     Telephone                      82222608803

      Fax          82222603694
     Email                    choey@dongguk.edu




     Susan           Cerney                        l7egular        mail

     Deputy       General       Counsel            P.O      Box     206255
     Yale     University                      New        Haven          CT 06520         6255

           203     432      4949                                   Overnight        mail

           203     432      7960                                      Whitney       Avenue        6th    Fl

     susan.cerney@yale.edu                           New      Haven        CT 06510


     NOTE        This      email   communication                  may     be    privileged      and     conhdential        It   it   is   not clear   that    you   are    an   intended     recipient         please    promptly       notify

     the sender          of your    receipt of         this       email    and    delete    the    transmittal       and    any      attachments         If   you   have    received       this   email   in    error    you   are   not permitted

      to    review       copy      or   distribute         this    email       or any   attachments           Ii   Nns   communication            coin       ems     proposed agreement               be       advised    that   this    message     arid


     electronic         signature       do   not     constitute           an   acceptance         or any      proposed terms



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CONFIDENTIAL                                                                                                                                                                                                                   DONG0UK0262867
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         EXHIBIT                             122
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     From                                                   21
     Sent                                                   2O07t                  18                         2i      554
     To                                                     Susan Carney

     Subject                                                update         from Dongguk                 University




     Dear Dupty              General            Counsel                Carney


     We      have     additional               documents             of    Ms      Jeong           Ah    Shins        records      related        to   Yale       University           They      came         in   our   hands

     on     July    13th           2007         Jeong         Ah     Shin       faxed     us       them        claiming     that    she was            admitted          to   the Yale       University            Graduate

     School         as        doctoral              student     in     2000       and    attended the school                       She       went       to    the    U.S       that    day    leaving              message
     that    she     will     verify          her    then     status              am     going to fax them                  to   you


     We     are     certain            that    she has        no     degree        from Yale             and     we     believe     that     she       is    lying       But    allow       me   to    let    you       know
     that    shins case                 has attracted              the attention              of   the    nation        with     regard      to   whether            some       Yale    people were                really

     involved        in     the        fake    degree         matter




      With     regard             to    Prof Myoung                Lees case                  came        to    know      that    one   of    our      board        of   trustees       asked         her to contact

     Yale     to   verify         the    documents                   She        would    no        longer       contact      you with        regard          to   this    matter



       hope        you      let        me know        the     result       of    your investigation                on     this   matter      soon           when you have              it




     Thank         you


     Sincerely




     Euiyon



               Original            Message

     From          Susan           Carneysusan carney@yale.edu
     To      choey@dongguk.edu

     Cc      edward.barnaby@yale.edu

     Sent      Tuesday                  Jul    17 2007          1203 AM

     Subject          update




     Dear      Director                 Cho
     Thank you                for        your quick                response              and            for    this     additional           information



     With      regard              to     Prof        Myoung               Lee          for    your information                          am        attaching              an image               of          letter      Asst

     Dean          Edward                Barnaby            received              in    which            she      wrote          that   she was                contacting              Yale       on     behalf           of

     Dongguk                University                 When               spoke          with           her      briefly she            told           me     that       she     had          longstanding

     relationship                  with        Dongguk               University               and         because            the     University               had        not     received             an answer                  to

     the     prior        queries              to     Yale      something                          did    not      think       was      the       case              she       had      been       asked            to


     pursue               response                    She had copies                          of    much          of the         relevant          documentation                         Her biography                      is




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     available          on the               MissouriColumbia website                          fyi       advised           her    only   that    Ms    Jeong Ah Shin
     had     not       received              degree       from Yale



     With     regard          to your        June10           email    to   Susan Emerson                     spoke        with     Steven      Sprowson             He has no
     record of having                   received              copy    of your email            Perhaps             it   went astray        or   was caught            by an

     email       filter       Steven         Coot       also         Deputy        Registrar      at   the     Graduate           School        has   been         involved

     and     may have               been      contacted          by Susan           Emerson            Perhaps           there    was some confusion
     believe          that    Steven         Coot may have contacted                        Assistant          Dean        Edward        Barnaby       at    the     Graduate

     School           Dean         Barnaby          has      assisted       here    in   addressing           the        issue   on behalf       of the       Graduate

     School


     Sincerely
     I/Susan           Carney




     At   0755 PM 7/15/2007                            you    wrote


     Dear     Deputy           General            Counsel       Carney


      would           like    to   thank you           for    your email of July                     2007      and        appreciate your             helpful        update     on

     this    matter



     At   this     moment             am      the      only    and    official      person     of      Dongguk             University      to   contact       Yale

     regarding              Ms     Jeong Ah Shins                case         We     have    never asked                    Prof     Myoung       Lee of University                of

     MissouriColumbia                        whom             do not    know             Regarding           any        questions    for   the    office      at   our   school

     which       received               facsimile you             are    also      advised      to     let   them contact             me

     Here     is      one     unclear        case       from the        Yale Graduate             School            which         experienced         with     regard       this


     matter            In    June     10 2007 when                     contacted          Susan Emerson                    of the    Department             of the    History

     of Art to         ask whether                Ms    Shin    got         Ph.D         degree      from Yale              alse addressed            the     same
     question to Seteven                      Sprowson            Deputy         Registrar        of the       Yale       Graduate       School         But        he has     not

     given       me     any        reply to       my    inquiry       which         thought       at    that       time    was unusual


     Thank you              again     for     your kind         and     quick      reply



     Sincerely



     Euiyon




                             Original   Message
                 From         Susan     carneysusan            carney@yale.edu
                 To         choey@dongguk.edu
                 Cc         edward.barnaby@yale.edu                   peter.brano@yale.edu
                 Sent        Monday         Jul   16 2007       1205 AM
                 Subject           inquiry




CONFIDENTIAL                                                                                                                                                  DONGGUKO262S75
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                Dear         Director       Cho


                    am      glad     to    know         that       you     and          President           Oh    received             Yales        response         to   your         inquiry regarding             Ms        Jeong
                Ah     Shin      and       that    it   was         useful         to    you


                lnvestioators               here        are        examining the documents                              that      you        provided          and    will      be     makina      further inquiries



                We      do     not    know         from the copies available                                  here    that        document                 was       in   fact       issued       from Yale              can
                confirm         to    you     that       the        fax    number 203432                             6904         is   assigned as             the fax       number          for   the       Yale   Graduate

                School         Associate             Deans Office Because                                    documents                 can    so easily be           fabricated           with     available         software

                programs             these        day         if
                                                                   appears              that    the     fax    line    may have              been     added          to      copy         but that       may        not    be the

                case          The    investigators                  will    examine             this        question         If   they       have    questions            for     the    office    at    Dongguk
                University           that    received                     facsimile            or    was presented                 with        copy       of    relevant          documents             to    whom         shall


                direct        them

               Also         Yale     received                  query        regarding                this    matter     from             Prof Myoung                 Lee Department                 of       Economics
                University           of     MissouriColumbia                             who advised                 that    she was           contacting            Yale       on      behalf     of    UongGuk
                University                Could         you        please     advise            whether           she was              asked    to    contact         Yale        on    behalf     of    Dongguk
               University


               Thank          you


               Sincerely

               I/Susan




               At     0948       AM       7/1512007                  you     wrote




               Dear Deputy                 General            Counsel            Oarney




               President             Oh has asked                   me       Director               of the     Office        of    Management and                    Supervision              to   reply       to   your     letfer

               of    July      10 2007




               First     of    all    we would             like       to    thank         you        and     President            Levin       for   your quick            and        detailed      answers          to    our

               inquries         about        the        documents                regarding              Ms        Jeong       Ah       Shin




               We      would         appreciate               the results               of   your investigation                    on     how       the   facsimile          of      document                 bearing        the fax

               number          2034326904                            was      created                and     issued         from       your school             to   Dongguk             University            We    also       would

               like    to     know whether                the        fax    number              is         Yale    number




           We         appreciate             your help               on     this        matfer




CONFIDENTIAL                                                                                                                                                                                                 D0NGGUK0262876
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                Sincerely




                Euiyon           Cho
                Euiyon           Cho Ph.D

                Director



                Management and                     Supervision


                Office          of   the     President




                26.3       pu        dong      chung     gu      seoul          100715            Korea



                Telephone                82    22260          8803


                Fax        822           22603694
                      mail           choey@dongguk.edu




               Susan            carney               Regular    mail

               Deputy      General       Gounael             Box 206255
               Yale     university                 New   Haven       GT    065208255
                  203        432      949                       Overnight        mail

                  203        432      7960                        Whitney         Avenue        6th   Fl

               susan.carney@yala.edu                   New   Haven        CI   06510




               NOTE             This     email     communication                 may be           privileged   and   confidential   If   it   is   not clear   that   you   are   an
               intended              recipient      please promptly                    notity




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                         the     sender of your receipt                           of     this     email            and      delete            the transmittal                 and     any attachments                         If   you       have

                         received           this     email        in      error        you are not permitted
                            to   review        copy            or    distribute            this        email         or   any attachments                         If   this        communication                     concerns                    proposed

                         agreement                be     advised that                  this     message and                        electronic            signature             do     not      constitute             an      acceptance                  of     any

                         proposed            terms




      Susan          Carney                       Regular       mall
      Deputy       General       counsel          p.o    Box     206255
     Yale      university                     Nay       Heven        CT 06520           6255

            203     432       4949                              Ovemight         mail

            203     4327960                                         whitney       Avenue         6th     Fl

     susan.carney@yale.edu                         New    Haven           ci   06510



     NOTE         Thia      email    communication             may     be privileged           and     confidential         It    it   ia   not clear   that    you    are    an    intended     recipient         please     promptly           notify

      the aender          of your     receipt ot       this    email    and    delete     the    transmittal          and    any        attachments        If   you    have    received        this   email    in   error     you     are not        permitted

       to   review        copy       or distnbute       this    email     or any       attachments            It   this   communication             concerns            proposed agreement                    be    advised        that   this    massage        and
     electronic          signature     do   not    constitute        an    acceptance           ot any     proposed              terms


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      From
     Sent                                                  2007i                                              506
     To                                                    Susan Carney

     Subject                                               update        and       help   needed




            Dear Dupty              General Counsel                      Carney


     We        sued Jeong               Ah Shin       for   forgery           of    documents          and    prosecutors         are    now       investigating         the    incident          We      need           to


     submit evidence                    of    showing           that    the    signature         of    Associate         Dean    Schirmeister         is    not the      same       with    the    one        on        the

     document              in     question           In    fact        what        we want      to    know    is   whether       the    signature      on    the forgered            document            is   the

     one       of    the   Associate Dean                   Schirmeiter             or    not


     In    addition          if
                                  you    have        any    update        on the investigation                 of the      fax   that   was    sent    to    us    let   us    know        the    result           It




     will      be greatly appreciated



     Sincerely



     Euiyon

                 Original          Message

     From           Susan         Carneysusan               carney@yale.edu
     To        choey@dongguk.edu

     Cc        Edward             Barnabyedward                 .barnaby@yale               .edu

     Sent           Friday        Jul   20 2007             0645 AM

     Subject           further          comments




     Dear           Director            Cho

          have       received                the    following             comments                    from the           Yale    Graduate           School        With         regard        to    the        first


     document                   that     you        taxed         to     me         which        purports           to    be      letter      to    Ms       Shin        advising          of admission

     to         Yale        graduate                program             and         which       is    dated        December             2000



     It   is   grammatically                        incorrect            specifies              admission            to

     Ph.Degree                      program               for          threeyear                period        2001        2004           which         is   something                we
     would           not     do         and         then     goes         on        to    say that           she    is    actually       admitted as                     DSR
     or     nondegree                    student                which          is    done on              yearbyyear basis and contradicts
     the       idea        that     she       would             receive              degree              Again Pam Schirmeisters name is
     spelled           incorrectly



     Thus           this     document                 is    not        an authentic                  Yale     admission           document


          am    not        familiar           with     the        other        library/archives                    request       slip    form        but     even        if    it   is   authentic

     dont           believe         that       it    demonstrates                     anything relevant                    to the       question whether                      Ms         Shin     received




CONFIDENTIAL                                                                                                                                                                               DONGGUKO2628S9
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     degree          from Yale



      Please         let        me know             if
                                                          you        have    other        questions



     Sincerely

     I/Susan           Carney




     At   0153             AM 7/18/2007                         you     wrote


     Dear       Dupty General                       Counsel                  Carney


     We     have           additional              documents                 of    Ms     Jeong Ah Shins                  records related               to    Yale    University               They

     came       in     our hands                   on July           13th         2007          Jeong Ah           Shin   faxed        us    them      claiming           that   she      was
     admitted              to    the       Yale        University           Graduate            School        as      doctoral         student         in    2000 and attended                      the

     school                She went               to     the     U.S        that    day    leaving            message           that     she    will    verify       her    then        status

     am     going           to fax          them          to    you


     We     are      certain               that    she         has    no degree            from Yale          and     we       believe       that    she      is   lying     But        allow       me
     to   let   you         know           that     shins            case      has      attracted       the    attention         of the        nation        with    regard        to    whether

     some       Yale            people            were         really    involved          in   the    fake    degree          matter




      With      regard                to   Prof          Myoung          Lees case                came         to   know        that   one      of     our board           of trustees

     asked        her       to        contact            Yale    to     verify      the   documents                  She would              no longer         contact        you        with

     regard to             this        matter



      hope you                  let    me know                 the    result       of   your investigation                on    this   matter        soon          when     you     have       it




     Thank        you


     Sincerely




     Fuiyon



                                 Original              Message
                From                  Susan Carneysusan.carney@yale.edu
                To              choey@dongguk.edu
                Cc              edward.barnaby@yale.edu
                Sent              Tuesday                 Jul    17 2007 1203 AM
                Subject                    update


                Dear            Director           Cho
                Thank you                    for    your quick               response            and   for    this    additional            information




CONFIDENTIAL                                                                                                                                                                 DONGGUKO26289O
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               With regard to Prof                         Myoung            Lee     for    your information                      am     attaching               an image of                   letter

               Asst Dean                Edward           Barnaby            received        in   which     she     wrote          that    she        was contacting Yale on
               behalf        of     Dongguk              University           When           spoke       with     her       briefly she                  told    me        that    she    had

               longstanding                   relationship            with     Dongguk            University          and    because            the            University          had    not

               received           an answer               to    the    prior       quries        to Yale       something                 did not               think    was        the    case
               she    had         been        asked        to    pursue              response           She had copies                   of   much             of the        relevant

               documentation                       Her biography               is    available          on the           MissouriColumbia website                                        fyi

               advised         her          only   that        Ms     Jeong Ah Shin had                    not    received               degree                from Yale

               With     regard to              your June              10    email     to    Susan Emerson                        spoke        with        Steven           Sprowson             He
               has    no record of having                           received            copy       of your email                 Perhaps            it   went astray                or    was
               caught         by an email                filter       Steven        Goot         also      Deputy           Registrar          at        the     Graduate           School
               has    been involved                      and     may have             been contacted                  by Susan           Emerson                  Perhaps           there       was
               some confusion                            believe       that        Steven        Soot may have               contacted               Assistant              Dean         Edward
               Barnaby            at    the     Graduate            School           Dean        Barnaby         has    assisted          here            in   addressing            the       issue

               on behalf               of the      Graduate            School


               Sincerely
               I/Susan         Carney


               At   0755 PM 7/15/2007                             you       wrote
               Dear     Deputy               General           Counsel        Carney
                would         like      to thank          you       for     your email           of July    16        2007       and     appreciate your                          helpful

               update         on       this    matter

               At this       moment                am      the    only       and     official      person        of    Dongguk            University                 to contact           Yale

               regarding            Ms        Jeong Ah Shins case                        We have never asked Prof                                              Myoung         Lee of

               University              of    MissouriColumbia                        whom do not know Regarding                                           any        questions           for    the

               office    at       our       school       which         received             facsimile you               are       also advised                  to   let    them contact
               me
               Here     is    one           unclear      case         from the        Yale       Graduate         School           which                 experienced               with

               regard        this       matter            In    June 10 2007                 when          contacted              Susan Emerson                        of the

               Department                   of the    History          of    Art    to ask       whether         Ms    Shin got                Ph.D             degree            from Yale

               alse   addressed                 the      same question                 to   Seteven        Sprowson                Deputy                Registrar          of the       Yale

               Graduate            School             But       he has         not    given       me     any     reply      to    my     inquiry               which         thought           at

               that   time was                unusual

               Thank you               again       for    your kind           and     quick       reply

               Sincerely

               Euiyon



                         Original             Message
               From          Susan Carneysusan.carney@yale.edu
               To     choey@dongguk.edu
               Cc     edward.barnaby@yale.edu                                       peter.brano@yale.edu
               Sent      Monday                 Jul      16     2007 1205 AM

               Subject            inquiry

               Dear     Director             Cho




CONFIDENTIAL                                                                                                                                                                 DONGGUKO26289I
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                    am   glad       to    know         that    you     and    President                 Oh   received        Yales        response           to your inquiry

                regarding           Ms         Jeong Ah          Shin       and    that       it   was       useful    to   you
                Investigators              here        are examining              the   documents                  that    you     provided           and     will      be making

               further        inquiries

               We      do     not    know         from the copies                 available              here that         document               was        in    fact        issued

               from Yale                 can      confirm        to    you    that      the        fax    number          2034326904                    is   assigned             as the
               fax     number            for   the     Yale      Graduate          School               Associate         Deans       Office       Because              documents
               can       so easily be fabricated                       with    available                software programs                 these       day     it
                                                                                                                                                                     appears          that

               the     fax    line       may have             been     added       to         copy           but   that     may     not    be the       case            The

               investigators              will    examine            this    question              If
                                                                                                        they    have       questions       for    the    office           at    Dongguk
               University           that       received           facsimile          or   was presented                    with       copy       of    relevant           documents
               to    whom        shall           direct       them
               Also       Yale       received             query regarding                 this          matter     from          Prof     Myoung             Lee        Department
               of    Economics                 University         of    MissouriColumbia                           who      advised       that    she    was contacting
               Yale      on     behalf           of    DongGuk          University                 Could you           please      advise        whether           she was            asked

               to    contact         Yale        on behalf        of    Dongguk            University
               Thank you
               Sincerely

               I/Susan
               At    0948 AM 7/15/2007                           you    wrote




               Dear      Deputy           General         Counsel           Carney


               President            Oh has asked                 me     Director          of the          Office      of    Management            and Supervision                       to

               reply     to   your        letter      of July        10 2007

               First     of all      we        would      like   to    thank you           and           President         Levin    for    your quick             and      detailed

               answers          to our inquries                about        the    documents regarding                           Ms   Jeong Ah Shin


               We    would          appreciate the               results of your investigation                              on    how     the    facsimile           of    document
                     bearing the               fax     number         2034326904                          was created              and    issued from your school                            to

               Dongguk           University               We      also would            like       to     know     whether         the    fax    number            is          Yale

               number

               We    appreciate your help                        on    this   matter


               Sincerely


               Euiyon         Cho

               Euiyon         Cho        Ph.D
               Director

               Management                 and         Supervision
               Office     of the          President

               263 pildong                     chung      gu      seoul       100715                    Korea

               Telephone             82               22608803
               Fax       82222603694



CONFIDENTIAL                                                                                                                                                            DONGGUKO262892
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                    Email                  choey@dongguk.edu




                     -jo




                   Susan          Carney                  Regular        mail

                   Deputy       General      Counsel     P.C       Box    208255
                   Yale     University                  New    Haven        CT    065208255

                      1203       4324949                                 Dvernight     mail

                      1203       4327960                                   Whitney     Avenue          6th   Fl

                   susan.carneyWyale.edu                  New       Haven        CT 065t0



                   NOTE              This        email        Communication may be                                   privileged         and   Confidential        If   it   is   not   clear   that

                   you         are        an intended                recipient                 please             promptly     notify

                   the       sender              of your receipt                     of this          email        and delete       the   transmittal      and    any       attachments            If




                   you         have         received           this        email          in     error        you    are not      permitted

                     to      review              copy         or distribute                    this     email       or any     attachments         If   this   communication
                   concerns                      proposed                agreement                     be advised          that    this   message        and   electronic              signature

                   do not                constitute           an acceptance                           of any        proposed       terms




                   Susan          Carney                 Regular         mail

                   Deputy      General      Counsel      P.C       Box    208255
                   Yale     University                  New    Haven       CT     06520        8255

                      203        432      4949                           Dvernight     mail

                      203        4327960                                   Whitney     Avenue         6th    Fl

                   susan     carney@yale          edu     New      Haven        CT   06510



                   NOTE              This        email        communication                           may be         privileged         and   confidential        If   it   is   not   clear   that


                   you        are        an intended                recipient                  please             promptly     notify

                   the       sender              of your receipt                     of this          email        and   delete    the    transmittal      and    any       attachments            If




                   you        have          received           this        email          in     error        you    are not      permitted

                     to      review              copy         or    distribute                 this     email       or   any   attachments         If   this   communication

                   concerns                      proposed                agreement                     be advised          that    this   message        and     electronic            signature

                   do not            constitute               an acceptance                           of     any proposed          terms


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     Susan          Carney                         Regular         mail

     Deputy       General       Counsel            P.O      Box     206255
     Yale     University                      Hew        Haven         CT       065206255

           203     4324949                                          Ovemight          mail

           203     432      7960                                       Whitney         Avenue         6th    Fl

     auaan.carney@yale.edu                           Hew     Haven             CT   06510



     NOTE        This      email   communication                  may be        privileged       and        confidential        Itit   ia   not   clear   that    you   are    an   intended     recioient         please     promptly       notify

     the sender          of your    receipt oi         this       email     and      delete    the    traosmiltal         and    any    attachments          It   you   have    received       this   email    in    error    you   are   not permilted

      to   review        copy      or   distribute         this    email       or any       attachments           If   this   communication           concerns           proposed agreement                   be    advised    that   this    message     and
     electronic         signature       do   not     cons     titute      an    acceptance           of any       proposed        terms




CONFIDENTIAL                                                                                                                                                                                                                        D0NGGUK0262894
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         EXHIBIT                             124
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     From                                                  2J
     Sent                                                  2007                 31                       2T        948
     To                                                    Susan        Carney

     Subject                                               new       evidence       for    fax

     Attachments
                                                          ycm.pdf




     Dear        Dupty         General Counsel                       Carney



     We      found             record       that    proves that              our    letter       of   verification         on Jeong           Ah Shin     to        Dean     Schirmeister       was      delivered

     to    Mr     Michael          Moore       one         of    the    YCM        staff    members on September                         20 2005               It    was     attated    as     PDF       file   That

     indicates          that     if   the   mail        delivery       system        of    Yale       University          worked        properly         the        letter   must      have   been      delivered

     to    Dean Schirmeister                       In    fact        since    we     got         fax    that      included       part    of    the   letter         contents      it   indicates       that

     someone            at     Yale    took    the        letter      and    faxed         us



          hope     this      new evidence                will    help   your investigators                   to    find    out   to   whom         the    registered           mail    was    delivered         It




     indirectly         indicates             think        that       the fax      which         included          part    of the     letter    was      sent        there     since    the   letter    was
     delivered          to     YCM


     Your        help     on    this    matter          will    be   greatly       appreciated




     Sincerely




     Euiyon        Cho



                   Euiyon              Cho         Ph.D
                   Director

                   Management                      and

                   Supervision
                   Office             of the       President




                   Telephone                  D222260
                   8803
                   Fax          82222603694
                   Email
                   choey@dongguk.edu




CONFIDENTIAL                                                                                                                                                                                  DONGGUKO2629O7
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                Case 3:08-cv-00441-TLM Document 257-7 Filed 08/04/11 Page 82 of 190




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         EXHIBIT                             125
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      From                                              a1
      Sent                                              2007i              31                           407
      To                                                Susan Carney

     Subject                                            Re      mail    receipt

     Attachments
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     Dear        Deputy       General Counsel                   Carney


     The      YCM         acronym        used was               in   reference     to    the Yale       Mail    Service            The      following     link   will   guide        you   to    the Yale

     Central           Mailroom wherein the                    third   paragraph          you   will    see    that    there     is         staff   person by the name of Michael
     Mnnre             Going     by     th rcnrds shown                    by   the     US   Postal     Service         the     package           was   delivered       to    and    signed       by

     Moore        at    YCM       So we           are   but     to     assume     that    the        Moore      in    question         is    Michael      Moore     staffperson             to   the   Yale

     Mail     Service


     We     do     not    know     whether          the    package         was     ever      received     by     Dean       Schirmeister but because                         the    package       was
     received           and    signed        by   one     of    the    staff    members         of   the Yale         Central      Mailroom          we   are    curious        as   to    what

     subsequently              happened            to   the     package         which     was addressed                to   Dean      Schirmeister



     http//www.yale.edu/campusmail/HowltWorks/CentralMailroom.htm



     Sincerely




     Euiyon Cho




     Euiyon       Cho Ph.D
     Director

     Management and                   Supervision
     Office       of    the President




     Telephone            822         22608803
     Fax      822         2260        3694

     Email               choey@dongguk.edu


                 Original      Message

     From         Susan        Carneysusan carney@yale.edu
     To     choey@dongguk.edu

     Cc       Edward          Barnabyedward                .barnaby@yale              edu       peter.brano@yale.edu

     Sent        Friday       Aug 31 2007                 046 PM

     Subject           mail    receipt




     Dear        Director         Cho

     The      material           that    you        have          provided         below         does         not      support              the     conclusion          that        any     package




CONFIDENTIAL                                                                                                                                                                          DONGGUKO2629I
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      from     Dongguk             University        was         ever        delivered        to   Dean     Schirmeister.The Yale Graduate                                    School

      advises       that         there    was no one by                  the    name         Michael        Moore              working       there       in   2005       In   addition

      YCM          is    not     an acronym related                     to   the    Graduate          School        Deans             office      where Dean
      Schirmeister works                    All    that     the       receipt       you    provided         indicates            is   that   it   was     deliver       in    New
      Haven        CT 06520              and      signed        for    my           MOORE           YCM

      Could     you        please        provide       the       precise        address            to which       the     package            was addressed                    and       the

      name     of the           addressee             In    addition do you                   have          document             that       indicates         that            stands          for

      Michael


     Sincerely
     I/Susan            Carney




     At   0548 AM 8/31/2007                         you         wrote




     Dear     Dupty             General     Counsel                   Carney




     We     found               record that proves                    that   our    letter    of verification             on Jeong Ah Shin                     to    Dean
     Schirmeister was                    delivered         to    Mr      Michael          Moore one              of the        YCM      staff     members            on September

     20 2005               It    was     attated     as           PDF        file    That indicates               that    if    the     mail delivery           system         of Yale

     University           worked         properly               the    letter   must         have     been       delivered            to   Dean Schirmeister                       In   fact
     since     we        got       fax that        included part of the                      letter   contents            it    indicates         that    someone             at   Yale

     took    the        letter    and     faxed      us




      hope      this       new      evidence         will       help     your investigators                 to    find    out     to       whom     the       registered           mail

     was    delivered               It   indirectly        indicates                think      that   the    fax which                included      part       of the     letter        was
     sent    there        since the         letter    was         delivered          to   YCM




     Your help           on      this    matter     will    be greatly              appreciated




     Sincerely




     Euiyon     Cho




CONFIDENTIAL                                                                                                                                                          DONGGUKO2629I6
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      Euiyon               Cho         Ph.D
      Director

      Management                           and      Supervision
      Office               of the         President




     Telephone          82222608803
      Fax          82222603694
              mail            choey@dongguk.edu




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     Susan           Carney                      flepular      mail

     Deputy       General       Counsel          P.O     Box 208255
     Yale     University                    New        Haven        CT     065208255

           203     432      4949                               4yiht              mail

           203     432      7960                                    Whitney       Avenue      6th     Fl

     o.caf0e@aedu                                New     Haven           CT    06510


     NOTE        This      email   communication              may be          privilepad    and     confidential         lid    is   not clear   that    you   are    an   intended     recipient         please     promptly       notify


     the sender          otyour     receipt 01      this      email      and    delete     the transmital         and     any    attachmenis        Ii   you   have    received       this   email    in   error     you   are   not permitted

      to    review       copy      or distnbure        this    email       or any   attachments            Ii   this   communication         concerns           proposed apreement                   be    advised    that   this    messape     and
     electronic         sipnature     do   not    cons     titute     an    acceptance        ot any       proposed terms



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CONFIDENTIAL                                                                                                                                                                                                               DONGGUKO26291
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          EXHIBIT                            126
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      From                                                  si
     Sent                                                   2007U         9131          121              1024
     To                                                     Susan Carney
     Subject                                                Re     further

     Attachments
                                                            cel3bc.jpg           mail   receipt.pdf




           Dear Deputy               General Counsel                     Carney


     Attached           you       will   find             copy    of    the mailing       label   of   the   package       that    we     sent     the Yale    Graduate      School       on

     September                    2005          It     was addressed              to    Graduate       School       Yale    University        New     Haven         CT 06520       USA

     What      is     certain       is   that        it   was     delivered      to    YCM    and      signed by           Moore           staff    person     at    YCM      We     hope      we    get

     the     result     of    your investigation                    on what       was subsequently happened                       atter    YCMs       having        picked   up   the   package


     Sincerely



     Euiyon




               Original           Message

     From           Susan      Carneysusan.carney@yale.edu
     To      choey@dongguk.edu

     Cc       peter.brano@yale.edu                               Edward     Barnabyedward               barnaby@yale.edu

     Sent       Saturday             Sep 01 2007                   0158 AM

     Subject           further




     Dear       Director             Cho
     Could YOU                please            advise            how      exactly         the      package         was addressed                    Do you          have         copy       of the

     mailing           label

     Do yOU            have              copy             of the        actual        receipt       from the        USPS

     Thank you
     I/Susan            Carney



     At    1206           PM 8/31/2007                            you wrote


     Dear       Deputy             General                 Counsel         Carney


     The      YCM             acronym used                         was      in    reference to the              Yale        Mail Service                The     following          link     will


     guide          you      to    the      Yale Central                   Mailroom           wherein         the    third        paragraph            you     will    see    that      there       is


     staff     person              by the            name          of     Michael            Moore           Going         by the         records shown                by the      US     Postal




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      Service        the    package                was     delivered              to and        signed          by          Moore          at   YCM           So we         are        but    to

      assume         that      the            Moore        in        question       is     Michael          Moore           staffperson             to the         Yale         Mail Service



     We    do    not      know          whether           the         package         was       ever        received         by Dean             Schirmeister                   but    because
     the   package             was          received           and       signed       by one              of the     staff    members              of the          Yale     Central

      Mailroom we                are        curious       as         to what       subsequently                    happened           to    the     package               which        was
     addressed            to     Dean          Schirmeister



     http//www.yale.edu/campusmail/HowltWorks/CentralMailroom.htm



     Sincerely




     Euiyon      Cho




     Euiyon      Cho           Ph.D
     Director

     Management                and Supervision
     Office     of the         President



     Telephone             82222608803
     Fax 82          22260              3694
     Email           choey@dongguk.edu


                          Original          Message
                From        Susan           carneysusan.carney@yale.edu
               To      choey@dongguk.edu
               cc      Edward           Barnabyedward                    barnaby@yale.edu                   peter.brano@yale.edu
               Sent        Friday Aug              31    2007           046 PM
               Subject           mail       receipt




                Dear Director               cho

               The     material         that   you      have         provided      below       does       not   support      the   conclusion          that    any        package       from

               Dongguk           university         was    ever         delivered     to      Dean    Schirmeister.The             Yale         Graduate      School        advises          that   there

               was no one            by      the   name Michael                 Moore         working there          in    2005     In   addition       YCM          is    not    an    acronym
               related      to   the        Graduate      School            Deans     office         where      Dean       Schirmeister          works       All   that    the receipt         you
               provided          indicates         is   that    it   was    deliver      in   New     Haven        CT 06520        and     signed      for    my           MOORE         YCM

               could       you    please provide                the     precise     address          to    which     the    package        was addressed                  and    the    name        of   the

               addressee               In    addition          do     you   have         document           that   indicates       that            stands      for   Michael


               Sincerely

               I/Susan         Carney




CONFIDENTIAL                                                                                                                                                                      DONGGUKO26293O
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               At    0548 AM 8/31/2007                            you wrote




               Dear Dupty               General Counsel                          Carney




               We     found                 record     that    proves            that    our    letter    of    verification            on    Jeong     Ah    Shin     to    Dean       Schirmeister            was
               delivered          to        Mr      Michael       Moore            one    of    the    YCM       staff     members on September                        20 2005              It    was     attated      as

                    PDF    file             That     indicates         that      if   the mail        delivery     system          of    Yale       University      worked           properly           the   letter


               must       have         been         delivered          to   Dean        Schiimeister              In     fact      since      we      got     fax    that     included           part   of    the   letter


               contents           it    indicates          that      someone             at    Yale     took     the     letter    and        faxed     us




                 hope      this        new evidence                 will     help     your investigators                 to     find    out    to   whom      the    registered          mail      was
               delivered               It    indirectly       indicates                 think    that     the    fax     which          included       part   of    the     letter    was    sent       there       since

               the    letter   was            delivered        to      YCM




               Your     help      on         this    matter     will        be   greatly        appreciated




               Sincerely




               Euiyon      Cho




               Euiyon      Cho Ph.D
               Director

               Management and                        Supervision
               Office     of   the          President




               Telephone               82        22260--8803

               Fax      822         2260            3694

               Email              Choey@dongguk.edu




CONFIDENTIAL                                                                                                                                                                                     DONGGUKO2G293I
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                        Susan              Carney                        Regular         mail

                        Dauty         Genarat          Counsel          P.C        Box     208255
                        Yale     University                            New        Haven        CT    065208255
                           203         432949                                            Overnight             mair

                           203         4327960                                              Whitney              Avenue        6th     Fl

                        susan         arney@yala.edu                       New      Haven           CT    06510




                        NOTE               This       email           communication                            may be                privileged             and    Confidential                 It   it   is    not   Clear that                you     are           an

                        intended                recipient               please             promptly                notify

                        the      sender of your receipt                                   of    this        email            and       delete           the     transmittal              and    any attachments                           If    ynu      have

                        received                this       email        in    error         you          are       not       permitted

                          to     review             copy              or distribute                 this         email        or      any attachments                        If   this        communication                     concerns                     proposed

                        agreement                      be advised that                      this          message and                         electronic            signature             do     not      constitute              an      acceptance                       of   any
                        proposed                 terms




     Suaan          Carney                            flgq4r mail
     Dapuy       Cereral          Counsel             P.O      Box 208255
     Yale    University                           New       Haven          CT 065208255

        203       4324949                                              Overnight         mail

        f203      432          7960                                      Whitney          Avenue           6th     Fl

     susar     carney@yale.edu                          New     Haven         CT    06510



     NOTE        This     email       communication                  may     ba    privileged            and     conhdantial           It    it/s    not   clear   that    you    ara    an   intendad         recipiant        plaaae    promptly           notify


     the    sender       of your       receipt ot          this      email    and    delete         the    transmittal          and     any         attachments       If   you    have    received        this   email     in   error     you     are   not permitted

      to   review         copy        or   distribute         this    email       or any    attachments                 It   this    communication              concerns           proposed agreement                    be     advised        that   this    message           and
     electronic         signature          do   not     constitute           an   acceptance              of any      proposed              terms




CONFIDENTIAL                                                                                                                                                                                                                                      D0NGGUK0262932
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     From                                                L94
     Sent                                                2007Et                                           1150
     To                                                  Susan Carney
     Cc                                                  offlce.president@yale.edu

     Subject                                             re about YCM and                 mailing    label




           Dear Deputy            General           Council       Carney


     We     do    not     have    an    image        of    the mailing            label    addressed            in   English      to   Graduate      School      Yale       University         New
     Haven         CT 06520             USA        because         when        sending          package              overseas          the only    form   of   receipt      is   through        coded
     number           not provided            is     copied            image      of    the   sent       mail        Shouldnt          the Yale    Central     Mailroom have               the record     of


     receiving        our    package          from        the   US.P.S

     As    for   an   image       of    the    signed receipt               with       an actual     signature           of           Moore you would          have    to    check      with    the   U.S
     Postal       Service        because           the    package           was    delivered        to   the       YCM

     At   this    point     the   information              provided          by the US Postal                 Service     states        that   the registered     mail      by    us   was    delivered

     to   YCM      and      signed by                Moore        at    the Cental         Mailroom of Yale                   University



     Sincerely


     Euiyon       Cho




                 Original    Message

     From         Susan      Carneysusan carney@yale.edu
     fo      choey@dongguk.edu

     Cc      peter.brano@yale.edu                         Edward         Barnabyedward.barnaby@yale.edu

     Sent        Tuesday          Sep    04 2007            0122 AM

     Subject          Re Re        further




     Dear        Director         Cho
     The      image that               you         send      me        is   almost         entirely           in     Korean            Do you      have      an image            of the       mailing

     label       that as you              say below                    was addressed                     in     English          to




     Also do you                  have        an image of the                      signed          receipt           with       an actual         signature       of              Moore         on it



     Thank you

     Sincerely

     I/Susan



     At    0624 AM 9/3/2007                               you     wrote




CONFIDENTIAL                                                                                                                                                                       DONGGUKO26294O
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         Dear        Deputy           General               Counsel                Carney


     Attached         you         will     find             copy        of the           mailing             label    of the          package            that         we   sent         the     Yale    Graduate

     School         on September                             2005             It    was addressed                      to    Graduate School                             Yale     University                New
     Haven CT 06520                         USA

     What    is     certain          is    that    it       was        delivered                to    YCM and              signed           by           Moore               staff       person         at


     YCM          We       hope we               get        the    result          of     your investigation                       on what          was subsequently                            happened
     after   YCMs            having          picked               up the           package


     Sincerely



     Euiyon




                           Original         Message
               From          Susan         Carnevsusan                  carney@yale.edu
               To      choey@dongguk.edu
               Cc      peter.biano@yale.edu                             Edward            Barnabyedward                    barnaby@vale.edu

               Sent         Saturday             Sep 01 2007              0158 AM
               Subject            further




               Dear        Director        cho
               Could        you     please        advise          how     exactly           the       package        was addressed                 Do you have                   copy     of    the    mailing        label

               Do you have                  copy        of    the actual            receipt          from     the    USPS



               Thank        you
               I/Susan        Carney


               At    1206         PM 8/31/2007                    you wrote


               Dear Deputy                General Counsel                 Carney




               The     YCM          acronym            used        was    in       reference            to   the Yale       Mail      Service        The     lollowing           link    will   guide you           to     the

               Yale    Central           Maitroom            wherein the                third    paragraph           you     will     see that      there        is      staff   person by            the    name        of

               Michael             Moore          Going           by    the    records               shown     by    the    US    Postal         Service     the        package         was     delivered        to      and

               signed        by          Moore         at    YCM         So we            are    but    to    assume        that      the        Moore      in        question     is   Michael        Moore
               staffperson            to    the   Yale        Mail     Service




               we     do     not    know         whether          the    package            was        ever    received          by    Dean Schirmeister                   but    because         the       package

               was     received            and    signed by one                    ot    the    staft        members        of   the    Yale      Central        Mailroom         we     are     curious       as     to


               what    subsequently                happened              to        the    package            which    was addressed                 to   Dean          Schirmeister




CONFIDENTIAL                                                                                                                                                                                    DONGGUKO262941
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                http//www.yale.edu/campusmaiI/HowItWorks/CentraIMaiIroom                                                                                  htm




               Sinceiely




               Euiyon       Cho




               Euiyon       Cho Ph.D
               Director

               Management and                            Supervision
               Office      of     the        President




               Telephone                    82     22260             8803

               Fax      822            22603694

               Email                   choey@dongguk.edu


                          Original                Message
               From         Susan                 Carneysusan.carney@yale.edu

               To      choey@dongguk.edu
               Cc      Edward                Barnabyedward.barnaby@yale.edu                                                 peter.branofEbyale.edu

               Sent        Friday                 Aug 31.2007                1046 PM
               Subject            mail            receipt



               Dear Director                     Cho
               The    material               that    you      have         provided            below         does        not     support            the    conclusion              that         any        package        from

               Dongguk            University              was        ever     delivered              to    Dean      Schirmeister.The                          Yale       Graduate         School            advises          that    there

               was no one                   by     the   name Michael                     Moore            working there                 in    2005            In   addition        YCM               is    not    an     acronym
               related      to    the            Graduate        School            Deans            office        where          Dean          Schirmeister                 works         All     that      the receipt         you
               provided          indicates               is   that    it   was          deliver      in     New     Haven             CT 06520             and        signed        for    my               MOORE            YCM
               Could       you         please provide                 the         precise          address          to   which          the     package               was addressed                        and    the     name       of    the

               addressee                     In    addition          do     you         have         document              that       indicates            that              stands             for   Michael
               Sincerely

               I/Susan          Carney


               At   0548 AM 8/31/2007                                you wrote




               Dear       Dupty             General Counsel                        Carney



               We    found                  record       that    proves that                  our    letter      of veritication                on Jeong               Ah    Shin     to        Dean        Schirmeister             was
               delivered          to        Mr      Michael          Moore              one    of    the    YCM          staff    members on September                                20 2005                     It   was    attated        as

                    PDF    file             That indicates                 that    if    the mail          delivery        system ot Yale                      University          worked             properly            the    letter


               must       have         been         delivered         to     Dean         Schirmeister                    In     fact     since       we            got      fax    that        included           part      of the       letter


               contents           it        indicates         that    someone                 at    Yale     took        the     letter       and     faxed           us




                hope       this        new evidence                   will    help        your investigators                     to     find    out       to    whom         the    registered               mail       was
               delivered               It    indirectly         indicates                 think           that   the     fax     which         included               part   of    the     letter          was    sent       there    since




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                the      letter      was     delivered      to    YCM


                Your        help      on    this   matter    will    be      greatly         appreciated




                Sincerely




                Euiyon          Cho


                Euiyon          Cho Ph.D
                Director

                Management and                     Supervision

               Office         of the        President

               Telephone                822        2260      8803

                Fax 82               222603694
                Email                 choey@dongguk.edu




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               Susan          carney                 Regular     mail

               Oeputy       General     counsel     P.c     Box 208255
               Yale     University                 Hew    Haven     CT 06520          8255

                  203        432     4949                        Overnight      mail

                  203        432     7960                           Whitney      Avenue       6th   Fl

               susan      carney@yala        edu     Jew    Haven       01    06510




               NOTE                This     email        communication                        may be         privileged   and   confidential   If   it   is   not   clear   that

               you        are        an intended             recipient                 please            promptly notify




CONFIDENTIAL                                                                                                                                                  DONGGUKO262943
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                         the       sender                of your receipt                             of this              email             and        delete           the         transmittal                  and           any          attachments                           If




                        you         have            received                   this      email              in      error               you      are        not        permitted

                            to     review                copy              or distribute                          this          email           or    any attachments                                If    this        communication
                         concerns                         proposed                      agreement                          be advised                     that         this         message                  and            electronic                      signature

                         do not               constitute                   an acceptance                                 of      any proposed                           terms




                        Susan            Carney                        Regular        mail

                        Deputy       General        Counsel          P.C        Box     208255
                        Yale     University                        New         Haven     CT     06520             8255

                            203       432949                                          Overnight          mail

                            203       4327960                                            Whitney           Avenue          6th    Fl

                        sucnn      arnPyiflyals.ndrI                   Ne        Haven        CT     iSSl    ii




                        NOTE             This       email         communication                          may be                 privileged            and     confidential                 If   it   is    nDt    Clear          that        you are an
                        intended              recipient              please             promptly              notify

                        the      sender of your receipt                                 of    this    email              and      delete             the transmittal                and    any attachments                             It    you       have

                        received              this     email        in     error         you        are       not permitted

                           to    review           copy            or distribute                this        email           or    any        attachments                 If   this        communication                        concerns                      proposed

                        agreement                   be      advised that                 this        message and                         electronic           signature              do    not       constitute                an acceptance                         of     any
                        proposed               terms


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     Susan           Carney                         Regular       rnail


     Deputy       General        Counsel            P.O     Box     208255

     Yale     university                        Hew       Haven        CT 06520              8255

           203     432      4949                                  Qygjpiht            mail

           203     4327960                                           whitney          Avenue         6th     Fl

     susan.carneyyale.edu                             Hew   Haven          CT    06510



     NOTE        This      email    communication                may      be    privileged         and     confidential            It    ills   not   clear   that     you   are    an   intended         recftiient        please     prompily             notify


     the sender          ot your      receipt 01         this    email     and    delete       the   transmittal            and    any      attachments           It   you   have    received        this    email      in    error    you         are not      permilted

      to    review       copy       or   distribute       this    email        or any    attachments                II   this    communicahon             concerns            proposed agreement                       be    advised        that     this    message        and
     electronic         signature        do   not     constitute          an   acceptance            ot any        proposed             terms




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                          Case 3:08-cv-00441-TLM Document 257-7 Filed 08/04/11 Page 101 of 190




     From                                                             s.l
     Sent                                                             2007i                    12                    2fl 209
     To                                                               Susan Carney
     Subject                                                                  needed           and
                                                                      help                             update




     Dear Deputy                     General Council                     Carney




     Would           it   be        possible             for    you     to    inform           us    the    result       of   your checking              YCM    for   the delivery           ot        the    package          sent   by

     us whose                  delivery             to     Yale       University               was confirmed                  by   the    US     Postal      Service




     According                 to    the interview                    by Shin       Jeong            Ah with         one      of   the    Korean        newspapers           she        who       is    now      in   the   US said
     there      is        someone              at    Yale         University            who         received         the      package       and        who    helped her          to   get        fake         degree          from

     Yale    University                    she told that                     she    is   trying        to   find     where         she      is    now


     The     Procecutors                       office          has      been       keeping            to    ask me            whether      Yale        University     has    sent      me any           result    on    the     fax

     incident             and       on    to    whom              the    package               was     sent     by       YCM         It   will    be    of   great    help   if   you    inform          us   the     result     of   your
     investigation                   on    this          if
                                                              you have             or    let    us    know         the    current        status    of     the affairs




     Sincerely              yours




     Euiyon Cho




       Eulyon             Cho Ph.D                                                                    _______________
       Director


       Management                    and       Supervision

       Dftice          of   the      President

       Telephone                    82         2260            8803


       Fax 82               22260           3694                                                      ________________
             mail           choey@dongguk.edu




CONFIDENTIAL                                                                                                                                                                                                     D0NGGUK0262945
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          EXHIBIT                             129
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     From                                                 2J
     Sent                                                2007ii                  30                 2i     508
     To                                                  michaei.moore@yale.edu
     Cc                                                  michael.madera@yale.edu

     Subject                                             information             requested




     Dear Michael           Moore



      am     writing       this    email          in   need        of    proof    for   the delivery       nf   our      registered       mail   to    Dean   Schirmeister     of   the    Yale

     Graduate       School             which           was    delivered          and     signed     by   you     on      September        20 2005        according     to   the information

     given    by    the    US      Postal          Service




     Dur     school        Dongguk                University            sent      registered        mail        letter    of   verification       to   Dean   Schirmeister       of the Yale

     Graduate       School             on    September                    2005          For   the   sake    of    process           the   receipt      number    of   the mail      is   given

     below



      RRO6 7260            601     KR



     Your    help     on    this       matter          will   be    greatly       appreciated




     Sincerely




     Euiyon Cho




                    Euiyon        Cho         Ph.D
                    Director

                                                                                         LI
                    Management                and       Supervision
                    Of    fice    of   the    President



                    Telephone                e2    2-2260          0003

                    Fax      82222603694
                    Email choey@dongguk.edu                                             ________________




     L1




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          EXHIBIT                             130
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     From                                                 2j
     Sent                                                 2007E1              31              2i      956
     To                                                   michael.moore@yale.edu

     Subject                                              verification        requested

     Attachments
                                                          ycm.pdf




     Dear Michael            Moore



      hope      you       got      my      email     ot    August        30th     which   asked     you    to   give   us      proof   of    the delivery   of   our   registered   mail   to


     Dean     Schirmeister                   Attachd           you     will     find   PDF   file   that   will   help   you   find    the   record




     Your     quick       reply     will     be greatly appreciated




     Sincerely




     Euiyon Cho



                          Director

                          Management               and Supervision
                          Ottice     ot     the    President

                          Telephone               82222608803
                          Fax 82              2260        3694
                             mail choey@dongguk.edu




       Your    Name

       dept    name        professor



       263     pu     dong         chung      gu     seoul       100

       715korea

       phone

       Email
                    82    2x
                         choeydonggukedu
                                                   tax    82




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         EXHIBIT                              131
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 OGITAL     C$4OSUN

 The Chosun                Uho


    Biennale           Curators Degree                           Reveated                Forgery

          document         that    was     used         to    show        that         Dongguk             University       art   professor              had
          doctoral     degree        from        Yale      has      turned       out    to be             forgery


   Assistant          Professor          Shin     Jeongah                 had    used the fax which                     appeared              to    have
   been       sent     from       Yale    University           to    Dongguk           University               to   confirm      that        she
   graduated           with        doctoral           degree         in    art


   However            in   response         to    an email                inquiry      by the       Chosun Ilbo Gila                 Reinstein             at

   Yale      Universitys           Office        of   Public        Affairs      said     The        document has                    different

   lorm       from     that   of    Yale    Universitys               official      certificate                The document              is         fake

   She      said           couldnt        contact            Pamela Schirmeister                         associate         dean    of     Yale

   Graduate           School         whose        signature           was        on the faxed              document However                          her

   assistant          said    Prof       Schirmeister               had     never      signed            her name to such

   document

   Shinwas appointed   professor  at Dongguk   University                                                      and   the   art director             of   the

   Gwangju Biennale  partly on the strength of the fax                                                    It   now    appears       the

   document may have been lorged in Korea


   Shin      was      contacted          earlier      in     Paris        France        but   it    is     unclear      where       she        is   now
   The      biennale         foundation           has      withdrawn             her   appointment




   url     http//english.chosun.com/w21data/html/news/2OO7O7/2OO7O713OQ1                                                                                 html




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                              Contact  letterschosun  coni for more information

                               Privacy Statement  Contact privacy@chosun.com




                                                                                                                                                                YALE0000076O
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            7/19/07             247    PM   -0400        Re   Question from Korea

 To                             circle@hani.co.kr
  From      Gila       Reinstein            gila.reinsteinyale.edu
 Subject          Re        Question from Korea
 Cc
 8cc


 Dear Choi             WonHyung

 JeongAh              Shin          Ph.D degree from Yale University She was never enrolled
                                  did     not earn
 as       student           here
                          The History of Art Department where she says she studied and the
 Office     of the Registrar which maintains  student data have no record of her


 The documents                      she     presented          are false          diploma bearing                her     name       supposedly
 issued         by Yale           in   2005        has   the signature            of President           Howard        Lamar who           served   as
 Yale     president               1992-93           and Secretary          Sheila Wellington                 who    left   Yale     in   1993 An
 authentic diploma from 2005 would                                      have      been signed            by President            Richard      Levin      and
 Secretary Linda Koch Lorimer


 The form             Ms        Shin claims was               faxed    from the Yale Graduate School                        to confirm       that   she
 earned         her degree              does not resemble the document Yale issues                                              purpose Her
                                                                                                                         for that

 document             contains            inappropriate           information          her    birth       date     for   example that we do
 not    include            It    misspells the Associate                 Deans       name          It   does not follow the form of the
 letter    Yale       sends


 Yale     has    no information about who                             might    have created              these   false     documents


  hope      this      is    helpful


Yours
 Gila    Reinstein



  TO      YALE UNIVERSITY                   GILA    REINSTEIN         Assistant    Director   of    Public   Affairs

  FROM          The    Hankyoreh             W.H.Choi



  Dear    Gila    Reinstein



  AIA@amA@veryA@p     leasedA@toA@co ntactAyou
  A@MyA@nameA@isA@Choi
  A@won -HyungA@andA@IA@amA@workingA@forA@TheA@Han    kyorehAwh ichA@i sA@oneA@ofA@the
  AprogressiveApressA@inA@theA@Korea
  A@YouA@mightA@beA@ti     redAofAtheAceaseIessAq uestionAfromAtheAKoreanApress
  A@regardingA@theA@certificationA@ofA@Ms.A@ShinA@Jeong-Ah
  A@IfA@allowed


  A@i .A@YouA@haveA@confi rmedA@thatA@Ms .A@Shin
  A@JeongAhA@d idA@notA@takeA@theA@Ph    DA@d eg                                         reeA@ofA@YaI            eA@U      ive   rsityA@andA@th     eA@do
  cumentsA@forA@theA@certificationA@we                                  reA@falsifiedA@inA@theA@interviewA@withA@oneA@ofA@
  theA@KOreanA@PreSsA@thisA@week.A@CanA@IA@as                                            kAyouAtoAexpIai                    nA@theA@moreA@c.setail


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                                                                                                                                              YALE00000SoO
          Case 3:08-cv-00441-TLM Document 257-7 Filed 08/04/11 Page 112 of 190


          7/19/07      247   PM    -0400   Re   Question from Korea

    edAgrou ndsAforAyourAconfirmat                   ion

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   A@ftA@isA@oneA@ofA@theA@bigqestA@iss                    uesA@inA@KoreaA@thatA@Ms.A@Shi   nA@hadA@beenA@

   A@toA@thisA@M             .A@Shi     nA@caseAinAyourAun        iversity
   A@-A@tfA@so
   A@canA@youA@teIIA@theA@nationalityA@ofA@theA@personA@whoA@falsifieciA@theA@certification



   A@3 .APIeaseA@giveAmeAi nformationAifAyouAhaveAanyAres uitA@onA@youA@exam                                 na
   tionA@withA@thisA@Ms .A@Sh nA@case


   AThankAyouAAsestAregards
     Chol     WonHyang



              cc   Choi Won-Hyung

   ocXuflneA                 wwvthani.co.kr


                   01190453575
   LflfiLce        circle@hani.co.kr

   ficEo           afldefy.egloos.com

              biog.hani.co.kr/alldefy




printed   for Gila     Reinstein      gi1a.reinstein@ya1e.edu




                                                                                                    YALE00000SO
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          EXHIBIT                             133
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  4f         7/20/07      232    PM       -0400    Re   Question from Korea

  To                      circfe@hani.co.kr
  From        Gila    Reinstein   gila.reinsteinyale.edu
  Subject          Re     Question from Korea
  Cc
  6cc


 Dear Choi            WonHyung

 After         careful      search         in    the records           of the Registrar                of Yale University and                 the History of
 Art    Department              it   is   clear    that Jeong           Ah     Shin     was never              student         at   Yale Yale has no
 record of her at all


 Neither          Pam     Schirmeister            nor any other Yale                  official        signed   documents               affirming that          she

 earned            degree        The phone            and        fax     numbers on              the false      documents                  are correct        but
 that     information           is   public       knowledge               If   Yale    had received               request           to confirm         that   Shin

 earned            degree from the Graduate                            School         Yale   would         have        responded            that she     did

 not


 The documents                 Shin       supplied      are      clearly       false      the diploma             is   signed         by    Howard Lamar
 and     Sheila      Wellington            although         it   is    supposed           to have         been awarded                in 2005 Howard
 Lamar was president                      of Yale only           in    1992-93 and                Wellington           left    Yale    in 1993 The  fax
 that     supposedly came from Associate                                Dean Pamela                   Schirmeister            bears    no resemblance
 to   the   letter her office sends to confirm                                  degree           In    addition        the fax       misspells
 Schirmeister               among          other     errors


 Yale has          had no instance of                 faculty           member           documents so far as know
                                                                                        with      false

 Occasionally               student         will    apply for           admission and submit false documents The cases
 Im aware           of have      involved          U.S citizens


  hope       this    is   helpful


 Best regards
 Gila   Reinstein




  TO      YALE UNIVERSITY                 CILA    REINSTEIN           Assistant Director          of Public    Affairs


  FROM        The    Hankyoreh            W.H.Choi



  Dear      Cila   Reinstein



  A@IA@amA@veryA@pleasedA@toA@contactA@yo
  A@MyA@nameA@isA@Choi
  A@Won-HyungA@andA@IA@amA@workingA@forA@TheA@HankyorehA@whichA@isA@oneA@ofA@the
  A@progressiveA@pressA@inA@theA@Korea
  A@YouA@mig                                                                                          uestionA@fromA@theA@KoreanA@press
  A@regardingA@theA@certificationA@ofA@Ms.A@ShinA@Jeong-Ah
  A@IfA@allowedA@pleaseA@g                                                                                                                  uestions



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                                                                                                                                                         YALE       00000513
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110Th3    7/20/07       232    PM    -0400    Re      Question from Korea



   A@1.A@youA@haveA@confirniedA@thatA@Ms.A@Siin
   A@ieong-AhAdidAnorAtakeAtheAPh                                 DA@degreeA@ofA@YateA@Unive         rsftyAandAtheA@do
   curn entsA@forA@theA@certifi                cati   onA@we   reA@fats   ifiedA@i nA@theA@interviewA@withA@oneA@ofA@
   theA@KoreanA@pressA@thisA@week.A@CanA@IA@as                               kA@youA@toA@expiainA@theA@moreA@detait
   edA@groundsA@forA@yourA@confirmation


   A@2    .AAsAyouAmayAkn ow
   A@itA@I5A@oreA@ofA@ffieA@biggestA@issuesA@inA@KoreaA@thatA@Ms.A@ShinA@hadA@beenA@
   anAprofessorAwithAherAfatstfiedAcertificatio   .A@D0A@youA@haveA@anyA@casesA@simi      tar

   A@toA@thisA@Ms .A@Sh inAcaseA@inA@you rA@Un iversity
   A@-A@tfA@so
   AcanAyouAte tA@theA@nationat ityAofAtheApersonAwhoA@fatsiuiedA@th      eA@certification




   A@3 .APleaseAg              iveA@meA@i        -uformati   onA@ifA@youA@haveA@anyA@resu          ttAonAyouA@exarn        tm

  tionA@withA@thisA@Ms                    A@ShinA@cace


  AThankAyouAABestA@regards
     Chol   WonHyung


   /4-             ChoiWonHyung

  -rreA                       www.hani.co.kr

    ayf 4QJ
                  01190453575
  jJfiLce         circte@hani.cokr

  fIcEo           alldefy.egtoos.corn

                blog.hani.co.kr/alldefy




Printed   for    Gila   Reinstein         gi1a.reinstein@yaIe.edu




                                                                                                                      YALE00000514
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          EXHIBIT                             134
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                News                                               fakers    Print                                                                                                                                     1142
Yale   Daily                 Korea       battles      resume                                                                                             httpIIyaledailmews.com/artiCleSIPrintarticIeI2




               Yale Daily News

               Published               Wednesday               September               2007



               Korea                   battles               resume fakers

               By Thomas                Kaplan
               Staff    Reporter




               Shin Jeong-ah                  was     the    youngest        professor         at the          esteemed            Dongguk               University        in   Seoul     Boasting

               doctorate           from the History of Art department                                    at    Yale         she    was            rising star the          curator       of     celebrated

               South        Korean            art    museum         and     the                                          director       of one        of Southeast Asias largest                     art
                                                                                   newly-appointed
               exhibitions



               But Shin           it    turns       out never          attended Yale In Korea                                                      diplomas are currency                 for landing             top
                                                                                                                           prestigious

           jobs and               Shin has been               shunned           after the      University                confirmed            this       summer        that     her purported

               credentials             were     actually           fiction



               The scandal              did     not stop with Shin                   Her downfall               spurred             wave           of resume-checking                 across     the


               country        with leading                  artists scholars           and     celebrities               falling from grace                   almost daily as the authorities

               discovered              fabricated           credentials



           Shin        is   now         being investigated                  by Korean          prosecutors                 and     could face              time in prison         for    forgery
           Yale spokeswoman                            Gila        Reinstein         said    the    University              has no           record        of Shin ever attending                the


           University



           Though disgraced                              Korean press Shin doggedly
                                                     in the                             maintained                                                 her    innocence           She reportedly              said

           she was coming                       to   America to visit Yale and prove the legitimacy                                                 of her diploma but has since

           disappeared   according      Korean newspapers Shin 35 referenced
                                                              to               2005 fax transmission

           purportedly from  an  associate  dean of Yales Graduate School Pamela Schirrneister which said Shin
           enrolled           in       the    Graduate         School        at    Yale in August                   1996     and        graduated with                  doctorate        in    2005


                  certainly             did    receive                        from        Yale which                                    by the document                  Dongguk         received          from
                                                                   degree                                           is
                                                                                                                         proven
           Yale in           2005             Shin told Seouls               Chosun          Ilbo    daily          newspaper                in    July promising             to take     legal action            to


           stop        the    conspiracy                    regarding her degree


                                                                     said    the                   facsimile             was      not    in       the typical       format       used by
                 University              spokesperson                                aileged

           Schirmeister                  to    confirm        the     alumni degrees               and        did    not    even        spell the          deans       name correctly


           Meanwhile                    the     degree        Shin presented as her                  own has                 flagrant         errors           Reinstein        said Although              it




           was dated 2005                       the    ycar        Shin claimed to have                   received her doctorate                             the    signature       on   the   diploma

           was      that      of former              president         Howard Lamar who                             left   office       in    1993         Rcinstein        said



           Shins            credentials              were     first    called      into     question by                    member of Dongguks                         board      of directors          who

           brought           it   to    the     attention          of the media




 nfl                                                                                                                                                                                                2121    uJO9        AM


                                                                                                                                                                                                 DONGGUK0001              328
                   Case 3:08-cv-00441-TLM Document 257-7 Filed 08/04/11 Page 118 of 190                                                                                                              142
YalDaily    News         Korea    battles   resume     takers        Print                                                       http//yaledailynews.comIartiCIe5/PrifltartiCle/2




           Since the scandal surfaced                      in                      other      South     Korean        stars    have      fallen        prominent             singer-
                                                                July many
                                                                                                                                                    from George              Mason
           songwriter had            his radio       and        television       gigs cancelled          after his       supposed        degree

           University           was proved       false          An    architect       claimed to have              fme        arts   degree    from        college
                                                                                                                                                                         in   Los

           Angeles        that    has no fine arts department                      An     eminent        monk who             presided over            250000-member

           temple acknowledged                  that     he too          had     faked       his college        degree


           And     the    actress     Yoon Suk-hwa who                         has been       called    South     Koreas Meryl                             admitted that            her
                                                                                                                                              Streep

           30-year       claim that         she had graduated from                                          womens             college     was       lie   that    she had
                                                                                          prestigious

           devised to help her career



           And     help    it   did In South           Korea          experts      say academic            credentials          are   seen as        gauge        of an adults

                          person and affect
           worth    as                                          his or   her chances           at    everything       from fmding              spouse       to    landing        top

           job in   business  or academia                       Since    the    Shin scandal           South      Korean        authorities       have     vowed        to    crack

           down on        fake     credentials and                lawmakers           have     proposed         legislation      that    would      create         system for

           verifing        academic          degrees


           Before we             struggled      more with fake luxury goods Moon Moo-il                                               Korean prosecutor heading                       the


           crackdown            on forged diplomas                   told    The   New        York Times          Now          that   we   have      entered the

           knowledge-based                  society     we       have    to    deal    with an overflow            of fake       knowledge

           Shin also claimed to have                   received          bachelors           and     masters                    from the       University          of Kansas          and
                                                                                                                   degree

           though         KU      spokesman          said       Shin did        attend    the       university    for    at    least three     years       she did not receive

                  degree         Meanwhile           the    disgraced professors                     doctoral     thesis      was found        to   have    been        plagiarized
           any
           from    one     submitted          to the    University             of Virginia      in the          SOs


           Shin could not be                located for         comment She reportedly                     left   Korea        for the     United States           in   mid-July

           but   her current         whereabouts                are unknown Reinstein                   said     she has not yet come               to Yale as promised




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 3tO           9/21/07      1124           AM     -0400      Re        Questions on Shin Jeong-ah scandal                          from Maeil Busi

 To i-rO pandora52Smk.co.kr
  From         Gila      Reinstein           gila.reinsteinyale.edu
 Subject          Re      Questions               on Shin          Jeongah            scandal from Maeil Business                             Newspaper               of

 Korea
 Cc tom.conroyyale.edu                                   helaine.klasky@yale.edu
 8cc


 Jeong Ah Shin was never enrolled                                       as          student       at Yale           University and           did    not attend

 classes or earn                      Ph.D        or any other                degree       from        this     university        Any document                  or

 statement purporting                         to      support           her claim         is   false     and was            not issued        by Yale University


 In    order to earn                   PhD degree from the Yale Graduate School                                               of Arts and               Sciences
 student         must       register      and attend the university full time for                                             minimum              of three years

 during        which time                  he or she must                be    in    residence          in   New Haven            Connecticut               Ms       Shin

 never registered                     at    Yale Her name does not appear                                      in    any records         maintained             by the
 Registrar         or by the Yale Graduate              School


 Ms       Shin    claims             she was            student          in   the     History of Art Department                         at    Yale and that
 Professor Christine Mehring was her advisor Professor Mehring                                                                    has    stated          that she

 never met or advised Ms Shin


 The      History of Art Department                               has    no record of jeong Ah Shin Furthermore                                            they      have
 no knowledge               or record of anyone                          named John               Tracy         or Tracy       John whom Ms                     Shin       says
 was her         broker               The Graduate                     School       has    never        dealt with           brokers           and the concept
 is    unknown           to the University


      doctoral        dissertation                must           be researched and                 written           by the person            who        submits          it

 doctoral        dissertation                must        be original            work       done        by the candidate                 for the         degree        Yale
 does not permit                       tutor      to    write           dissertation              Dissertation work                is   closely          supervised            by
      Yale University                 professor             or     Yaleapproved committee of professors




      Dear Reinstein       and Conroy



  Hello        my name          is   Park    Sowoon              and    am      journalist        of   Maeil Business          Newspaper           in   Korea



  About two months                    ago       talked      with Reinstein           on the phone


  These days the scandal                     of      Shin   jeongah           who     allegedly        faked        her Yale diploma to        become           professor

          graces the
  still                     headlines           of    newspapers


  Therefore           would be delighted                    if
                                                                 youRnstein and Conroy                        let    me know     whether the fax sent                in   Sep
  2005 was         really   sent at Yale              or not



  In    case   of the     fax        wasnt sent by Yale does Yale think there                                are     some    possiblities      that      there was



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                                                                                                                                                                  YALE         000005
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 WO             9/21/07       1124         AM        -0400          Re   Questions on Shin Jeong-ah scandal                         from Maeil Busi

    broker       who        forged       the    bogus diploma


   As     all   of   us    know         Yale    is    such          toptier      university     Thats why          lot   of Korean        readers   wonder        Is   this

    the     first    case    of    fake        diploma          Were there any           similar   scandals    before


   About two months                              Reinstein                        me          Yale was                                           actions     toward     Shin
                                         ago                         said   to         that              considering            taking   legal

   Jeongah             So Does            Yale       still   plan to     sue     her   Are there any ways to             deal    with    the scandal       What   could

   be     the option          for tackling             this    issue


   Although           your        schedules           are     really   tight     pls   spend   some   time    to   make Korean            readers    check     Yales

   response           to    the    case


   Ill   look forward             to     receiving           your   replies      soon


   Thanks            Have         nice    day..




   With     best wishes                Sowoon



   Park Sowoon
   Social       affairs      desk
   Maeil        Business          Newspaper

   pandora525cmk.co                       kr




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                                                                                                                                                             YALE00000568
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                      Il
           Case 3:08-cv-00441-TLM Document 257-7 Filed 08/04/11 Page 123 of 190


 Vfwi      9/21/07       1129   AM    -0400 Statement            from Yale University

 To
 From
         V-             circle@hani.co.kr
                      Reinstein
            Gila                     gila.reinsteinyaIe.edu
 Subject         Statement from Yale University
 Cc      helaine.klaskyyale.edu                    tom.conroy@yale.edu
 8cc


 Because         the story      of   Ms     Jeong Ah Shin continues                  to     appear       in   the    news        Yale University

 has     issued the following               statement


 Jeong Ah Shin was                never     enrolled as          student       at Yale           University and            did     not attend

 classes or earn              Ph.D     or any other            degree     from       this university            Any document                or

 statement            purporting      to    support     her claim       is   false    and was not issued by Yale University


 In    order     to   earn      PhD degree from                the Yale      Graduate            School       of Arts and          Sciences
 student         must    register     and attend the university                full       time     for        minimum            of three   years
 during     which time          he or she       must      be    in   residence        in    New Haven            Connecticut            Ms       Shin

 never     registered at          Yale Her name does                  not appear            in    any records            maintained by the

 Registrar        or by the Yale            Graduate      School


 Ms     Shin claims          she was         student      in    the History of Art Department                            at   Yale and      that

 Professor           Christine Mehring          was her advisor Professor                        Mehring        has       stated     that she

 never     met or advised            Ms      Shin


 Tile    History of Art Department                  has    no record        Ah Shin Furthermore they have
                                                                             of Jeong

 no knowledge             or record         of anyone      named John Tracy or Tracy John whom Ms Shin says
 was her broker The Graduate                          School         has never dealt with                 brokers              and the concept
 is unknown to the University



      doctoral        dissertation    must be researched and written by the person who submits it
 doctoral        dissertation        must be original work done by the candidate for the degree Yale

 does not permit                tutor to write            dissertation         Dissertation work                    is   closely     supervised         by
      Yale University professor               or      Yaleapproved committee                         of professors




  TO      YALE UNIVERSITY            GILA    REINSTEIN     Assistant      Director     of   Public   Affairs


  FROM         The    Hankyoreh      w.H.Choi



  Dear    Gila    Reinstein



  A@IA@amA@verYA@pI easedA@toA@contactA@yo
  A@MyA@nameA@isA@Choi
  A@wonHyungA@an dA@IA@amA@worki ngAforATheAHan kyorehAwh ichA@i sA@oneA@ofA@the
  AprogressiveA@pressA@inA@theA@Korea
  AYouA@mightA@beA@tiredA@ofA@theA@ceaseIessAquestionA@fromA@theA@KoreanApress
  AregardingA@theA@certificationA@ofA@M                              s.AShinAjeong-Ah
  A@IfA@allowedA@pleaseA@g




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                                                                                                                                                 YALE0000059
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          9/21/07    1129   AN      -0400 Statement   from Yale University

   A@i  .A@YouA@haveA@confirmedA@thatA@Ms.A@shin
   A@jeo ngAhAd idA@notA@takeA@theA@Ph                  .OAdeg   reeA@ofA@YaIeA@Un    we rsityA@an dA@theA@do
   cunientsA@forA@theA@certificatfonA@wereA@fafsjffeciA@jnA@theA@irizerviewA@withA@oneA@ofA@
   theA@KoreanA@pressA@tfijsA@week.A@CanA@IA@askA@youA@toA@explainA@theA@moreA@detaii
   edAg       roundsA@forA@yourA@confirmation


   A@2 .A@AsA@youA@mayA@know
   A@itA@ISA@oneA@ofA@theA@biggestA@issuesA@inA@KoreaA@thatA@Ms.A@ShinA@hadA@beenA@
   anAprofe ssorA@withA@herA@falsifiedA@certfication.A@DOA@youA@haveA@anyA@casesA@si                        milar

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                         www.haffl.co.kr

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  LdllfiLcr     circle@hani.co.kr
                altdefy.egloos.com
              biog.hanLco.kr/alfdefy




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 arche442        9/21/07    1131      AM -0400         Statement from Yale University

  To arche442                   arche442@hanmaii.net
  From       Gila   Reinstein       gila.reinsteinyale.edu
 Subject         Statement        from Yale University
 Cc
  Bcc


 Because         the story       of   Ms     Jeong Ah Shin continues                       to   appear      in   the    news           Yale University
 has      issued the following               tatement


 Jeong Ah Shin was never enrolled as                                    student      at Yale       University and                did    not attend

 classes or earn                 Ph.D     or any other            degree from          this university             Any document                   or

 statement          purporting          to   support     her claim            is   false    and was         not issued by Yale                  University


 In    order       PhD degree from the Yale Graduate School
                 to earn                                                                                         of Arts and             Sciences
 student must register and attend the university full time for                                                   minimum               of three years

 during      which      time      he or she       must be          in    residence         in   New Haven           Connecticut                 Ms     Shin

 never               Yale Her name does not appear
           registered at                                                                        in   any records             maintained by the
 Registrar or by the Yale Graduate School


 Ms     Shin claimsshe was                     student       in   the History of Art Department                             at    Yale and        that

 Professor    Christine  Mehring was her advisor Professor Mehring                                                 has       stated          that she

 never     met or advised Ms Shin


 The     History of Art Department                     has    no record of Jeong Ah Shin Furthermore                                           they have

 no knowledge              or record of anyone                named John             Tracy       or Tracy        John whom Ms                    Shin says

 was      her    broker The              Graduate       School          has    never       dealt     with    brokers               and the concept
 is   unknown        to the University



      doctoral      dissertation         must     be researched                and written by the person                          who        submits     it

 doctoral        dissertation         must     be original          work done              by the candidate                 for the      degree         Yale

 does not permit                 tutor    to   write         dissertation            Dissertation work                 is   closely          supervised        by
      Yale University professor                 or      Yaleapproved committee                          of professors




       arche442  arche442@hanmail.net
        XOriginatingIP
        From arche442  arche442@hanmail.net
        Organization
        To      gila.reinsteinyaIe.edu
        Subject      Dear Pamla schirmeister                       from        Buddhist          Weekly          Newspaper              in    korea
        Date      Fri      20   Jul   2007      194736 0900 K5T
        X-KM-UT 7nMGvruaAnnB1GCCY8YJIOrB6EdW92yowGOsRZzGSs
        XHanmailAttr
        XATTFILESIZE


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                                                                                                                                                     YALE00000S73
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arche442          9/21107        1131         AM -0400                     Statement         from Yale University

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      http//www.yaJe.edu/emaiI/spam/content.htmJ
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            margintopOpx
                                                               Dear    Pamla schirmeister




          am Yu Eungoh                   on        the    staff       of    Buddhist        Weekly Newspaper


          write    to    you who              is    an    utter       stranger for           me       in   order to             find   out   details     of the         alleged    forgery of
      academic            degrees          by Dongguk                      University       assistant        professor Shin Jeong-ah


      Recently Korean                   society           is
                                                               very        unrest    with the         case       of   Shin please take time                      to     answer     my
      questions


      Ms     Shin       Jeongah    was specially employed as professor for Dongguk  University  on September
      2005         At that   time Shin submitted documents with your signature on them as      ground for
      doctorate           from Yale University The documents are incorrect with wrong characters of Pamla
      schirmeistr              for   your          name          Later        as     rumor       that       Shin forged                her academic            degrees  spread
      Dongguk            University             Economics                  professor Ahn          Gyeong-taek                     who was        in   charge       of appointment

      mailed an           official       document                which            asked confirmation                  to    Yale University School                    of Arts     on

      September                 and     you         confirmed               the    degrees       on    September                 22

     As     the    allegation           of    Shins            forgery of academic                    degrees          persisted with time                     Dongguk    University

      director          Rev Jangyun                 asked        Shin to submit              her doctoral thesis                       and she        presented      Guillaume
     Apollinaire              Catalyst             for   Primitivism               For Picabia         and       Duchamp                 as her       own      thesis     for     doctorate
     The     thesis       also       had
                                       your signature                              However the              investigation               revealed       .that    the     thesis    was    identical

     with that           of University   of Virginia in                            1981 which              led   to    the       increase     in      suspicion         therefore       this

     journal        interviewed               Seoul            National        University        professor jang                   jinseong who                 got       doctorate       from
     Yale     University              revealing            that       Shins        thesis    was against               the       rules    of Yale University in many ways As
     the    case        progressed                 another            newspaper             publishing                                 reported  that Shin failed to get even
                                                                                                                 company
      bachelors           or    masters              degree


     Now      Korean           people         are        so curious           about       the    process         of Shins              forging         doctorate          so     will   ask you

     few     questions            as    follows


     Ac Did you               send     documents                 confirming              Shins    doctorate                to   the Sungkok           Art      Museum       on    May 27
     2005 And             did     you      sign          them

     Ac Did you               send     documents                 confirming              Shins    doctorate            by facsimile           on September                22 2005

     Ac Have            you    ever     signed            Shins        thesis


     Ac Does            the    place       you       worked           at     as    of September             2005       have            telephone        number           of 203-436-2623

     and          fax    number         of      2034326904

     Ac Are you               acquainted             with        Ms        Shin


     Even     if
                   you     feel      annoyed              at
                                                           answering   my questions please make sincere replies for this journal
     that    makes            efforts      to       inquire  into the truth of this case and Korean people who want to know the
     truth




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                                                                                                                                                                                         YALE00000574
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 arche442        9/21/07    1131    AM    -0400 Statement     from Yale University




                    arche442



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   Pamela        Schirmeister
   Associate         Dean
   The Graduate             School

   Yale University


   P.O     Box 208236
   New      Haven          CT 065 20-8236
   2034329098

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           Li
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            Chosunilbo English                                                             News                                       About          Korea                      Page   of
Digital                                                     Edition              Daily                       in    English




 OKTALO4oSuN

 The Chosun iWo


   Biennale              Art       Director Accused                         of    Phony Credentials

   Koreas          art   community              is    in    chaos      as evidence               has        emerged           that      suggests              Dongguk

    University         Assistant           Professor Shin                  Jeong-ah         35             may have            lied    about         her

   educational             background                and     theses Shin             is   the     art director            of     next years               Gwangju

   Biennale




   Amid      suspicions about                     her       doctoral       art    degree         from Yale              University                 Dongguk

    asked    for      confirmation             from Yale             in   the    name       of    university             dean Oh Young-kyo

    Dongguk           official      said      He      said       the school         received                 response            from Yale               in   the

    name     of    President              Richard           charles        Levin    stating           that       Shins        degree          is   fake and              that


   she    was never               registered           as        student there




   Suspicions              have      been growing                since      last   Wednesday                     when         Shin     was appointed                      the


   biennales           art    director Biennale                     officials      have     made             no    official      statement               yet        but


   have     shown                 document backing                   Shins        claims         --         faxed       response              from Yale             to


    Dongguk           inquiry        in   Sept 2005



   In   the fax        Pamela Schirmeister                          associate           dean          of    Yale       Graduate              School           confirms

   that   Shin entered                Yales          art history          department             in    Aug 1996               and      graduated               in    May

   2005     with           doctoral         degree          in   art      Dongguk         said         at        Wednesday                   news conference

   that   Yale        has agreed              to look        into    the   fax     and     that        Dongguk            would         also       investigate




   In     telephone               interview          with    the    Chosun          Ilbo    Tuesday                    Shin    currently            on

   business         trip     in    Europe         said            certainly        did    receive                 degree        from Yale which                      is




   proven        by    the       document Dongguk                      received           from Yale               in   2005           will    make

   statement           and        take    legal       action      as soon          as      return           to   Seoul




   un     http//english.chosun.com/w21data/html1news/200707/2007071                                                                          20008.html




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             Case 3:08-cv-00441-TLM Document 257-7 Filed 08/04/11 Page 131 of 190

  Digital         Chosunilbo                    English Edition                                            Daily                 News               in     English                   About Korea                                                                       Page                     ofl




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    Biziie                                                                                                                                                                                                                      Mtss          Korea      Accepted             by     MIT


    Cullurtilspott                         Biennale                      Art Director                           Accused                          of     Phony Credentials                                                       hom         Jong-it      In   BattlIng        ChIna


                                                                                                                                                                                                                                     Pledge

    Editorials

                                           Koreas            art        community              is    in    chaos            as                                                                                                  SHowto            Take          Winning             Picture


    Col.trgn                                                                                                                                                                                                                         for   Your    Resume
                                           evidence               has     emerged              that
                                                                                                           suggests

                                           Dongguk                Uhiversity              Assistant              Professor                                                                                                                        fled        Man            the     Haute
                                                                                                                                                                                                                                     Koreas                           on

                                           Shin Jeong-ah                       35      may have                  lied           about
                                           her educational                                                  and theses
                                                                                background

                                           Shin       is    the     art       director of next                   years
                                                                                                                                                                                                                                 Korea             Desert           tstasd     In    the
                                           Gwangju               Biennale
                                                                                                                                                                                                                                 Gtobatlzed        World

                                           Amid            suspicions               about           her doctoral                  art                                                                                            Experts      DivIded         Over         Mercury         in



                                           degree           from        Yale                                                                                                                                                    Tuna
                                                                                     University                 Dongguk
                                           asked           for    confirmation               from          Yale            in    the
                                                                                                                                                                                                                                Na    Noon-a        arid      the     Poston         of
                                           name        of    university               dean      Oh Young-kyo
                                                                                                                                                                                                                                 Celebrity        Rumor
                                                Dongguk                official      said       He said the
                                           school          received                  response              from            Yale        in


                                           the    name            of    President            Richard              charles

                                           Levin       stating           that       Shins                                   fake
                                                                                                    degree            is



                                           and     that      she        was         never       registered                      as
                                           student          there

                                                                                                                                                 Dongguk          University         Asststant            Professo

                                           Suspicions                  have been             growing              since              last        shin     Jeong        ah

                                           Wednesday                    when         Shin      was         appointed

                                           the    biennales                   art   director           Bienuple                  officials            have made no                   official        statement

                                           yet    but       have shown                      document                       backing             Shins           claims                faxed         response
                                           from       Yale        to          Dongguk               inquiry       in        Sept          2005


                                           In   the    fax         Pamela            Schirmeister                      associate                 dean          of Yale         Graduate School
                                           confirms          that        Shin        entered           Yales                art      history          department               in    Aug        1996 and

                                           graduated               In   May 2005               with              doctoral               degree           in    art      Dongguk              said at

                                           Weinesday                    news         conference                  that Yale                has       agreed         to       look     into    the fax         and         that

                                           Dongguk               would          also      investigate



                                           In      telephone                  interview             with        the    chosun                Ilbo       Tuesday               Shin      currently            on
                                           business              trip    in    Europe           said              certainly                 did receive                   degree            from          Yale   which
                                           is   proven           by the         document                  Dongguk                    received           from      Yale      2005
                                                                                                                                                                               in                    will    make
                                           statement               and        take     legal        action            as        soon        as        retum        to    Seoul


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    Art luminary forged her academic credentials

                                                                                                                                              July   12 2007




    Shin Jeong-ah                  well    known         art   history professor        at    Dongguk
    University            is   one of the countrys better known                       art    curators

    and experts

          rising star      in    her field Shin           35 was       about to add another

    title    to her impressive                resume      on July        when     she was       named
    the     artistic      co-director         of the     2008 Gwangju Biennale                  Koreas

    biggest        arts   event

    The      official     announcement             was     slated for        Monday
    Only one problem Shin has just been caught                                   falsifying      her

    academic           records including               her claim to hold              doctorate
                                                                                                               Shin Jeong-ah

    from Yale University                   and two       degrees      from the University           of

    Kansas

   Lee Sang-il             Dongguks dean               of academic           affairs held        press conference              yesterday        on

   campus           Yale        University       notified us that            Shin has never       registered         with the      school        let


   alone      received            doctoral      degree
   The      University           of Kansas      told     Yonhap        yesterday      that    Shin attended          the school        from 1992

   to     1996 but did not graduate
   The      university          will   take    stern measures           against       Shins fraud Lee said               It will   also try to

   prevent the same thing from happening                                 again
   Shin      is   not only         professor but she also oversees                     one of the countys             best     known museums

   As     chief curator           of the      Sungkok      Art       Museum      in   central Seoul       Shin has hosted several

   major exhibitions                   including         John Burningham 40th                   anniversary          exhibition        last
                                                                                                                                              year      and

      current        show by American photographer                            William       Wegman
   She would be the youngest                       art    director     of the    Gwangju Biennale               if   her appointment                 goes

   through

   The Gwangju                 event    organizers         however           plan to hold        press conference              today to revoke

   their initial decision


   Shin who has been                    in Paris since         suspicion       over her background               surfaced       last   week          plans

   to return        to Korea on Friday                 according        to     source       close to    her

   The      suspicion          over    her academic            credentials      surfaced        when an       official    at   Dongguk
                        told                  the school        had received                  that Shin forged           her academic            records
   University                   Yonhap                                                 tip

   and submitted                  fake doctoral          dissertation         when she        applied    to   become           professor         in


   2005




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                              Daily




   She claimed to have received                   Ph.D from          Yale in      2005 and bachelors and masters
   degrees      from the University             of Kansas before           that

  The    school    said       it   belatedly   found out that her dissertation                about French poet Gufflaume

  Apollinaire      is   almost identical to              previously        published     work by someone                 else


  Jang Jin-sung                 Seoul National         University        professor   who graduated from                  the Department

  of Art History         at    Yale in   2004     told reporters          Monday       that Shin did not go to Yale

  Shin has denied the allegations

   If    lied   about     my academic           records     it   would have been checked                 when        the university            was

  deciding      to hire       me she       told the     JoongAng          Ilbo   Monday from       Paris


  According       to    Dongguks          Lee   the school        did not verify Shins bachelors                     and masters

  degrees       when she was hired He                  said the    school    received         positive     response           at   the    time

  from Yale but he did not elaborate                      on what that meant

  Around 700000                    people visited the zoo6 Gwangju Biennale




  By Moon Gwang-lip                  Staff Writer/      Kwon Ho JoongMig               Ilbo



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Herald Business



Fake Degree             .. Fabricated          dissertation..             Severe moral hazard for the                       artistic     community


Cries of international                 humiliation              .. Verification            system needed




           What             on Earth    is   going in on          in   Korea          That was the bewildered                      reaction      of Yales Gila

Reinstein        as telephone          calls   and emails              flooded      into    the public       affairs    office at Yale University                       in


the United           States      checking whether Professor                      Jeong-Ah        had received                    doctorate



           It    looks       like   were     just   creating            general      uproar     in    order to belatedly                verify    the doctorate


of    young          female professor


           This       applies to the Korean                arts    and culture and educational                       communities             as well



           With        virtually no verification                  channels          or ones so       weak     that    they might as well                 not       exist


fakery    like       this   runs    unchecked        in    the arts and culture              community


           An        even bigger        problem       is   that    if   someone        is   famous          nearly    all    universities          as    well      as


institutions         and groups         line   up    to    get that      influential        person      and verification takes                     back        seat



           Under         these      conditions       in    the current state           of the    cultural       community even when

problems         are raised over             someone       forging            degree        fabricating         dissertation             and brazenly              using

someone elses               plans     and writings             after     month       or two     they    can once again go around with                               their


head held high



           Dongguk            University       has    explained           that      many      of the procedures                  were    omitted        in   order to


acquire    an     experienced           and capable            talent



           But the          failure    even    to   verify the diploma                Ph.D           which     is    absolutely          required shows

the true        lax condition          of Koreas          colleges       of   art   and music



           It   is   difficult      for someone           at      foreign     university        not    to    snicker        at   this
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        The   artistic   community    that   has    been    hit   by    this   fake   degree    incident   cannot   hide    its



shock



        Between     the rough time over corruption                in the awards        at   the Korean     Fine   Arts   Festival


and the fake doctorate     incident   many         lament   that   who         would    trust   the artistic   community under

these conditions



        There has been       surge    of   calls   for   an end    to   the endemic          practice of hurriedly offering


important   posts   and high honors based on prestigious                  academic          background     and connections
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Fusion Power          Herald Business                  the peoples journal                    of culture and economy                           Page     2/2




              professor         at    Dongguk          University     said           There were warnings about Jeong-Ah                               Shins

forged     degree


           There were rumors going around                           in    the artistic           community             prior to her hiring         in    2005

and so the majority             of faculty          were     concerned          and opposed               her hiring



           But now         that      this    has    happened        we    can only be              ashamed


           In the artistic           community             indifference         to   ethics extends             from recent          cases     in which


someone      is   hired    by         university        without     having acquired                       degree then discovered                 and driven

out of the university                to   cases     of international        humiliation              in   which         famous         foreign   critics


writings    were    copied           and used without             authorization



           In particular          since          Professor    Shin herself had often strongly                          criticized       this   endemic

practice    one    feels        sense        of betrayal       in this    case



           Accordingly            this      is   now   the time for the artistic                  community            to    require    verification          of

every rumor of        fakery

           In other   words                verification       system needs              to    be put      in   place    to    make     the fakery       of

personnel     qualifications               dissertations       and plans             impossible           Concerns           are also being raised about

the turmoil       caused by ignoring                 the internal     disagreements and chatter                             that   always spread prior             to



  large international             event      like    the   Gwangju        Biennale



Yeong-Ran         Lee yrleeheraldm.com



7/12/2007



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                                  CERTIFICATE OF TRANSLATION




               Samuel Henderson                  hereby   certify      that      am   competent       in   both the
Korean and English languages                        and   that        translated      DONGGUK0002001-02
from the Korean language into                      the English        language
              further       certify     that    translation      of    DONGGUK0002001-02                   from   the

Korean language               into the English language               is   accurate   and   correct    to the     best

of   my      knowledge       and proficiency




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Subscribed    and   sworn   to before   me   on ____________   day
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 Kyu Hyun Lee reporter kyuhchosun.com
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 The     Fake             Doctor            Scandal            for    the Cinderella of the Art World



 The     whole            art    world           was thrown             into    confusion               as    conclusive             testimonies              supporting                the

 forgery        of the educational                      background             and    thesis       by Jeong             Ah    Shin        an    Assistant           Professor               at


 Dongguk             University             Chief         Curator        at   Sungkok Art               Museum                who was            recently           appointed             as

 the Co-director                  for the         Gwangju Biennale 2008                            continues            to    unfold             Sang        Ii
                                                                                                                                                                   Lee Head                 of

 the Office           of Academic                 Affairs       at    Dongguk         University              held                    conference              on        the    11th     and
                                                                                                                             press

 stated       that       in     response          to     the request          for    confirmation sent to Yale                            in    the    name of Dongguk
 University              President           Oh     Young-kyo            on     account          of the doubts about                       Shins           Yale doctorate                   in

 Art    History            we     received           confirmation              via    e-mail        from       Yale University                   President              Richard

 Levin that Shins                      doctorate          has    been        forged     and      there       is   no record           of her having                 enrolled           as

 student       at    Yale

 Chosun         Ilbo       also       confirmed            through telephone                  and       e-mail         on    July     l0t with Gila Reinstein                               at


 Yale    Universitys Office                         of Public         Affairs that          no      student            by    the   name of Jeong          Ah Shin                      ever
 enrolled           in    any      courses           or    obtained              doctorate           degree            from        Yale              Yonhap News                       also

 reported           on July                  that       both     the    University            of Kansas                and    Kansas           State    University from
 which        Shin allegedly                  graduated              from      confirmed            that      no       student        by the          name of Jeong Ah
 Shin ever           graduated with                      bachelors            masters         or    doctors            degree       from either university



 After       working            as the       Chief Curator              at    Kumho Museum                        of Art      1997-2001                     Shin        is   currently

 the   Chief Curator                   at   Sungkok            Art    Museum           and       drew        attention         with       such        exhibitions              of   first-


 class       foreign           artists      as    Atelier            Adamson-David                  Adamson                 and     His     Friends               Chuck           Close
 Robert Rauschenberg                              Jim     Dine         etc     2005              and         40th        Anniversary                 Exhibition               of John

 Bumingham                 2006              the     world-renowned                  childrens storybook                          writer         She         also       served as

 member of               the    recommendation                   committee             at   the     National            Museum             of Contemporary                        Art in

 2006 and            became            the talk         of the town           when      she      was appointed                    the Director              for the          Gwangju
Biennale            the    youngest              ever     to   serve    in the       posilion


In    this    regard            the     Gwangju            Biennale stated              we         will      clarif          our position              on     Professor                Shin

                     press conference                                                  of July                     and                     whether
                                                          in   the                                                           decide                          to                     alone
through                                                                morning                                                                                      go       on
with     one         of the co-directors                       Okwui          Enwezor            U.S              or    whether        to       select             new         Korean

director        at       the    committee                meeting        scheduled           to     be    held          on    the     18th        which             suggests            that

Professor           Shin would               in   fact    be dismissed from the directorship



The      suspicion              surrounding               Professor           Shins academic                   degrees            was introduced                    in       full-scale

since        July              when         she     was appointed               the    artistic         director            for    Gwangju             Biennale                   In    the

meantime              Dongguk               University           and      Gwangju             Biennale            presented          the document                        from       Yale

University               confirming the                   doctorate           degree        of     Professor             Shin        but        reserved                       official
                                                                                                                                                                    any
comment                  This      document                shows        Yale        Universitys               facsimile             answer            to    the     request             for

confirmation               in   September               2005     at    the    time of Dongguk                  Universitys                recruitment of Professor

Shin          In     the       document              Pamela           Schirmeister               Associate             Dean         affirms           that        the    fact       that

Jeong Ah Shin                    enrolled           in the     Art History Department                         in       August        1996       and        graduated with
doctorate           degree        in    May 2005               was     issued    by     the    Yale Graduate                  School           and    signed by               me




                                                                                                                                                                                                 YALE000007S3
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Byung         Ho    Kim         of the Office               of Administration at Dongguk                                            University              stated       that         do    not

know       what         happened              because           the staff          personnel             at    Dongguk                University               sent      the    request     by
mail and           received          the       response               through            facsimile            directly              from          Yale University                     At    the


press      conference             held         on    July         11th       Dongguk                University                 stated         that        Yale        University           will

begin        an    investigation               about           this     document                and       so       will        we                 Chosun          ilbo     attempted         to

contact       Pamela          Schirmeister the Associate Dean                                        who        signed             the    document                through telephone
and    e-mail but was informed                             that       she    would be absent                        until          July      16th


Professor          Shin who              is   currently           in    Europe           on business                stated           through the telephone                       interview

conducted          with Chosun Ilbo on July                                 10th    that       it   is   true      that            received               doctorate         degree     from

Yale         The document                     Dongguk            University               received            in   2005            affirms         this     and       will      provide     an

explanation             and   take       legal measures                     as    soon     as       return                    If   Professor          Shins         schooling          in the

U.S     is    finally         confirmed             to     be     false           the    documents                 submitted                 to    Dongguk            University           and

Gwangju Biennale                      Schirmeisters fax                           allegedly          sent      from           Yale in 2005                  as well         as the    thesis

allegedly         written       by    her      would            all   turn       out to be          false                It    would         cause no            small shock           to the

academia           as    well       as    the       art    world                 Yeol      Choi          an     art      commentator                      said      that     she was
talented      curator         who became                   the        object        of envy          among            the          artists        already      at    the    age of mid
30s       This      is        great shock            to    the        art   world

Professor          Shin already                went through                       all    major       posts          in    the art world at 35



She    was              leading          curator          in     the        art    world        who           worked                as    the       chief      curator          for   major
museums                 professor and                     columnist              for      major daily newspaper                                   already      at   the     age of    35


She    was        trusted       in    the       respective              field           even    to       the       point           of serving             as         member           of the

recommendation                   committee                 at     the        National           Museum                   of        Contemporary                     Art        and    as    art

collection         advisor           for      major         groups                 She         was       touted          as        creative            talent        that       brought
whirlwind to the              art    world




                                                                                                                                                                                                  YALE00000754
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Accurate         Press and Fast                     News              Internet          Yonhap News                                                                      Page       1/2




            Yonhap News                                                                                                                                                  Print          Close




Suspicion             of Academic                   Record             Falsified           by Jeong Ah Shin                 Officially Presented                        at   Her

Appointment                 in 2005


Foundation             and School                   Did not verify based on unclear                                 reasons




            Seoul                 Yonhap            News               Reported by                 Hwa     Sop Tm and Eun Jin Tm                             Tt   was        revealed       that



suspicion         of her academic                        record            falsification           by   assistant        professor         Jeong        Ah        Shin       35        female

of Dongguk             University               was           presented              within     the school          at   least    twice including                   during          her


appointment             in 2005             and early                this        year

           Accordingly                         question               is    also being raised about                      whether the school                   identified the


suspicion         long ago but neglected                                   its   efforts     for    verification          or attempted            to    conceal              it



           Jong         Uk Lee who                       is   the chairman                  of faculty         association          in    Dongguk University

disclosed        on the           l3        day          When              the assistant           professor        was     appointed            in    2005        the professors


belonging         to    the college                 of    arts        presented            suspicion           of academic          record       falsification and


professor        Oh met               with then president Ki                               Sam Hong            and communicated                  details          of such

suspicion

           At the time according                                 to    the chairman                Lee     professors           of the college               of    arts      and the

graduate        school           of culture and                      arts    were certain           that       the academic              degree       that    Shin had claimed

to   have received                was       fake         and actively                 opposed        to   her appointment                  but    the school                 ignored      this


and enforced             the special appointment


           He         explained             Shin who was                            appointed           for the major of fine arts history                               was       placed       not

in   the college            of    arts   but        in the graduate                      school     of culture and arts and then                             she took              leave    of

absence         for         months          before             her affiliation               was changed            to    the    academy of             liberal          arts      education


because     of the opposition                        of the professors

           Further               in   the   226               board of directors                   meeting        for    the school         corporation                 Dongguk

University            held       on February 15 evidence data including                                             various           statements             and         list     of   articles


that   indicated            the       forged        doctorate                degree and plagiarized                      articles        of Jeong       Ah        Shin were

presented         but       they       were         also ignored                    by     the foundation           and school

           Tt    was        told that        director                Yoon Jang Buddhist                         name Yoon Jang who                            exposed             the


suspicion        at    the time said                     If     it    is         genuine academic                degree         Ill   take the responsibility


However           if   it   is    found        to    be          false           academic          degree the person involved in her hiring and the

president        Ki Sam               Hong          at    the        time          shall    not be exempted               from being responsible

           However                    the school              never even attempted                        to    obtain     additional            verification                and   let    the


time pass        for over                months               before          it   dismissed Jang from                   his    director     position              in    the 228th         board

of directors          meeting held                   on       May 29
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              According         to    the minutes      of the board of directors meeting               the case     of director Jangs

dismissal         presented          by the chairman of the board Yong Taik Tm Buddhist                           name Youngbae             was

passed by          all   the    directors                            for director      Jang
                                                 present    except

             The     current        president     Young Kyo Oh was              also attendant    as   director    and   cast   yes vote

for the case         of director        Jangs      dismissal


              As chairman of             the board     Tm   presented      the case    at   the time   he explained While           director


Jang had made              various       complaints        and appeals     to   the executive     department of       this   corporation


they   all    resulted in no suspicion                and he also stated falsehoods              concerning       acquisition   of an

academic          degree       by    assistant    professor    Shin   in   the 226th    board of directors meeting

             Academic          affairs     support     director   Sang     TI   Lee reported           number of     verification


methods           were used concerning              whether the doctorate           degree of     assistant   professor      Shin was      trne


or not       it   was determined           to    be without    any problems
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Accurate          Press and Fast                  News         Internet       Yonhap News                                                            Page          2/2




            However               it      means        that    although        highly     reliable     new     evidence           had emerged           the school


did not      even attempt                  to   obtain        any additional        verification            but     drove valid presentation                   of

suspicion         to         false     claim       to    enforce        dismissal       of     director       which has           attracted      attention          on     its



background

            According                to    the minutes of the meeting                        most of the           details    of discussion          and reports               at


the time relating to                   the dismissal             case    dealt with the suspicion                   of academic          record      falsification               by

assistant        professor            Shin which was                   presented        by   director       Jang

            That        is    why         such conjecture              that    director      Jang was dismissed as retaliation and the

question         about        why Dongguk                     University        did not      conduct verification properly                     even though

suspicion         had been presented                      repeatedly           have persisted          in   the circles       of academia              fine    arts

Buddhism etc

            In    response            to    the    above one            director     of Dongguk             University            who   attended        and voted              for


the unanimous                 approval           on the dismissal case                  disclosed          Director Jang will be asked                        to   be

totally     responsible              for causing              such problems          with those concerned                    in   the foundation             and school

based     on his complaint                      accusation             action     etc
            On     the other              and Jeong Ah Shin who had                           left for      Paris      France on the           5th   day      has        not

returned      as of this          morning               as she     was        originally scheduled                 and her name          is   not listed on the

reservation            sheet of the             flight    scheduled for            arrival     this   afternoon          either


            Shin talked               on the phone with Yonhap                          News        on the    8th
                                                                                                                     day and said               plan    to    return


home on          the    12th    day ahead of my schedule                                will express         my position           to   Kwangju         Biennale


after     return        on the morning                   of the    13th
                                                                              day
            As Shin has                resigned          from both the Sunggok Art Gallery                             and Dongguk              University           where

she     was employed                  there       is   also such        observation          that    she    left   the country          with the       intent       to    stay

overseas         for         long period




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END

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   Case 3:08-cv-00441-TLM Document 257-7 Filed 08/04/11 Page 151 of 190




                                CERTIFICATE OF TRANSLATION




              Kwang      Park      hereby        certi    that        am competent             in both            the        Korean       and

 English     languages       and     that        translated        DONGGUK000093                     1-32       from           the   Korean

 language      into the English           language
             further   certi       that     translation       of   DONGGUK000093                     1-32 from the                   Korean

 language      into    the   English         language         is   accurate    and      correct           to      the         best   of   my
knowledge        and proficiency




Kwang        Park
Professional        Translator




Subscribed   and sworn   to before    me    on      9-7             day of                  c9Oi/               year
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Signature    of Notary                                                         Notary Stamp
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          EXHIBIT                             143
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ONGGUK0O0O95


       Special Hiring            of      Western            Art History        Specialist        at      School           that    Teaches          Buddhist        Art

                                        Dongguk Universitys Peculiar                                 Professorial             Hiring




We     have verified            that   the signature on the degree                     is     fake




How     degrees       are verified       when       hiring    professors


YHiring process

     Public    notice      of professorial          hiring         Receipt of documents                       Examination           by department including

     presentation               Examination           by Hiring Conmiittee               in   school administration                     Interview             Hiring


YDegree        verification


     Inquiry to Korea Research                    Foundation             Verification         of whether            degree       has been          declared


     Inquiry to foreign           university              Final   verification       document/telephone/fax/etc

         Differs      slightly    from one          university     to   another


         Dongguk           University        claims to have        verified     by   fax


        No     inquiry      made       regarding      bachelors          masters       degrees




            How       could      Dongguk            University          Professor        Jeong-Ah         Shin whose                degree         has    turned     out

to   have been fabricated                    have passed through                   professorial         hiring          examination                Suspicions        are


mounting        around the process                   of   Ms      Shins       hiring     Some         are raising the possibility of financial


corruption           According          to    Dongguk University                   Ms       Shin requested               to    be hired       as   an    assistant



professor       in    September          2005        and submitted                 verification          of degree               Dongguk            University        sent


this   to   Yale and asked              if   it   was genuine                person associated                with Dongguk                  explained       on the

12th    that         confirmation             was    received        by      fax at the time           signed       by        the assistant         dean of the

Yale University              graduate         school        saying      it   was genuine                This       is   far    from the usual             academic

practice


            Ordinarily           when        verifying            degree the        first     question        is   whether             declaration          of degree

has been made              to   the Korea          Research        Foundation            KRF Subsequently                          an   official         request     is



sent directly         to    the foreign           college    by    the school          and the        final    verification            is    received

professor       at   Seoul National               University         who      requested         anonymity               said that      it    is




incomprehensible                that         document         prepared        by   the      applicant     would be sent                 to    the college       in



question       and         confirmation            received       by fax        At       the very least             the doctoral             transcript       would be

checked        and everything                would be done through                   official        documents
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              The manner by which                      the response              bearing         the signature of the assistant                   dean of the Yale

graduate        school     arrived        in   response          to    Dongguks                 inquiry      is   also suspicious         One        clue    to    this   is



the    doctoral       dissertation         submitted           by      Ms        Shin     to    Dongguk University The                    title      page of the

dissertation        is   signed      by Yale           University            professor           Christine         Mehring        whom Ms              Shin claimed

was     her adviser           The    reporting          team took                 photo of the portion                    containing     the signature and

asked Professor           Mebring           about       it
                                                             by email

              Professor        Mehring         sent the response                   that       Its     not   mine The            signature on the sheet you

sent    is   NOT mine               It
                                         appears        that    the signature                 may     have been forged

             The    process       of her special hiring                     is   also suspect            This       is   because       person was hired who

had     specialized       in    subjects       that     were unneeded                     ignoring          professors          opinions       Woo-Taek Jeong

then head of the department                        noted       that        professors objected                     that    in   the context       of      department

that    is   required    to    teach      Buddhist           art      it   was    unacceptable               to    hire Professor        Shin who            said she


had    specialized        in    Western          art   history Nonetheless                            Professor          Jeong claims the school                    pressed

ahead with         her   hiring

             Article     14    of Dongguk              Universitys               New          Staff Hiring          Regulations        states     that      the    specific


procedures          and methods            for    special hiring                 shall    be    set    forth separately by the President


Paragraph                 The     President            thus necessarily has                       strong          influence      Although         the hiring         and

degree verification processes                      were        uuill       of holes Venerable                     Jangyun who was              the   first    to   raise



suspicions       in   connection           with        Professor            Shin was            relieved          of his Trusteeship        in    May        Venerable

Jangyun        pointed        out that     the     granting            of leave           for       months         immediately         after    hiring       and her

subsequent rehiring and change                           of    affiliation           constitute          an extraordinary              favor    by     the


Foundation



Reporters       Ho Kwon             and Gi-Heon Kang

gnomonjoongang                    co .kr




  Curator           An   artistic        or scientific          researcher               in   the curatorial             office of     museum            or art gallery

who     undertake        activities        including           financial           management                relics       preservation     management

exhibition       plans    and execution                 and publicity                after       receiving               certain measure        of education              from

an    institution     of higher          learning
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                                  CERTIFICATE OF TRANSLATION




               Samuel Henderson                   hereby        certify       that            am      competent           in    both the
Korean         and     English languages                 and          that         translated               DONGGUK00009S1
from the Korean langnage                       into   the English            language
               further       certify      that        translation            of    DONGGUK00009S1                              from   the

Korean language               into the English            language            is   accurate           and       correct    to the best

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                                  hin     Jeongah 35                   was found                to      have       for


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             Th                   Shin     was appointed                  coart           director            of     the   2008    Gwangju        Biennale          earlier   th

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     Art world     shocked   over curator           forged degrees                 LII   01   hI                                                                                                           Page      of




                              is    month         earning        the    nickname                   the     art    worlds Cinderella                                            971KB

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                              The        biennale        foundation withdrew                         Shins appointment                       yesterday
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                              Dongguk             University       confirmed                   Wednesday                 that    Shins degrees                    bachelo
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                              rs degree             and     MBA        from the               University          of    Kansas          and         doctorate      from

                              ale University              School        of Arts                were      false
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                              Yale        University           answered            our        inquiry       today          confirming          that   Shins doctorat           2IEjCE            oELfl94          52II


                                    is   false    and     that    she     had never even                         registered           as     Yale     student       said
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                               It   has    also     been       revealed         that          Shin    did        not     graduate           from Kansas          University    Wz1          WIM                   24
                                                                                                                                                    Shin                       cauI          EEXE..        CFj oI-
                               although          she was           student there                     for    three        years             thesis           submitted

                                                                        in    2005 was found                       to     have        been    previously         published
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                                    Dongguk             University
                                                                                                                                                                               rz                1OELH     GOP
                               by Ekaterini             SamaltanouTsiakma



                                                    business                  in     Europe              claims         that    all   her    degrees       are   real    and
                               Shin on                                 trip


                               that      she     will    clear   suspicions and                      take        legal    action       as soon        as she      gets    ba

                               ck


                               We                           take   legal        action             against        Shin      as    soon       as she     returns     to Kor
                                          may even
                               ea         said    Han      Gapsu              director             general         of    Gwangju            Biennale     foundation

                               We         are debating           whether             to       go with            on       art    director      system      with    Okui En

                               wezor        or pick            new Korean                 director         and         keep      to   the    codirector          system
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                      over curators forged degrees                                                                                                                  Page   of




                       Han     flatly    denied        suspicions that the                   foundation might have                  accepted             bribe

                         from Shin



                       It would          be crazy       to    appoint Shin knowing                      that    she   had       falsified     everythin

                              he said



                       However            questions are being                   asked        as   to    why    neither      Dongguk           University

                       nor    the     foundation        verified         Shins        qualifications            more       carefully




                       Dongguk           University          had   not      asked      for       Shins academic              records         at   Yale    or

                       or proof         of her       doctorate        from the         Korea Research                 Foundation             reasoning

                       hat    it   was        special         employment               case



                       Shins colleagues                 had raised           suspicions much                   earlier     on    questioning             the

                       hort                 of time      in   which         she    had apparently               earned      the    three      degrees
                               length

                       nd     how     she     could     have       begun working                  as     curator      in   Korea       in     997 when
                        she    claimed          to   have     been admitted                 to   Yale   graduate         school      in     August         99




                        Dongguk          University          claims      that      they     had    at   the    time    received             confirmatio

                            fax from Yale




                        We         received          document          from Yale which                  said that        Shin    had      earned     her


                        octorate         with        high     grade          am     still    clueless     about       the    document              said        Ki
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                                                     degrees                                                                                                               Page




                             Byeongho              head      of     Dongguk                   Universitys               personnel         affairs    bureau



                       The     biennale          foundation              has       been        deflecting              blame onto          the     university        say

                       ing that       it   had    appointed              Shin       without           reservations                   as Dongguk          had    recom

                       mended           her   as         promising               art     expert



                       The Gwangju               Biennale         has            been         growing           into    one      of the    largest        art   festival


                          in   Asia        The   first    biennale               was       held      in   the       southwestern            city    in    1995      draw

                        ing over           million       visitors         from          all   over    the       world



                       Shin     is   also     currently      curator               at    the     Sungkok               Art    Museum        prior        to which     sh

                          had successfully                 organized               exhibitions               by renowned                artists including             Da

                       vid     Adamson            Chuck Close and Robert Rauschenberg                                                   during      her     employm

                        ent    at    Kumho Museum                   of    Art      from 1997               to       2001



                        By Shin       Haein


                        hayney@heraldm.com




                                                            Graft        inquiry    encircles        Roh

                                                            chinas power                 poses    challenge          for     Korea
                          heo2rca3traIb
                                                            Lee     stresses independent                   spirit




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                                                      Korea Herald South Korea

 July 13 2007



 Art world shocked over curators forged degrees
 By    Shin Hae-in



 Shock     is   spreading        within           local    art circles      over the alleged               forgery of academic                       degrees       by the
 youngest-ever          professor            to   have      been     appointed           director    of Koreas biggest                    bienniale art festival



 Dongguk         University          assistant        professor Shin Jeong-ah                       35 was            found       to    have forged           three     degrees
 and   plagiarized             thesis     to      gain employment at the university                              in   2005


 Shin was appointed                 co-art        director    of     the   2008 Iwangju              Biennale               earlier this        month        earning        the

nickname         the     art   worlds Cinderella


The    biennale       foundation             withdrew Shins appointment                            yesterday



Dongguk         University          confirmed              Wednesday          that       Shins     degrees                  bachelors          degree        and   MBA         from
the    University       of Kansas              and         doctorate       from Yale University                        School of Arts                     were false


Yale       University          answered             our inquiry today               confirming            that    Shins doctorate                    is   false   and   that   she

had never even           registered            as     Yale         student        said Lee Sang-il                head of the universitys
undergraduate           affairs       division



It   has also    been    revealed            that    Shin did not graduate                  from Kansas University                         although           she was

student there         for three       years               thesis     Shin submitted           to    DonggUk                 University         in    2005 was found               to

have been        previously published                      by Ekaterini           Samaltanou-Tsiakma


Shin on          business trip in Europe                      claims       that    all   her degrees             are       real   and   that    she will clear

suspicions       and    take     legal action as soon as she                        gets    back


We     may even         take legal action                  against     Shin as soon as she returns to                             Korea         said       Han Gap-su
director-general          of Gwangju                 Biennale        foundation            We       are    debating           whether          to    go with          one   art

director      system with Okui Enwezor                         or pick            new Korean              director and             keep    to       the co-director


system


Han    flatly    denied suspicions                  that    the foundation           might have accepted                          bribes from Shin



It would be crazy              to   appoint          Shin knowing            that     she had falsified                    everything           he said



However         questions        are being asked                   as to   why     neither        Dongguk              University         nor the foundation

verified      Shins     qualifications              more      careflilly




Dongguk         University          had   not asked           for    Shins academic                records            at   Yale or for proof of her doctorate

from    the   Korea Research                 Foundation              reasoning       that    it   was        special              employment case




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Shins        colleagues       had   raised      suspicions      much         earlier   on     questioning         the short    length       of time in

which she had            apparently       earned       the   three    degrees        and how she could have                begun working              as

curator       in   Korea      in   1997 when          she claimed       to    have     been    admitted      to    Yale graduate        school in

August 1996


Dongguk            University claims           that   they had at the time received                     confirmation          fax from Yale



We      received             document         from Yale which           said    that    Shin had earned            her doctorate       with       high

grade         am     still   clueless    about    the   document              said   Kim Byeong-hO                head   of Dongguk           Universitys

personnel          affairs    bureau


The    biennale        foundation        has been       deflecting          blame onto        the   university       saying that       it   had appointed
Shin without           reservations       as    Dongguk       had recommended                  her as        promising        art   expert


The Gwangju             Biennale        has    been    growing       into    one of the       largest   art festivals         in   Asia The      first


biennale was           held in the southwestern               city    in 1995        drawing over             million     visitors     from     all   over    the

world


Shin    is   also    currently      curator at the Sungkok              Art     Museum          prior   to   which she had successfully

organized          exhibitions      by renowned          artists      including David Adamson Chuck Close and Robert

Rauschenberg             during     her employment at                Kumho Museum               of Art from 1997              to    2001




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INSIDPJoongAng     Daily                                                                                                           http//joongangdailyjoins.com/article/print.asp




           Mystery behind hiringof shamed                                                                         art    professor
                                                                                                                                          July    13 2007



           Following         the     shocking revelation                     that    Dongguk          University           art   professor

           Shin Jeong-ah                forged      the academic               degrees        that secured her appointment

           and sent her rising in the                        local     art   world        suspicions         are being           raised that the


           university        may have            bent        its    own      rules to allow          her to join the faculty

           The Gwangju              Biennale            Koreas biggest                art    event        also    named        the


           35-year-old            Shin the co-director                      of the    2008        event     last    week       The

           foundation            yesterday          revoked           its   decision          day    after       her claim to having

           doctorate        from Yale University                       and two degrees               from the University                    of

           Kansas was found to be                            lie

           Shin       who    is   also the       chief curator               of one of the countrys best-known                                   art


           museums           is   only        high          school     graduate

           Jung Woo-taek                 an   art   history professor                  at    Dongguk claimed Shin was                             given

           special favors           when         she    was        hired     in the art history department                         in

           September             2005
           There were             objections           from professors                 at   that time since she                studied

           Western         art    history        but our department                    teaches        Buddhist          art    history said

           Jung who was                 the head            of the department                at   the Buddhist           university              in


           2005       But        the school         unilaterally             made      the decision              to hire   her
           Shin claimed to have                        Ph.D from             Yale earned in April                   2005 and            she      also


           submitted what she said was her dissertation                                           about the French poet

           Guillaume Apollinaire                       The         dissertation        was found            to be almost          identical to


           previously        published work by someone else

           Dongguk          allows       special appointments                        of staff and faculty               when      the school


          judges that the applicants are extraordinarily talented                                                  according         to    the

           schools      guidelines            But the decision                  is          to the   head of the school                    the     rule
                                                                                     up
           stipulates        so    it   raises the favoritism                  issue        some     professors say

           Lee Sang-il            Dongguks             current         dean of academic                   affairs    has said the school

           did not verify Shins bachelors                              and masters degrees                       when    she     was hired He

           said the     school          only requested                Yale to confirm her doctoral                       degree by fax

           and received                 positive       response             but he did not elaborate

             Seoul     National           University               professor         who      refused       to be       named        said the

           admission process                  was      at    fault

           It doesnt make                 sense     at      all    that the     school        only tried to verify her record                           by

           fax   It   should       at    least   have asked her to submit her grades

           Shin has been            in Paris since the                  scandal       began and             is   not answering phone

           calls




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             By Moon Gwang-lip   Staff   Writer Kwon Ho JoongAng            Ilbo




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    Mystery behind                        hiring of           shamed              art professor

                                                                                                                   July   13 2007




    Following        the shocking                   revelation         that      Dongguk          University art

    professor        Shin       Jeong-ah              forged        the academic              degrees          that secured

    her appointment and                        sent    her rising           in   the local        art   world

    suspicions          are being              raised      that     the university            may        have    bent     its


    own     rules    to allow         her to join the faculty

    The Gwangju Biennale                            KoreaiTh           biggest         art   event       also    named          the

    35-year-old           Shin     the co-director of the                        2008 event             last   week The
    foundation        yesterday                revoked        its    decision            day      after    her claim        to


    having          doctorate         from Yale University and two degrees                                        from the

    University       of Kansas                 was found          to   be         lie


    Shin who         is    also the chief              curator         of   one     of the countryfl               best-

    known      art   museums                   is   only      high      school          graduate

    Jung Woo-taek                an       art history         professor           at    Dongguk           claimed Shin

    was    given     special        favors           when she was                 hired      in   the art history

    department            in   September 2005

    There        were objections                    from professors                at that        time    since    she

    studied     Western           art history but                 our department teaches                        Buddhist

    art   history          said     Jung who was                     the head           of the         department         at the


    Buddhist        university            in   2005 iBut               the school            unilaterally       made       the

    decision      to hire       her.i

    Shin    claimed        to    have               Ph.D      from Yale earned                    in   April    2005      and

    she also submitted                what she said                    was       her dissertation              about the

    French poet           Guillaume Apollinaire                         The       dissertation           was found         to


    be almost        identical        to            previously         published             work by someone

    else

    Dongguk         allows       special            appointments of                staff      and faculty when the




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     School     judges        that        the applicants              are    extraordinarily      talented

     according        to the       schoolfl                                   But the decision                     to   the
                                                      guidelines                                         is   up

     head of the school                   the rule stipulates                 so   it   raises the favoritism

     issue some professors                         say
     Lee Sang-il         Donggukfl                  current          dean     of academic         affairs      has said

     the school        did    nOt verify           Shin     PS       bachelorTh          and masterfl

     degrees       when       she was hired                     He    said    the school      only requested

     Yale    to confirm        her doctoral               degree        by fax and         received           positive


     response         but he did not elaborate

         Seoul National            University professor                       who       refused   to    be    named
     said the admission process                          was         at fault

     ilt   doesnt make                    sense     at    all    that the school           only tried to verify

    her record        by fax         It    should      at       least   have asked          her to submit her

    grades
    Shin     has been         in   Paris since              the scandal            began and       is   not

    answering phone calls



    By     Moon     Gwang-Iip              Staff    Writer           Kwon Ho JoongAng                  Ilbo




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         EXHIBIT                              146
The         Independent                       The      talented               Ms       Shin     or how one woman conned                                          her    way       into           South        Koreas          cultural                                       IfIlOJAl
                                                                                                                                                                                                                                             aristocracy




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     July   13 2007



The talented                                    Ms            Shin or how one                                           woman                    conned her way into South Koreas cultural
aristocracy
      Daniel                    in    Seoul
By                  Jeifreys




lmagine            an    attractive           and     talented          young woman who said she had an                                   art history       doctorate          from        Oxford Vivacious                 and                        she becomes             the      director
                                                                                                                                                                                                                                   persuasive
of    the Tate                          Then                    after               hired     to
                         Gallery                      just               being                     curate the Royal                 Academys Summer                    Exhibition                she   is    exposed     as        fake    who     failed     to    get      single A-level



This scenario                  reminiscent            of         Patrica       Highsmith           novel      with    its   hint    of   The Talented                                 is                      the scandal         now                  the    Korean        art   world     after
                                                                                                                                                                  Mr Ripley                precisely                                      rocking
one of        its    rising     stars         Shin     Jeong-ah               was      unveiled         as     fraud



Until       this    week        Shin 35 was at the top of her profession            to have                                                          doctorate         from Yale            and
                                                                           claiming                                                                                                         masters degree from Kansas University she was the
youngest             professor      at Seouls prestigious Dongguk   University and the head                                                      curator         of   the    Sungkok             Art      to some of Koreas
                                                                                                                                                                                                       Museum home          most prestigious
exhibitions              and    the                        of    millions      of                  in
                                       recipient                                                        corporate           sponsorship
                                                                                       pounds                                                    from the countrys                biggest conglomerates



In    the past           12    months Shins shows                         have      included         high-profile           retrospectives           for   the    British      illustrator         John Burningham and the French   multi-media artist

Alain       Fleischer           The        latter     was          major       event        organised          as    part    of   the 120th      anniversary            of   diplomatic             relations between Korea and France The opening
which        Shin        attended          in   her    role       as chief        curator       was      hosted        by the French            ambassador              to   Seoul


Shins         latest      exhibition            was          glitzy      affair     featuring      the       American         artist     William     Wegman             This     week            she was       named        co-curator       of the     2008                  Biennale
                                                                                                                                                                                                                                                                    Gwangju
one     of    the biggest             fine      art   events        in   South-east           Asia           she would have              been    the biennales                                    curator       In                  that    takes      art                 and has an
                                                                                                                                                                             youngest                                  country                               seriously
exceptionally                          number           of    museums             for   its   size                                       appointment         as                 that       the                 curator      was    destined      to    become
                              large                                                                                                                                    sign                                                                                                                figure
                                                                                                        many saw Shins                                                                            young                                                                  the leading

among Koreas                    legion of           art gallery          administrators



But     others           were less impressed Academia                                   and the         art   world    have        always       been       prey   to   petty     jealousies                 and Shin     became         the subject          of         rumour    mill that

spread         gossip          about       her qualifications                  On Monday                rumour became                fact     when     the University            of    Kansas issued                   statement          saying      Shin        had    attended       classes

there        between           1992        and      jgg         but     had    never        graduated


Officials           at   the   Gwanju           Biennale           initially      supported          her They          produced               document           backing        her claims             to    have      Yale       doctorate            faxed        response        from the

connecticut-based                       school        to     an                                                             in                       2005
                                                                  inquiry         by   Dongguk           University               September


The fax purported                     to   be from Pamela Schirmeister                                  an associate              dean   of   Yales Graduate                 School         It    states that        Shin    entered       Yales       art history                            in
                                                                                                                                                                                                                                                                           department
                                                                                                                                                                                                                                                                                                    Case 3:08-cv-00441-TLM Document 257-7 Filed 08/04/11 Page 170 of 190




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The         Independent                         The          talented                   Ms     ShEn          or how one woman conned                                                  her      way         into      South Koreas                              cultura           aristocracy                    iHI           XI




August             1996       and      graduated              in      May 2005                with          doctoral         degree      in   art        Dongguk                said    on Wednesday                      this   week         that        Yale    had       agreed        to    look     into       the     fax


In         telephone               interview          with      Seouls chosun                         llbo     daily       newspaper          on     Tuesday   Shin said    certainly did receive                                                         degree       from       Yale which             is    proven            by the
document                Dongguk            received             from            Yale     in    2005           will    make           statement         and take legal action as soon as    return                                                   to    Seoul


But        the firestorm consuming her career intensified                                                         when       Yale     issued             terse       statement                                                   that       Shin         did    not graduate             with         doctorate             in     2005
                                                                                                                                                                                              yesterday            stating

as        she had claimed and had in fact never been                                                          registered          with the         university              at    all




It              also       disclosed           that       the    dissertation                  Shin     submitted                                                                               of       the French                        Guillaume                                    had    been      stolen            from
      was                                                                                                                 to Dongguk                University                        study                                    poet                             Apollinaire
another            academic              The         thesis          is    almost         identical          to       work which was                originally             published                by the        Greek scholar               Ekaterini           Samaltanou-Tsiakma                           in   1981 The
Gwanju             Biennale            committee immediately                                  cancelled              Shins appointment


                        is                      in                                        to    return        to     Seoul                                                 denunciation                             In Korea she
                              currently               Paris but plans
Shin who                                                                                                                      today has yet to comment on Yales emphatic                 of her alleged credentials

faces                                            sentence                  for    fraud        and     Dongguk             Universityand the Gwanju Biennale  have said they plan to seek legal sanctions against the young
                   lengthy           prison
woman              they       once      saw      as       their       most precocious                        star



                                                                                                            who has                                                  positions           in    prominent            professions               is    shown         to   be         fraud
Experts            say       us always puzzling when                                      person                             sought      high       profile




Their           lives        are                                                                                                                                                                                          said        Shin must have                     known          this   day would              come when
                                     incredibly
                                              hard Leo Sang-mm      Whang       psychology   professor at Yonsei                                                                                    University
her world              would                                    fact is that         like her are often excellent                                                                                   at    their   jobs
                                      implode The extraordinary              people



Shin        fits      this    characterisation                       Like        Tom                                                  character           who         is   so                  at                          to    be        Dickie        Greenleaf          in   The Talented                 Mr Ripley             Shin
                                                                                          Ripley            the Highsmith                                                         good               pretending

was excellent                   at    being            curator                 despite        having         no    qualifications           for    the        lob


                                                                                                            taken                     translator              at   the                                                    of    several                                  in   Seoul       that       are funded             by     private
Her meteoric                   rise     began          in    1997          when she was                                on as                                               Kumho Museum one                                                    art galleries

                                                                                                                                     Kumho          is   Koreas                                                            and        it   owns      Asiana Koreas                                                    airline
foundations                  established              with      money              from        huge         corporations                                                    biggest           tyre        company                                                                   second-largest



Shins performance                          was                                          Within                       she had         been     promoted               and        became              an    assistant        curator
                                                       outstanding                                     year



                                                                                                                              Korean          art   critic         told    the                                             News            She was               not   much        of    an    art    historian          or
She             was                                  at     planning              exhibitions                     leading                                                             Kyunghyang                  Daily
                        very talented
theoretician                  but    she put on some excellent                                   shows            which      were very popular                       Thats            why     the        museums           loved           her

                                                                                                                                                                                                                                                                                                        Koreans             will    fill   the
                                          in    Korea                            exhibitions            in    Seoul        attract     millions          of    pounds            in    sponsorship                and when one                 is         success        culture-hungry
Art        is   big    business                                 Large
                                                                                                                                                              the formula               for                   exhibition          and         she also had an excellent                          capacity             to    seek out
                      to                       for    weeks           in          row     Shin        seems           to   have      understood                                                      good
galleries                    capacity
                       allies
 powerful



                                                this                             career         is   that                                           of  large                                                      private       museum She                       took      great care           of the older               generation
 The            reason         she had                      amazing                                           she was very polite said the director
 of       artists       This       was                               for       her She charmed                   the old guys and they loved her and supported                                                        her       career
                                                strategy



                                                                                first   curator        at    the                     Shin     moved            to    the    Sungkok                 Art    Gallery         one of Koreas                       most important             institutions              on           par with
     In   2002        after     she had              risen      to        be                                          Kumho
                                                                                                                                                                                                                                                                                                                                                 Case 3:08-cv-00441-TLM Document 257-7 Filed 08/04/11 Page 171 of 190




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                                                                                                                                                                                                                                                                                                                20090511
     The     Independent                          The      talented            Ms     Shin      or how one woman conned                                    her     way        into    South Koreas                      cultural          aristocracy                111101        XI




     other    large      international               galleries       Around          the   same      time    she became                                             at                                                                       in             In
                                                                                                                                       visiting      professor             Dongguk           the top Buddhist                university           Korea          2005         she was
                      to        full
     promoted                           professorship



     But    her appointment                   was        controversial          Jung Woo-taek    an art history professor at Dongguk claimed   Shin was given   special treatment  There were
     objections          from         professors          at that    time since      she studied Western art history but our department   teaches   Buddhist  art history  said Jung who was the head
     of    Dongguks             art    history       department           in   2005 But          the school            unilaterally       made      the decision         to   hire   her


     Dongguks  checks of Shins claims                                    to                                                            at                       received       no             from    Kansas            in   2005    and
                                                                                                                 were cursory                                                        reply                                                  only
                                                                               have three degrees                                           best They                                                                                                   fax now disputed
     from Yale Some are not surprised                                 that       Shin was able to                                  the    cracks
                                                                                                             slip      through



     Talented         people           with       an advanced             degree from   prestigious international university are rare in Korea said an                                                       art    critic     at                  art                        in   Seoul
                                                                                                                                                                                                                                       leading           magazine
     That     made         it             for      her                   to
                                easy                      package           be accepted   People  wanted to believe that she was for real


     For      society           where women                are   still    expected         to   know   their          place Shin       also   had the       benefit      of being       different         She      is                                    character     and she
                                                                                                                                                                                                                             very extroverted
     was     very talented              at    self-promotion                  the   director    of     museum             in   southern      Seoul       said    Thats what            started      the    rumours about                  her qualifications         She was just
     too    good    at     pushing            herself      forward


     The world        will      have         to   wait    for   Shins own            explanation       of her Ripleyesque                   fraud but the        answer                lie    in   the midst       of    one    of   Koreas       worst                            the   29
                                                                                                                                                                               may                                                                         disasters
     June 1995           collapse            of the                                              store      in    Seoul        which   killed      501   and                  937
                                                         Sampoong              department                                                                        injured




     Shin    was    in     the store              that   day and came close to death                        Aged        24 she was           crushed       beneath         the collapsed            building       and       was     trapped      for   more than         24 hours
     She suffered               multiple fractures            and intestinal injuries




           beach    towel                                                from harm Shin told the Chosun Ilbo     it                                                                    few                after    the disaster            when     her   rarefied        career         in
                               wrapped itself around my face and saved                                                                                                                         years
     the    art   world      was just beginning to take-off                                                                                                                          Im      very lucky        Everything            is   very
                                                            Because my face was OK have my second life and                                                                                                                                     easy for me Before the
     disaster       was                           introverted       character          Now       am    aggressive              After   surviving         Sampoong             developed                                        driving     force and sense of initiative
                                      very                                                                                                                                                          very powerful



                                      led her to invent      luminous
        driving force that apparently                                   academic career which was nothing short of        fantasy   Consequently Shin finds herself buried
     again this time beneath the rubble of her own fanciful       dreams and aspirations    The difference is that she is likely to be trapped by the debris of her lies for
     much longer than 24 hours In the Chosun       llbo interview   Shin was described   as    phoenix who rose from the ashes Now she has been unmasked               as
     fraud whose    career has gone up in flames Given      the unforgiving  nature of Korean society    its unlikely she will rise again




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 The talented Ms Shin or how one woman conned her way
 into               South Koreas cultural aristocracy
 By Daniel Jeffreys                  in    Seoul
 Friday       13    uly     2007


 Imagine             an     attractive          and      talented           young        woman who                    said     she had           an     art history          doctorate          from
 Oxford             Vivacious           and      persuasive             she      becomes the                 director           of    the Tate              Gallery Then just after being
 hired        to    curate the             Royal       Academys               Summer               Exhibition            she     is      exposed            as   fake who failed to get

 single           A-level

 This        scenario reminiscent                        of      Patrica         Highsmith novel                       with     its      hint    of    The Talented               Mr Ripley           is



 precisely       the scandal now                         rocking        the      Korean art world                      after     one       of    its    rising   stars        Shin Jeong-ah                      was
 unveiled            as         fraud


 Until       this       week       Shin 35 was                  at     top of her profession Claiming to have
                                                                      the                                        doctorate  from Yale and
      masters             degree          from     Kansas         University  she was the youngest  professor at Seouls  prestigious

 Dongguk                University         and     the        head  curator of the Sngkok   Art Museum   home to some of Koreas most
 prestigious               exhibitions           and     the     recipient          of       millions       of    pounds            in    corporate            sponsorship              from the
 countrysbiggest                     conglomerates

 In    the        past     12    months Shins                 shows have                included           high-profile               retrospectives                 for    the    British      illustrator

 John        Burningham and                     the    French          multi-media artist Alain                              Fleischer           The        latter    was          major       event

 organised               as part of the 120th                    anniversary    of diplomatic relations between Korea and France The
 opening             which     Shin attended                   in    her role as chief curator was hosted by the French ambassador to
 Seoul

 Shins            latest    exhibition           was          glitzy affair featuring                      the        American            artist        William       Wegman             This     week
 she was named                      co-curatpr of the 2008 Gwangju Biennale  one of the                                                               biggest        fine    art   events        inSouth
east        Asia          she      would  have been  the biennales youngest curator In                                                                 country        that    takes       art    seriously
and         has an         exceptionally              large      number            of    museums             for       its    size many                saw Shins appointment                          as
sign        that    the young curator                     was destined                  to    become         the leading                  figure        among Koreas legion                      of        art

gallery           administrators


 But others              were       less    impressed Academia                               and     the art world              have        always        been prey to petty
jealousies and                     Shin became                the subject           of         rumour            mill    that        spread           gossip about her qualifications

On Monday                  rumour became                  fact       when        the University                  of    Kansas            issued             statement         saying       Shin had

attended             classes        there between                    1992     and        1996 but had                   never         graduated

officials          at    the     Gwanju Blennale                     initially     supported               her They produced                                document           backing          her claims

to     have             Yale    doctorate                   faxed       response              from        the Connecticut-based                             school to an           inquiry       by
Dongguk              University            in   September              2005

The         fax    purported          to      be from         Pamela          Schirmeister                  an        associate           dean         of   Yales     Graduate           School             It

states        that        Shin entered             Yales         art    history          department               in    August            1996 and             graduated           in    May 2005                with

     doctoral            degree      in    art Dongguk                 said      on Wednesday                     this       week         that     Yale had           agreed        to   look     into the

fax


In          telephone           interview          with       Seouls          Chosun               Ilbo   daily        newspaper on Tuesday Shin said                                            certainly

did     receive                degree       from Yale which                   is
                                                                               proven   by the document                         Dongguk  received from                                    Yale        in    2005
     will    make              statement           and      take       legal action  as soon as   return                                  to     Seoul

But the firestorm                    consuming                her career           intensified             when         Yale     issued                terse     statement              yesterday
stating           that     Shin did         not graduate with                           doctorate           in   2005          as     she        had claimed                and had        in    fact
never         been         registered        with  the university                       at    all


It    was     also        disclosed         that      the     dissertation              Shin submitted                   to     Doogguk                University             study       of    the French




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 poet Guillaume                          Apollinaire               had       been         stolen           from another              academic                The     thesis           is   almost          identical          to

 work        which             was        originally              published              by the Greek                  scholar       Ekaterini           Samaltanou-Tsiakma                                in    1981         The
 Gwanju Biennale committee                                           immediately                  cancelled                 Shins appointment

 Shin who                 is    currently               in    Paris       but plans              to    return          to    Seoul       today         has     yet       to    comment             on       Yales

 emphatic               denunciation                   her alleged credentials In Korea she faces
                                                         of                                          lengthy prison   sentence  for

fraud        and         Dongguk                University  and  the Gwanju  Biennale have said they  plan to seek  legal sanctions
against            the young                woman                 they      once          saw as           their       most precocious                  star


Experts say its                          always          puzzling           when                person            who       has     sought           high    profile           positions         in    prominent
professions                    is   shown         to     be          fraud

Their            lives         are incredibly                     hard         Leo        Sang-mm            Whang                   psychology professor at Yonsei University
said         Shin must have known                                        this   day         would          come when                 her world would implode The extraordinary
fact    is       that         people        like        her are           often          excellent           at       their   jobs

Shin        fits      this      characterisation                         Like       Tom         Ripley            the    Highsmith character who                                is    so good          at       pretending
to    be Dickie                Greenleaf                in    The Talented                  Mr Ripley                  Shin was excellent at being                                    curator           despite             having
no qualifications                         for    the job


Her     meteoric                rise       began             in    1997       when          she       was         taken       on    as          translator          at    the        Kumho Museum                           one       of

several            art galleries                 in     Seoul        that       are funded                  by     private         foundations              established                   with money              from        huge

corporations                        Kumho          is    Koreas             biggest             tyre       company            and        it   owns     Asiana Koreas second-largest
airline


Shins  performance                              was outstanding                           Within             year she              had        been     promoted                and        became           an     assistant

curator


She was very talented at                                          planning exhihitionc                                  leading          Korean        art    critic          told    the       Kyunghyang Daily
News She was not much                                             of an art historian or                               theoretician             but she        put        on     some           excellent shows
which        were very popular                                Thats why                   the    museums                    loved    her

Art    is    big      business              in    Korea Large                       exhibiions               in       Seoul     attract         millions       of     pounds               in   sponsorship                 and
when         one         is         success  culture-hungry Koreans will fill the galleries to capacity                                                                              for   weeks           in         row        Shin

seems            to   have           understood the formula for   good exhibition and she also had                                                                                   an    excellent            capacity              to

seek        out powerful                   allies


The         reason she                   had     this      amazing  career is that she was very                                                 polite         said       the director                of         large

private          museum She                             took great care of the older generation                                                 of    artists        This was                   strategy for her
She     charmed the                       old     guys            and     they loved                  her and           supported              her career


In    2002            after         she     had         risen       to    be        first   curator at the                    Kumho             Shin moved                to    the        Sunykok              Art Gallery
one    of Koreas most important institutions on                                                                    par with          other large              international                 galleries             Around

the    same time she became   visiting professor                                                                 at    Dongguk                the top       Buddhist            university              in      Korea         In

2005 she was promoted                                        to      full     professorship


But her appointment                               was controversial Jung Woo-taek an art                                                         history       professor at                     Dongguk               claimed

Shin    was given                    special        treatment There were objections from                                                             professors at that                     time since                she

studied           Western                art     history but our department                                           teaches        Buddhist           art    history sai Jung                                 who was the
had         of     Dongguks                 art         history          department                   in   2005 But                 the school unilaterally                           made        the decision                   to

hire    her

Dongguks                 checks            of    Shins claims                       to    have three degrees                        were cursory at best They received no reply
from        Kansas             in    2005 and                 only          fax now               disputed                  from    Yale Some are not surprised that Shin was
able    to       slip     through               the cracks


Talented                people with an                        advanced               degree            from             prestigious             international                 university          are rare             in


Korea              said        an    art    critic           at         leading           art    magazine in Seoul                            That      mde          it
                                                                                                                                                                          easy            for   her package                 to     be

accepted                People            wanted              to   believe           that       she was for real


For         society             where women are                             still        expected           to know their place Shin also had the benefit                                                         of    being
different             She           is      very         extroverted                     character           and she was very talented at self-promotion                                                              the




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 director       of       museum             In    southern           Seoul       said     Thats         what started               the rumours           about        her

 qualifications              She was          just       too good at             pushing         herself  forward

 The world           will    have      to    wait        for   Shins own       explanation of her Ripleyesque fraud   but the answer may lie
 in   the midst of one               of     Koreas worst                 disasters the 29 June 1995   collapse of the Sampoong   department
 store    in    Seoul which                 killed       501    and      injured        937

 Shin was         in   the     store        that     day       and      came      close    to     death Aged 24 she was crushed                                    beneath        the

 collapsed           building       and      was trapped                for     more than          24 hours She suffered multiple                                 fractures       and
 intestinal       injuries


       beach     towel        wrapped             itself       around  my face and saved it from harm Shin told the Chosun Ilbo
few      years after the disaster                          when     her rarefied career In the art world was just beginning to take-off
Because           my        face    was      OK            have      my      second       life   and    Im       very      lucky         Everything          is   very easy        for    me
Before the disaster                       was            very     introverted           character          Now            am      aggressive           After      surviving

Sampoong                developed                  very        powerful         driving        force    and     sense        of    initiative


      driving    force        that     apparently                 led    her to invent                 luminous          academic             career    which        was nothing short
of       fantasy    Consequently Shin finds herself buried again                                                    this    time beneath               the   rubble     of her own

fanciful       dreams and aspirations The difference  is that she                                                   is   likely    to    be    trapped  by the debris of her

lies    for   much       longer than               24      hours        In    the Chosun           Ilbo       interview           Shin was       described as    phoenix
who      rose    from        the    ashes Now                   she     has      been     unmasked             as        fraud whose career                   has     gone up       in

flames          Given       the unforgiving                    nature     of    Korean         society        its    unlikely        she      will   rise    again



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    Stroke                of luck                raw        talent           fueled            Shinfl ascent

                                                                                                                                               July    142007




    Shin Jeong-ah was                            23 when            the    1995 coliapse               of       the     Sampoong

    Department Store                           in   Seoul      buried her           in   darkness

    She        lay    in   the rubble for 24 hours before                                 gethng           plucked           out Shin was one

    of   the few survivors of the worst collapse                                          in    Korean            history           which     killed



    more than 500 people

    Shin              second             life    began the next day she                             said        later   in   an     interview         with


    the monthly                Chosun Magazine

    From the day                   of    the collapse               on     Shin said she vowed                          to   change          Instead         of


    being shy and reclusive                                she developed                 an aggressive                   extroverted

    personality

   Twelve                          later        Shin has been buried again This time                                           it   was      not poor
                     years

    construction                   it   was         lie


   The         Dongguk              University             professor               rising star             in   the art world             here was

    caught        this        week         in    falsehoods               about    her academic                    background                Although

    Shin who               could         not be reached                   for   comment              for this article               never     graduated

   from        college             she claimed                to    have two degrees                   from        the University                of


    Kansas and                      doctorate             from Yale             Both     universities                 confirmed           this    week

   that        they had not graduated                              Shin

   On Thursday                      the Gwangju                    Biennale        Korea        is     biggest           art   event         revoked         its




   decision           to      name         Shin the co-director                    of    the next year                  is event
    How        did    ShiniTh             fraud go unnoticed                      for    more than                 decade

    It   all   began          with          rare     stroke          of   luck     according               to    colleagues

   Two         years       after         the department                   store    accident           and one year                   after    quitting


   the University                   of Kansas              after     attending           for   three years Shin visited                            the

   Kumho Museum                           in    Jongno             central      Seoul          in   September                1997       said      the chief

   curator           of    the     museum             at    the time

   She turned                 in         resume        to     Kumho          saying       shejTh            gotten             degree        in    Western

   painting           at   Kansas               and also              masterjTh           in   business               administration there

          hired       her as              part-time           English           guide          month            after    receiving           her

   resumei                 said the former                    chief       curator        who        asked         that       his    name      not be

   used




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    Later that        year the            chief       curator said              he and the other curator fought                                    with


    the head of the               museum               and they decided                       to    quit Shin           who was          just


    part-time        employee                then was promoted                          to   replace        them
    She     continued             to   climb with                 combination                of    brazen        self-promotion and

    outright        theft    of   other peopleTh                       ideas       colleagues              and     friends       said

    The     first    exhibit       she curated                in    1998        involved                 show      of   frames          It    received

    favorable         reviews           in   the art community for                           its   originality          But according                  to


    the planner            of    the exhibition               who asked                 to    remain        anonymous                the show

    and the organization had                           all   been arranged                      by her predecessors

    We        planned            the exhibition              after      the then-chief curator                            the     Kumho

    Museumi           suggested                we do         an    exhibition           showing            framesi             the planner

    said

    Shin cited        this exhibition                 and another               chief        curatoriTh           project       in   1997 as two

    of    her top accomplishments                            in   the resume                 she submitted               to   the Gwangju

    Biennale         Foundation according                              to    the foundation

    Her    talent     in    winning            peoples              favor      also helped                 build   her reputation

    according         to    some coworkers
    Shin strenuously                   built    connections                 with    people          who         could    influence her

    reputation         such            as the heads               of    museums                 entrepreneurs                 painters            critics


    and    journalists            they said

         curator at an            art gallery          in    Seoul who worked                            with    Shin said on                condition


    of   anonymity               She         had           way     of       handling         people and            getting       their


    attention           The        curator           also said          Shin had charisma                        and leadership

    Other     curators said Shin                      was         clever at using                  the   media
                                 the art world Shin                                                                     but                  of
    iTo     people          in                                                 abilities           are nothing                 skills             playing

    with the        mediai             said         Park     Pa-rang                curator at the Seoul                      Museum              of   Art

    10She     just tried to             organize           exhibitions             of   only big-name artists to draw the

    publiciTh attention

    Yu Hee-won                    curator at Miccie                          gallery         in    SeoulTh         Mapo        District


    agreed          Her exhibitions                    rarely       featured            any new            or local      talentj Yu said

              concentrated                   on                                                                               from   well-known
    iShe                                            getting       ithe         spotlight           exhibitionsi


    foreign     artists.i

    Shin        English            skills           helped by her studies at the University                                     of Kansas

    between          1992 and 1996 also gave her                                         lift      according        to    some       curators

    The    ability     allowed            her to       host major              exhibitions               from other countries

    In   2002       Shin        moved          to    Sungkok Museum                          as    chief    curator           where          her

    reputation continued                       to    grow
    She    hosted       several              major      exhibitions                including               40th anniversary                   exhibition




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    of    the English                  illustrator        John Burningham                        last       year     and an ongoing                 show           by

    American photographer                                 William             Wegman
    The     museum                 said      in    an     e-mail interview                     that    ft    didnfl        verify       her academiG

    background                    But       it   said        it    has been          quite       pleased            with    her abilities

    Shin has lectured                       part-time               at    several         universities            here       including         Hongik

    University                which has one of the best                                fine      art   departments                 in   the country

    Her academic                       record        was not checked                       there            either       iThe      applicants bring

    their       diploma           certificate             and we              just   believe          itto    be    genuine               said    an

    administrative                     official      at   Hongik              who    hires       part-time           lecturers on             condition            of


    anonymity

    Shin applied                  to    Dongguk               University             as        professor            in   September            2005

    claiming she received                                 doctoral             degree from Yale                     University           in   May     of that


    year She was                       hired      despite            rumors          the she had forged                     her academic

    record         one         official          said

    Reverend              Jangyun                    former              member           of   Dongguk              Universityfl              board      of


    directors             said         he questioned                     Shinfl           academic            record at             meeting         in



    February but got                        fired       three months                 later for         disgracing the school with                             10




    groundless                suspicion.i

    Jangyun           said         he got the                tip    from       Seoul       National           University           professor Yoon

    Dong-chun                  who        could         not be           reached          for    comment             last    night

    Jangyun           said        Yoon            asked Yale                  University         to verify          her doctoral degree                       and

    the American college                             said          Shin had never                registered              there      He    speculated

    someone              at    the Buddhist                   school           intervened             for    Shin

          think     it   was           impossible              for       her to      become                 professor at Dongguk                    unless

    the head of the school                              or    high-ranking                officials          on the school                    board      of


    directors            intervenedi                    Jangyun               said    yesterday              at   Jeondeung              Temple          in



    Ganghwa                   Gyeonggi               where           he       is   assuming the               role       head      monk
    Shin        35 was named                       director              of   the Gwangju                   Biennale        last    week         and then

    led    to    her undoing

    Because              of   the high-profile                     post rumors                 that    had remained                 insubstantial


    before                        to     be srcutinized                                        broke                               Dongguk          which
                  began                                                       Yonhap                          story that

    hadnt          checked                 her records                   before       decided              to verify       them     after     her

    appointment

    iFrom          time to time people                              raised suspicions                       about    her     background                   said


    the head of                   private          museum                 on condition                of    anonymity              iBut the rumor

    was     that      she was acquainted                                 with the most influential people                               and    that


    nobody         should              dare dig           into      the suspicion.i

         fine   art      critic        who asked                  not to       be    named            said    the media and the art world




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     both should     share        responsibility         The           fine   art   community     which   puts

     priority   on background          rather     than capability                and the media which

     scrambled     to    lift   her reputation       without          verifying        anything   are both at faultj

     he said




     By Moon Gwang-lip               Cho Jae-eun              Staff     Writers         Kwon Keun-young

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     Stroke of hick                   raw            talent fueled               Shinfl          ascent

                                                                                                                       July   14 2007




     Shin      Jeong-ah            was 23 when                     the 1995       collapse       of the      Sampoong
     Department               Store       in    Seoul buried her                 in   darkness

     She       lay in the rubble                 for     24 hours          before      getting    plucked         out Shin

    was one           of the few survivors                         of the worst        collapse        in   Korean

    history which               killed         more        than      500    people

    ShiniTh          second        life        began        the next        day       she said        later in    an

    interview           with    the monthly                 Chosun          Magazine
    From        the day of the collapse                            on    Shin said she vowed                 to   change
    instead          of being       shy and               reclusive         she developed              an aggressive

    extroverted              personality

    Twelve           years     later           Shin has been buried again                         This time          it   was    not


    poor construction                     it   was           lie


   The Dongguk                  University professor                             rising star     in   the art world

    here was caught                   this          week       in   falsehoods about her academic

    background                 Although Shin                       who   could      not be reached             for   comment

   for this article            never graduated from college                                  she claimed             to   have

   two degrees                from the University of Kansas and                                       doctorate           from

   Yale Both                universities             confirmed           this    week     that   they       had    not


   graduated Shin

   On Thursday                 the     GwangjuBiennale Korea                              Th     biggest       art     event

   revoked           its    decision           to    name          Shin the co-director               of the      next

   yea ris event

   How         did    Shin Cs fraud go unnoticed                              for     more   than           decade
    It   all   began        with       rare          stroke         of luck      according       to    colleagues

   Two         years        after the          department store accident                         and one year              after


   quitting          the University of                   Kansas          after   attending        for three        years




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     Shin visited         the     Kumho Museum                    in   Jongno        central        Seoul         in



     September            1997         said the chief            curator    of the     museum at                 the time

     She    turned        in      resume         to   Kumho        saying      sheTh        gotten               degree        in


     Western        painting at          Kansas and              also       masterfl           in    business

     administration there

     il hired      her as          part-time English                   guide        month      after       receiving

     her   resumej              said the former chief curator                        who    asked that                his


    name      not be           used

    Later that       year        the chief curator               said    he and       the other curator

    fought with the head                   of the      museum and              they       decided          to quit          Shin
    who was         just         part-time employee                    then was promoted                    to   replace

    them

    She    continued            to climb        with         combination            of brazen self-promotion

    and    outright       theft    of other           peopleiTh ideas               colleagues            and     friends

    said

    The    first   exhibit       she curated                in   1998    involved          show           of   frames         It




    received        favorable           reviews        in    the art    community          for      its   originality


    But    according            to the planner              of the     exhibition         who    asked           to    remain

    anonymous              the    show and            the organization              had    all   been arranged

    by her predecessors

    1/Ve     planned           the exhibition           after the        then-chief        curator                the

    Kumho Museum                   suggested            we       do an     exhibition       showing              framesi
    the planner           said

   Shin     cited     this exhibition            and        another chief curatoriTh                      project      in


    1997     as two of her top accomplishments                                 in   the   resume she

    submitted        to the       Gwangju             Biennale Foundation                  according              to   the

   foundation

    Her    talent    in    winning         people iTh favor              also helped build                 her

    reputation           according         to   some coworkers
   Shin     strenuously            built    connections with people who                             could        influence

   her reputation               such as the heads of                    museums            entrepreneurs

   painters         critics      and journalists they said

       curator      at    an    art gallery in          Seoul who worked                   with       Shin        said on




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     condition      of anonymity               She             had          way        of handling              people and

     getting     their attention                  The         curator       also said Shin                   had    charisma

     and leadership

     Other curators           said Shin            was        clever        at    using the            media

     iTo people          in   the art world               ShinTh            abilities are              nothing         but   skills


     of playing      with the        mediai said                  Park Pa-rang                          curator        at the


     Seoul     Museum          of Art       iShe          just tried to               organize           exhibitions of only

     big-name        artists to      draw the public.Th                          attention.i

     Yu Hee-won                curator        at    Miccle              gallery            in   Seoul              Mapo
     District     agreed iHer              exhibitions rarely featured                                 any      new     or local

     talenti Yu said               iShe concentrated on                               getting          ithe      spotlight


     exhibitionsi         from well-known foreign                            artists


     Shin         English       skills     helped by her studies                                at the University              of


     Kansas       between         1992        and        1996        also        gave        her         lift   according              to


    some       curators        The      ability         allowed her              to    host major exhibitions

    from other countries

     In   2002    Shin moved             to   Sungkok                Museum                as    chief       curator      where

    her reputation            continued            to   grow
    She hosted          several      major exhibitions                           including               40th      anniversary

    exhibition      of the      English        illustrator           John          Burningham                   last   year and

    an ongoing         show by American                        photographer                     William         Wegman
    The museum             said    in    an e-mail interview                          that      it   didnt       verify      her

    academic         background               But        it   said     it   has been                 quite      pleased with
    her abilities

    Shin    has lectured           part-time at several                          universities            here       including

    Hongik University              which has one of the best                                    fine    art     departments                 in


    the country

    Her academic              record      was       not       checked             there either                  iThe

    applicants       bring their diploma certificate                                  arid      we    just believe           it   to    be

    genuinei          said an administrative                         official         at   Hongik            who    hires part-

    time lecturers            on condition              of     anonymity
    Shin    applied      to   Dongguk              University           as            professor           in    September

    2005      claiming        she received                     doctoral           degree             from Yale University




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    in   May      of that          year She was               hired      despite    rumors the she had

    forged        her academic               record one              official     said

    Reverend             Jangyun              former          member         of   Dongguk      UniversityTh

    board of directors                     said he questioned Shin                  Is     academic         record      at


         meeting         in    February but got                fired three         months     later for


    disgracing            the school         with     igroundless suspicion.i

    Jangyun             said he got the         tip    from Seoul               National    University

    professor            Yoon Dong-chun who                          could      not be reached         for      comment

    last night


    Jangyun             said       Yoon asked Yale                 University to verify        her doctoral

    degree and                the American            college         said      Shin had     never registered

    there        He     speculated           someone               at the    Buddhist school          intervened

   for    Shin

    il think       it   was        impossible       for her to             become         professor        at


    Dongguk             unless        the head      of the          school or high-ranking                officials     on

   the schooliTh                   board of   directors             intervenedj Jangyun                   said


   yesterday             at    Jeondeung Temple                     in     Ganghwa Gyeonggi where                       he

    is   assuming             the role head           monk
    Shin        35 was named                 director         of the       Gwangju        Biennale        last   week
   and     then         led    to her      undoing

    Because             of the       high-profile      post          rumors that had          remained

   insubstantial               before       began     to      be srcutinized             Yonhap      broke         story

   that    Dongguk                 which hadnit checked                         her records    before           decided

   to verify       them            after   her appointment


    From          time        to   time people raised                    suspicions       about her

    backgroundi                     said the head             of      private      museum       on condition            of


   anonymity              iBut        the rumor        was          that    shewas       acquainted with the

    most        influential          people and that nobody should dare                             dig    into   the


   suspicion

         fine   art critic         who asked          not to        be     named      said the      media and           the

   art world            both       should    share responsibility                   The      fine    art   community

   which         puts          priority     on background                  rather than      capability           and   the


    media which scrambled                        to    lift    her reputation            without     verifying




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    anything        are both      at   fauft       he said




    By Moon Gwang-Iip Cho Jae-eun                            Staff Writers   Kwon Keun-young

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Professor          Jeong-Ah            Shins        Hiring          Process         Also Suspicious

Special       Hiring           by Dongguk            Despite           Wrong             Specialization                   ..    Some Ask            Was    She Being

Protected

University          to
                          request          disciplinary measures                         from Foundation board                           in   coming      days




             Suspicions              have grown over time regarding                                    the case            of Dongguk University                      Professor


Jeong-Ah           Shins        35         female         forged           doctorate

             Her Yale University                     doctorate              has    been found                  to    be   fake          but the value          is    being        lifted


bit    by   bit   over the true             facts    of      this     incident       which had previously                              been covered            up
             First the process                of Professor                 Shins         special hiring                        years    ago by Dongguk University                              is



dubious           and recently              even     after      the fact          that    her doctorate                   was        forged    had come         to    light


Dongguk           Universitys              measures             with respect              to    Professor             Shin were             decidedly      mild Some have

questioned          whether there                 may have            been someone powerful protecting                                         Professor        Shin           either


inside or outside               Dongguk             University

             Dubious             Dongguk                  Professor              Shin was hired                 into       the art history department                          of the

Dongguk           University           Graduate School                      in    September               2005 by               special hiring        However                  due   to   the


objections         by professors              in that          department                she        was   not        assigned          any courses        at   all       In the case


of the Dongguk                 University           art      history department                       the specialized                  courses      are only         in    Buddhist

art   and East Asian                 art   theory            At     first     there were              no courses                to   assign     Professor       Shin who had

specialized            in Western           art   theory

                  person        in    the art history department                           said       the           school       administration          had    initially


requested         Professor Shins hiring                              it   was awkward                    at   first      for    the department           head and he had

no choice         but     to    say    OK         Ill     do    it and            later he had said                        that      he wouldnt be able                   to    take her


since   there were              no courses           at   all    to   assign        and her character                       was       not     suitable Although                   the


departments              conditions           entirely          precluded           taking           Professor             Shin        by      request     of the top ranks

she    was    nonetheless              parachuted in

             As    the professors                 objections            grew       stronger            Professor                Shin submitted            her resignation                 to


Dongguk           University           immediately                after      having been hired However                                      after   placing         Professor           Shin

on      months leave                  contrary          to    usual        practice            in   March 2006                  the university        changed             her


affiliation       to     the General Education                        Institute                                 in    the academic             affairs    team said              that
                                                                                                person

reassignment              of         professor          does      not      often occur               except           during          departmental         reorganization                  or

under unusual circumstances                                  The person             said that          she          was    given        consideration               in    that    she


held        professors           position         while also continuing                             as head of the arts and sciences                           office at the


Sungkok           Museum
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University           to    request        immediate            sanction        by board            severe       discipline expected                      firing       or

dismissal

              Was          someone          protecting              her within       Dongguk University                           Although              issues       of

Professor        Shins         fabricated             academic          record       were voiced              several       times there           is    suspicion            that



Dongguk          University             sought         to    conceal        or ignore      these issues

              Venerable Jangyun                       who      had been              Trustee         of the school           received        information                at   the


end of        last   year    from Seoul National                       University         Professor           Dong-Cheon               Yun       stating        that


Professor Shins                    doctoral          dissertation           was     copied      word-for-word                from       1981            dissertation           at   the


University           of Virginia                and raised the issue early                    this        year after        confirming           that    Professor            Shin

was     not on the          list   of Yale University                   graduates          But Venerable Jangyun                       was         for    some reason

relieved        of his post by the Board of Trustees                                 on   May 29

              Regarding these suspicions                              Sang-Il       Lee head of the Dongguk                          University           office of


academic         support stated                 on the 13th            that    the     investigative            committee            will    thoroughly


investigate          the process            of Professor              Shins invitation                  After       the initial results           of the investigation

were released               Dongguk University which had been expected                                                to    decide     on Professor                 Shins

disciplinary measures                      changed            course        and requested             that    the    Foundation board determine the

disciplinary measures                      Mr        Lee stated         that    the    degree           has   been found          to   be fake            and the most

severe punishments                   that       can be levied on professors                          such as        firing    or dismissal               will     be

imposed
              The         artistic    communitys                    confusing        attitude             Many       have found         it   hard        to   accept         that


the artistic         community welcomed                             Professor       Shin     for     10    years     without      checking her fake degree

Professor        Shins        impressive               career        began     in    1997       as        curator      at   the   Kumho          Art Gallery                 When

she     was     employed           by     the    Kumho              Art Gallery Professor                    Shin quit the position                 when         it    came     to



light    that    her claims          to    be working on                      doctorate         at   Yale University turned                        out to       be false

rumors of        this      circulated           in    the artistic          community

              However           another          first-class          art   gallery       the   Kumho Museum                      promoted her                 to     head of the

office of arts and sciences                          after    first   hiring her as curator in                  2002 When              Professor              Shins          degree

forgery       came out             the gallerys              image was damaged                     in     the artistic       community             but        the     Kumho

Museum          that      initially       welcomed             her has        kept      public          silence       The Kumho Museum                          is     avoiding


any public           explanation saying                      that     Gang-Ja Park              director        of the gallery              is   not     taking        any

outside       calls

Reporter        Gyu-Hyeon               Lee kyuhchosun.com

Reporter        Ran-Hee Park rhpark@chosun.com
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                                  CERTIFICATE OF TRANSLATION




               Samuel Henderson                     hereby        certify    that       am   competent       in    both the

Korean         and    English            languages        and       that          translated   DONGGUK0000969
from the Korean language                      into the English              language
              further       certify        that       translation           of    DONGGUK0000969                  from   the

Korean language                 into the      English      language          is   accurate   and   correct    to   the best

of   my      knowledge      and      proficiency




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Pr           sional Translator




Subscribed     and sworn   to   before   me   on
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